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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NEW YORK

  STEPHANIE ZOBAY, individually, and for the estate
  of STEPHEN S. EVERHART, LINDSAY M.
  EVERHART, ABDUL GHAFFAR MUGHAL,
  SITORAI KHASANZOD, KHALID MUGHAL,
  HAMID MUGHAL, ANGELA MUGHAL, N.M., by
  and through her next friend Abdul Ghaffar Mughal,
  M.M., by and through his next friend Abdul Ghaffar
  Mughal, WAYNE NEWBY, THERESA HART,                      JURY TRIAL DEMANDED
  NATHAN NEWBY, JASON RZEPA, CASSANDRA
  RZEPA, C.R., by and through his next friend Cassandra
  Rzepa, K.R., by and through his next friend Adrian
  Davis, TYLER N. OGDEN, WILLIAM M. CHINN,                Case No.: 21-cv-3503
  SEAN M. NIQUETTE, LAUREN NIQUETTE,
  THOMAS NIQUETTE, MARY NIQUETTE, ED
  ELLIOTT, BRIAN C. ALLDRIDGE, JOANN
  ALLDRIDGE, RONALD ALLDRIDGE, DIANNA
  ALLDRIDGE, TODD JEFFREY ALLDRIDGE,
  ANDREW MAJOR, ASHLEY MAJOR, ALYSSA
  MAJOR, MARCUS JAMIL SULLEN, DAVID
  EUGENE HICKMAN, VERONICA HICKMAN,
  DEVON F. HICKMAN, TAMMIE FROST,
  individually, and for the estate of RUSSELL FROST,
  MADISON FROST, CRYSTAL FROST, AMANDA
  FROST, WAIEL EL-MAADAWY, BILQIS AIDARA
  ADJEI, ALEXIS GRANT, MALIK ELMAADAWY,
  G.E., by and through his next friend Latasha
  Elmaadawy, ZEINAB EL-MAADAWY, IHAB EL-
  MAADAWY, TAMER EL-MAADAWY,
  MOHAMMED EL-MAADAWY, MUSTAFA EL-
  MAADAWY, AMR MOHAMED, BRENDA
  MOHAMED,

                       Plaintiffs,

                v.

  MTN GROUP LIMITED, MTN IRANCELL, MTN
  DUBAI LIMITED, ZTE CORPORATION, ZTE (USA)
  INC., and ZTE (TX) INC.,

                       Defendants.
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                        COMPLAINT FOR VIOLATION
                        OF THE ANTI-TERRORISM ACT




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                                         INTRODUCTION

       1.      This lawsuit seeks damages under the federal Anti-Terrorism Act on behalf of

American service members and civilians, and their families, who were killed or wounded while

serving their country in Iraq between 2011 and 2016. Plaintiffs seek to hold MTN, a South

African telecom company, and ZTE, a Chinese telecom company and technology manufacturer,

accountable for their substantial assistance to terrorists in Iraq. Plaintiffs’ allegations are based

on information derived from confidential witnesses with direct and indirect knowledge of the

alleged facts, internal company documents, declassified military-intelligence reporting,

congressional testimony and reports, press accounts, and Plaintiffs’ recollections.

       2.      After the U.S.-led invasion of Iraq in 2003, an alliance of Shiite terrorists led by

Hezbollah and its Iraqi proxy, Jaysh al-Mahdi, and funded and armed by the Islamic

Revolutionary Guard Corps (the “IRGC”), also known as the Iranian Revolutionary Guard

Corps, including its subordinate international branch the Qods Force, combined forces to pursue

a shared terrorist campaign against Americans in Iraq. To attack the citizens protected by the

world’s most powerful military, the terrorists formed joint cells comprised of operatives from

Hezbollah, Jaysh al-Mahdi, and the IRGC, including the Qods Force (“Joint Cells”). To further

their shared goal of driving America out of Iraq, the Joint Cells attacked civilians

indiscriminately; conducted kidnappings, torture, and executions; and refused to identify

themselves or otherwise comply with the Geneva Conventions.

       3.      While Plaintiffs, or their loved ones, worked to stabilize Iraq nearly a decade after

the U.S. invasion, they were attacked by an Iran-backed, Hezbollah-led terrorist campaign that

MTN’s and ZTE’s transactions helped finance, arm, and logistically support. MTN and ZTE are

large multinational companies that had lucrative business with Iranian entities that MTN and

ZTE knew, or recklessly disregarded, served as fronts for terrorist finance and logistics, and
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MTN and ZTE engaged in illicit, terrorism-sanctions-busting transactions with known terrorist

fronts in order to boost their profits. Those transactions aided and abetted terrorism by directly

funding, arming, and logistically supporting a terrorist campaign that stretched for more than a

decade, killing and injuring thousands of Americans.

       4.      Both MTN and ZTE did business with Iranian companies, such as the Bonyad

Mostazafan, that were notorious fronts for the IRGC, including the Qods Force. Through that

business both MTN and ZTE provided direct financial support, revenue, U.S.-origin, embargoed

technology and equipment, and training and expertise—all of which the IRGC, including the

Qods Force, provided to Hezbollah and Jaysh al-Mahdi terrorists operating in Iraq—and all of

which was used to target to kill and injure Americans.

       5.      MTN and ZTE profited by aiding Iran-backed terror. As long-term strategic

partners with one another who worked closely together in Iran, MTN and ZTE both understood

their Iranian counterparties were terrorist fronts used to raise money and source weapons for

terrorists, and MTN and ZTE knew or were willfully blind to the fact that their “business” with

terrorist front counterparties was serving the terrorists’ ends, but proceeded in any event.

       6.      The IRGC, including the Qods Force, used its relationships with MTN and ZTE

to optimize Iran’s terrorist enterprise by bolstering the capacity of Iran’s lead terrorist agent,

Hezbollah.

       7.      Through the IRGC’s, including Qods Force’s, transactions with MTN and ZTE,

Hezbollah and its Iraqi terrorists were able to evade the international sanctions regime to source

weapons and weapons components for terror, modernize their communications systems to better

encrypt signals traffic, improve their surveillance and intelligence capabilities, and generate tens




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 of millions in annual revenue to fund Hezbollah-led attacks – all of which Hezbollah, and the

 proxies it commanded in Iraq, used to attack Americans there from 2011 through 2016.

        8.      The amount of money that Hezbollah, Jaysh al-Mahdi, and the IRGC, including

 the Qods Force, obtained via MTN’s and ZTE’s business in Iran is staggering—and the terrorists

 used those funds to pay for the Joint Cells’ campaign by Hezbollah and its terrorist proxies in

 Iraq. But this case is not just about money: The technology that MTN and ZTE provided to the

 IRGC, including the Qods Force, which flowed through those groups to Hezbollah for use by the

 Joint Cells in Iraq, was uniquely important to the terrorists, enabling them to inflict maximum

 damage because, among other things, it allowed them to monitor Americans, avoid detection,

 clandestinely communicate, build and detonate better and more effective bombs, and develop

 more accurate and lethal rockets.

        9.      MTN and ZTE went beyond helping to fund and arm Hezbollah, Jaysh al-Mahdi,

 and the IRGC, including the Qods Force. Defendants also provided substantial ongoing

 logistical and operational aid for the IRGC’s, including the Qods Force’s, terrorist enterprise.

        10.     MTN and ZTE supported the terrorists with actual knowledge of what they were

 doing. Indeed, the terrorists literally made MTN sign an agreement pledging to support their

 “security” needs, which all involved understood to be a euphemism for anti-American terror.

        11.     This is not a case about one or two alleged rogue employees who engaged in a

 frolic and detour that resulted in a company’s money reaching terrorists. Here, each Defendants’

 executives were thoroughly implicated in the terrorist finance and logistics scheme, and actively

 supported doing business with the known terrorist fronts.

        12.     Indeed, MTN’s leadership even mocked those who raised concerns about the risks

 of becoming joint venture partners with two notorious Iranian terror fronts: When queried by



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 investors about the “risk of doing business with Iran,” MTN’s then-CEO “laughed off” such

 questions, joking that “[MTN] hadn’t budgeted for bomb shelters or anything like that.”

        13.     ZTE’s executives were similarly culpable. According to the then-Acting

 Assistant Attorney General, Mary B. McCord, “ZTE engaged in an elaborate scheme to acquire

 U.S.-origin items, send the items to Iran and mask its involvement in those exports,” and the plea

 agreement ZTE signed “alleges that the highest levels of management within the company

 approved the scheme.”

        14.     MTN’s and ZTE’s transactions, and the terrorist attacks they funded, were acts of

 “international terrorism.” 18 U.S.C. § 2333(a). Since 1997, the United States has designated

 Hezbollah as a Foreign Terrorist Organization. Since 2007, the United States has designated the

 Qods Force as a Specially Designated Global Terrorist. Both designations reflect Hezbollah’s

 and the IRGC’s, including the Qods Force’s, status among the world’s deadliest terrorist groups.

        15.     The Joint Cells’ terrorist attacks against Plaintiffs were “planned,” “authorized,”

 and jointly “committed” by Hezbollah, 18 U.S.C. § 2333(d)(2), the Islamist terrorist group that

 serves as the lead worldwide terrorist agent for the IRGC, including the Qods Force. Hezbollah

 and the IRGC, including the Qods Force, have long been fused together: Hezbollah pledged

 allegiance to the IRGC, including the Qods Force, who, in turn, serve as Hezbollah’s lead patron,

 protector, funder, and weapons supplier. Hezbollah and the IRGC, including the Qods Force,

 shared money, weapons, and personnel in Iraq, Iran, and Lebanon.

        16.     Plaintiffs are U.S. citizens, and their family members, who served in Iraq between

 2011 and 2016 and who were killed or wounded in terrorist attacks committed by a Joint Cell

 comprised of Hezbollah, Jaysh al-Mahdi, and the IRGC, including the Qods Force. As alleged

 below, Plaintiffs are entitled to recover for their injuries under the federal Anti-Terrorism Act



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 (“ATA”). MTN and ZTE violated the ATA, 18 U.S.C. § 2333(a), by providing material support

 to Hezbollah, Jaysh al-Mahdi, and the IRGC, including the Qods Force, in violation of U.S.

 criminal law. They are also secondarily liable under the ATA, 18 U.S.C. § 2333(d)(2), because

 they aided and abetted the campaign by Hezbollah, Jaysh al-Mahdi, and the IRGC, including the

 Qods Force, to commit terrorist attacks in Iraq that were committed, planned, or authorized by

 Hezbollah, a designated Foreign Terrorist Organization.

        17.     Each Plaintiff was killed or injured by a terrorist attack committed by terrorists

 who received direct funding, weapons, weapons components, communications technology,

 and/or operational support made possible by MTN’s and ZTE’s conduct.

                                          DEFENDANTS

              A. The MTN Defendants

        18.     Defendant MTN Group Limited (“MTN Group,” together with its subsidiaries,

 “MTN”) is a South African telecommunications company whose stock trades publicly on the

 Johannesburg Stock Exchange under the ticker symbol MTN:SJ. Its principal place of business

 is in Roodepoort, South Africa.

        19.     Defendant MTN Irancell is a joint venture between MTN Group, which has a

 49% stake and is not in charge, and the Bonyad Mostazafan and Iran Electronics Industries

 (“IEI”), which collectively own a 51% stake and are fronts for the IRGC, including the Qods

 Force (sometimes abbreviated “IRGC-QF”). MTN Irancell is an Iranian company and its

 principal place of business is in Tehran, Iran. MTN Irancell operates as, and MTN Irancell’s

 employees and agents work as operatives for, a front for the IRGC, including the Qods Force.

        20.     Defendant MTN (Dubai) Limited (“MTN Dubai”) is a wholly owned subsidiary

 of MTN Group. It is a Dubai company, and its principal place of business is in Dubai.



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                 B. The ZTE Defendants

        21.         On information and belief, Defendant ZTE Corporation (“ZTE Corporation,”

 together with its subsidiaries, “ZTE”), is a Chinese corporation with a principal place of business

 located at ZTE Plaza, Keji Road South, Hi-Tech Industrial Park, Nanshan District, Guangdong

 Province, People’s Republic of China 518057.

        22.         On information and belief, Defendant ZTE (USA), Inc. (“ZTE USA”) is a New

 Jersey Corporation that is as wholly-owned subsidiary of ZTE, headquartered and authorized to

 do business at 2425 North Central Expressway, Suite 323, Richardson, Texas, 75080.

        23.         On information and belief, Defendant ZTE (TX) Inc. (“ZTE TX”) is a wholly-

 owned subsidiary of ZTE Corporation. ZTE TX is a corporation organized and existing under

 the laws of the State of Texas with its principal place of business in California at 1900 McCarthy

 Boulevard, #420, Milpitas, California 95035.

                                     JURISDICTION AND VENUE

        24.         This Court has subject-matter jurisdiction under 18 U.S.C. § 2338 and 28 U.S.C.

 § 2331.

        25.         This Court has personal jurisdiction over each of the Defendants under Federal

 Rule of Civil Procedure 4(k)(1)(C) and/or 4(k)(2), and 18 U.S.C. § 2334(a).

        26.         MTN’s acts in the United States, including but not limited to obtaining U.S.-

 origin technology and equipment for export to Iran, and targeting the United States, including by

 entering into transactions with fronts, operatives, and agents for the IRGC, including the Qods

 Force, that were intent on harming United States nationals in Iraq, make appropriate this Court’s

 jurisdiction over MTN.

           27.      ZTE’s acts in the United States, including but not limited to obtaining U.S.-origin

 technology and equipment for export to Iran, and targeting the United States, including by

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 entering into transactions with fronts, operatives, and agents for the IRGC, including the Qods

 Force, that were intent on harming United States nationals in Iraq, make appropriate this Court’s

 jurisdiction over ZTE.

        28.     Venue is proper in this District under 18 U.S.C. § 2334(a), because Plaintiffs

 Zeinab El-Maadawy, Mustafa El-Maadawy, and Ihab El-Maadawy reside in the District.

                                   FACTUAL ALLEGATIONS

 I.     SINCE THE ISLAMIC REVOLUTION IN 1979, THE ISLAMIC
        REVOLUTIONARY GUARD CORPS, INCLUDING THE QODS FORCE, HAS
        FOMENTED AND SUSTAINED ANTI-AMERICAN TERRORISM

        A.      The Islamic Revolutionary Guard Corps, including the Qods Force, has long
                supported anti-American terrorism as part of Iran’s foreign policy

        29.     Iran is politically and ideologically hostile to the United States and its allies. Iran

 often acts through its lead terrorist agent, Lebanese Hezbollah (or “Hezbollah”) – a designated

 Foreign Terrorist Organization since 1997 – which Iran funds, arms, and logistically supports.

 Through Hezbollah, Iran provides material support and resources for acts of international

 terrorism targeting the United States and its overseas interests.1

        30.     The 1979 Iranian Revolution was fueled in large part by militant anti-

 Americanism. Eliminating the United States’s role in the geographic region surrounding Iran –

 including through violence – was and remains a central tenet of Iranian foreign policy.2 Since




 1
  Federal courts have repeatedly held that Hezbollah is an agent of the IRGC, including the Qods
 Force. See Fritz v. Islamic Republic of Iran, 320 F. Supp. 3d 48, 61 (D.D.C. 2018), Friends of
 Mayanot Inst., Inc. v. Islamic Republic of Iran, 313 F. Supp. 3d 50, 53-55 (D.D.C. 2018);
 Peterson v. Islamic Republic of Iran, 264 F. Supp. 2d 46, 53 (D.D.C. 2003); Stern v. Islamic
 Republic of Iran, 271 F. Supp. 2d 286, 292 (D.D.C. 2003).
 2
  Col. (ret.) Richard Kemp and Maj. (ret.) Charles Driver-Williams, Killing Americans and Their
 Allies: Iran’s Continuing War against the United States and the West, Jerusalem Ctr. For Public
 Affairs (2015) (“Killing Americans and Their Allies”).
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 the Iranian Revolution, the IRGC, including the Qods Force, has engaged in and supported acts

 of terrorism directed at the United States and its allies as an instrument of Iran’s foreign policy.

          31.    Enmity toward America is foundational for the Iranian regime in general, most of

 all, Grand Ayatollah Khamenei, who is the effective leader of the IRGC, including the Qods

 Force, both of which are responsible to him personally. At a 2005 rally, Khamenei explained,

 “Our people say ‘Death to America,’ and this is like the saying ‘I seek God’s refuge from the

 accursed Satan,’ which is recited before any chapter of the Koran, even before ‘In the name of

 Allah the Compassionate, the Merciful.’” Khamenei said the routine chanting of “Death to

 America” is designed so that Iranians “will never forget, even for a moment, that Satan is ready

 to attack him. . . . The saying ‘Death to America’ is for this purpose.”3

          32.    As a result of the IRGC’s consistent and longstanding support of anti-American

 terrorism, Iran was designated as a State Sponsor of Terrorism on January 19, 1984, pursuant to

 section 6 of the Export Administration Act of 1979 (50 U.S.C. § 4605), section 620A of the

 Foreign Assistance Act of 1961 (22 U.S.C. § 2371), and section 40 of the Arms Export Control

 Act (22 U.S.C. § 2780). The United States has maintained that designation at all times since.

          33.    On October 29, 1987, President Ronald Reagan issued Executive Order 12613

 based upon his finding “that the Government of Iran is actively supporting terrorism as an

 instrument of state policy,” and also as a result of Iran’s “aggressive and unlawful military action

 against U.S.-flag vessels.” Exec. Order 12813, 52 Fed. Reg. 4194D (Oct. 30, 1987).

          34.    In 1990, the IRGC transferred activities outside of Iran to its subordinate branch,

 the Qods Force, which translates to “Jerusalem Force,” in reference to the IRGC’s desire to

 destroy the state of Israel and take back Jerusalem.



 3
     Ali Khamenei, Channel 1, Iranian TV (Mar. 14, 2005).
                                                   8
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          35.     On March 15, 1995, President Clinton announced that “the actions and policies of

 the Government of Iran constitute an unusual and extraordinary threat to the national security …

 of the United States. …” Exec. Order 12957, 60 Fed. Reg. 14615 (Mar. 17, 1995).

          36.     On August 21, 1997, President Clinton issued Executive Order 13059 to

 consolidate and clarify Executive Orders 12957 and 12959, and comprehensively prohibit trade

 intended to benefit, among other things, the IRGC, including the Qods Force. Exec. Order

 13059, 62 Fed. Reg. 44531 (Aug. 21, 1997). (That same year, the U.S. also designated Iran’s

 lead terror agent, Hezbollah, as an FTO.)

          37.     In 1998, Brigadier General Qassem Soleimani was appointed head of the Qods

 Force, a role in which he served continuously until his death in a U.S. airstrike in 2020.

          38.     The Department of Treasury implemented regulations pursuant to these Executive

 Orders which, in general, broadly prohibit any economic transactions with any entities that are

 controlled by the Government of Iran. 31 C.F.R. § 560.304 (defining “Government of Iran”), 31

 C.F.R. § 560.313 (defining “entity owned or controlled by the Government of Iran”); 31 C.F.R. §

 560.314 (defining “United States person”).

          39.     In 2007, the U.S. State Department described Iran as “the most active state

 sponsor of terrorism” in the world and “a threat to regional stability and U.S. interests in the

 Middle East because of its continued support for violent groups.”4

          40.     On October 25, 2007, the U.S. Treasury Department designated the Qods Force as

 a Specially Designated Global Terrorist (or “SDGT”) under Executive Order 13224 (“E.O.

 13224”) for providing material support to terrorist groups in Iraq and other terrorist

 organizations, including Hezbollah; the U.S. also designated multiple Qods Force members as



 4
     U.S. State Dep’t, Country Reports on Terrorism 2007 at 172 (Apr. 2008).
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 Specially Designated Nationals pursuant to E.O. 13224, based on their activities in Iraq,

 including their support for Hezbollah.5

        41.     Announcing the Qods Force’s SDGT-related designations, the Treasury

 Department stated as follows in its official press release:

        The U.S. Government is taking [] major actions today to counter Iran’s …
        support for terrorism by exposing Iranian … companies and individuals that
        have been involved in these dangerous activities and by cutting them off from the
        U.S. financial system. … The Treasury Department [] designated the IRGC-Qods
        Force (IRGC-QF) under E.O. 13224 for providing material support to … terrorist
        organizations…

        Last week, the Treasury Department issued a warning to U.S. banks setting forth
        the risks posed by Iran…. Today’s actions are consistent with this warning, and
        provide additional information to help [] institutions protect themselves from
        deceptive [] practices by Iranian entities and individuals engaged in or
        supporting … terrorism. … As a result of our actions today, all transactions
        involving any of the designees and any U.S. person will be prohibited … Today’s
        designations also notify the international private sector of the dangers of doing
        business with … the many IRGC-affiliated companies that pervade several
        basic Iranian industries. …

        Support for Terrorism -- Executive Order 13224 Designations
        E.O. 13224 is an authority aimed at freezing the assets of terrorists and their
        supporters, and at isolating them from the U.S. financial and commercial
        systems. Designations under the E.O. prohibit all transactions between the
        designees and any U.S. person …

        IRGC-Qods Force (IRGC-QF): The Qods Force, a branch of the [IRGC],
        provides material support to the Taliban, Lebanese Hizballah, Hamas, [and]
        Palestinian Islamic Jihad …

        The Qods Force is the Iranian regime’s primary instrument for providing lethal
        support to the Taliban. The Qods Force provides weapons and financial support to
        the Taliban to support anti-U.S. and anti-Coalition activity in Afghanistan. …
        Through Qods Force material support to the Taliban, we believe Iran is seeking to
        inflict casualties on U.S. and NATO forces.

        The Qods Force has had a long history of supporting Hizballah’s military,
        paramilitary, and terrorist activities, providing it with guidance, funding,


 5
   Press Release, U.S. Treasury Dep’t, Fact Sheet: Designation of Iranian Entities and Individuals
 for Proliferation Activities and Support for Terrorism (Oct. 25, 2007).
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          weapons, intelligence, and logistical support. The Qods Force operates training
          camps for Hizballah in Lebanon[] … and has [] trained more than 3,000 Hizballah
          fighters at IRGC training facilities in Iran. The Qods Force provides roughly
          $100 to $200 million in funding a year to Hizballah and has assisted Hizballah in
          rearming in violation of UN Security Council Resolution 1701.

          In addition, the Qods Force provides lethal support in the form of weapons,
          training, funding, and guidance to select groups of Iraqi Shi’a militants who
          target and kill Coalition … forces ...6

          42.     On May 27, 2009, the U.S. Treasury Department announced additional IRGC-

 related sanctions further reflecting the long-standing U.S. conclusion that the IRGC used its

 revenue to pay for Hezbollah’s operations and training activities:

          The U.S. Department of the Treasury [] designated … two Africa-based
          supporters of the Hizballah terrorist organization, under E.O. 13224. E.O. 13224
          targets terrorists and those providing support to terrorists or acts of terrorism by
          … prohibiting U.S. persons from engaging in any transactions with them.

          “We will continue to take steps to protect the financial system from the threat
          posed by Hizballah and those who support it,” said Under Secretary for
          Terrorism and Financial Intelligence Stuart Levey. … Iran … provide[s]
          significant support to Hizballah, giving money, weapons and training to the
          terrorist organization. In turn, Hizballah is closely allied with and has an
          allegiance to [Iran]. Iran is Hizballah’s main source of weapons and uses its
          Islamic Revolutionary Guard Corps to train Hizballah operatives in Lebanon
          and Iran. Iran provides hundreds of millions of dollars per year to Hizballah.7

          43.     The U.S. State Department has observed that “Iran used the [Qods Force] to

 implement foreign policy goals, provide cover for intelligence operations, and create instability

 in the Middle East. The Qods Force is Iran’s primary mechanism for cultivating and supporting

 terrorists abroad.”8 The Qods Force is the driving force behind Iran’s activities in Iraq, as well

 as in Syria, Afghanistan, and elsewhere in the Middle East.



 6
     Id. (emphases added).
 7
  Press Release, U.S. Treasury Dep’t, Treasury Targets Hizballah Network in Africa (May 27,
 2009) (emphases added).
 8
     U.S. State Dep’t, Country Reports on Terrorism 2015 at 300 (June 2, 2016).
                                                  11
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        44.     The IRGC, including the Qods Force, has a long and well-documented history of

 assassinations, kidnappings, bombings, and arms dealing. It also regularly trains foreign terrorist

 proxies whose attacks promote Iran’s political goals, often working side-by-side with Hezbollah.

        45.     The Qods Force is responsible to and directed by the Supreme Leader of Iran.

 Major General Qassem Soleimani, was the chief of the Qods Force for more than twenty years

 and oversaw the Qods Force’s support for Hezbollah and its proxies to promote Iran’s policies

 throughout the region. Soleimani took his directions from Khamenei, with whom he shared a

 close personal relationship. Soleimani was killed in a U.S. airstrike in Baghdad, Iraq on January

 3, 2020. Khamenei then appointed General Esmail Ghaani to replace Soleimani.

        46.     The IRGC, including the Qods Force, provide weapons, funding, and training for

 terrorist operations targeting American citizens, including for Hezbollah and, through Hezbollah,

 for Jaysh al-Mahdi. Iran’s Supreme Leader and central government are aware of and encourage

 those acts. Applying pressure against the United States by funding and supplying Hezbollah and

 other terrorist proxies in the Middle East and Central Asia is an official component of IRGC,

 including Qods Force, policy.

        47.     The Qods Force has four regional commands, with each focused on implementing

 Iran’s foreign policy in a neighboring region. The First Corps focuses on Iraq, the Second Corps

 on Pakistan, the Third Corps on Turkey and Kurdistan, and the Fourth Corps on Afghanistan.

        48.     The Qods Force’s leader until his death, Qassem Soleimani, infamously boasted

 about his ability to threaten American lives in Iraq by relaying a message, through an

 intermediary, directly to U.S. General David Petraeus, who commanded U.S. forces in Iraq at the

 time, in which Soleimani boasted: “Dear General Petraeus, You Should know that I, Qassem

 Soleimani, control the policy for Iran with respect to Iraq, Lebanon, Gaza, and Afghanistan.”



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 Soleimani taunted General Petraeus after Iran-backed, Hezbollah-trained Jaysh al-Mahdi

 terrorists in Baghdad and elsewhere launched an especially brutal wave of terrorist attacks

 against Americans in Iraq that relied upon using IRGC-manufactured advanced rockets and

 explosively formed penetrators (“EFP”) built by Hezbollah with IRGC-sourced components,

 which caused the U.S. government to protest Iranian terrorist activity in Iraq.

          49.     The IRGC, including the Qods Force, has used Hezbollah and its proxies to

 commit terrorist attacks. While it is a Lebanese-based terrorist group, Hezbollah has pledged

 fealty to Iran’s Supreme Leader. Each year the IRGC, including the Qods Force, provides

 Hezbollah approximately $100 million to $200 million in funding and weapons. As Ali Akbar

 Mohtashemi (a Hezbollah founder, former Iranian ambassador to Syria and Lebanon, and former

 Iranian Minister of Interior) explained, “[Hezbollah] is part of the Iranian rulership; [Hezbollah]

 is a central component of the Iranian military and security establishment; the ties between Iran

 and [Hezbollah] are far greater than those between a revolutionary regime with a revolutionary

 party or organization outside its borders.”9

          50.     The IRGC, including the Qods Force, has long provided support – routed through

 Hezbollah – for terrorist attacks against American military forces and contractors in Iraq. For

 example, the IRGC, including the Qods Force, sponsored a substantial training, logistics, travel,

 and communications campaign, all of which was implemented by Hezbollah (in Lebanon, Iran,

 and Iraq) using IRGC, including Qods Force, resources that enabled Hezbollah to train, guide,

 direct, and motivate Jaysh al-Mahdi terrorists, who operated as part of the Joint Cells with

 Hezbollah and the IRGC, including the Qods Force, targeting American service members and

 civilians in Iraq in key Iraqi geographies like Baghdad and Basra.



 9
     Killing Americans and Their Allies.
                                                 13
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        51.     Similarly, the IRGC, including the Qods Force, paid for, and sourced key

 components necessary for Hezbollah to build, each EFP used by the Joint Cells, all of which

 were constructed by Hezbollah based upon Hezbollah designs. Hezbollah then provided such

 EFPs to the Joint Cells at the instruction of the IRGC, including the Qods Force, for the Joint

 Cells to use to attack Americans in Iraq between 2011 and 2016.

        52.      The IRGC, including the Qods Force, also paid for, and helped Hezbollah build

 and/or deliver, advanced rockets – including upgraded 107mm variants such as the IRGC-

 manufactured 107mm rockets known as Improvised Rocket-Assisted Munitions (“IRAMs”) –

 which Hezbollah then provided to the Joint Cells at the instruction of the IRGC, including the

 Qods Force, for the Joint Cells to use to attack Americans in Iraq between 2011 and 2016.

        53.     The IRGC, including the Qods Force, intentionally used Hezbollah to lead every

 aspect of its terrorist campaign against Americans in Iraq, at least in part, because the IRGC,

 including the Qods Force, wanted “plausible deniability” of Iranian involvement based upon the

 Iranian propaganda that Hezbollah is and was not an Iranian agent. To that end, when MTN and

 ZTE provided embargoed technology and funds, and any other materials useful for terrorist

 tradecraft to their IRGC, including Qods Force, counterparties, those items flowed through the

 IRGC, including the Qods Force, to Hezbollah, which, in turn, distributed money, arms, and

 technology to Hezbollah’s lead Shiite terrorist proxy in Iraq, Jaysh al-Mahdi. In this way, the

 IRGC, including the Qods Force, were able to maintain influence on the terror campaign in Iraq

 while simultaneously delegating its planning, commission, and authorization to Hezbollah.

        54.     Because Hezbollah is widely understood amongst officials of the U.S.

 government, and those in academia, business, and the media, to be a part of the IRGC, including

 the Qods Force, it is not uncommon for U.S. officials to lump “Hezbollah” into discussions of



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 IRGC, including Qods Force, malign activity in Iraq. For the avoidance of all doubt, Plaintiffs

 allege that all or nearly all of the support that the IRGC, including the Qods Force, provided to

 Jaysh al-Mahdi as described in this Complaint – including the funds, weapons, weapons

 components, communications technology, and computers – was routed through Hezbollah in its

 capacity as the IRGC’s and Qods Force’s lead terrorist agent worldwide and in its status as a

 constituent member of both organizations. Plaintiffs expressly disclaim any allegation in this

 Complaint that the IRGC or Qods Force bypassed Hezbollah to directly fund, arm, or logistically

 support Jaysh al-Mahdi, and Plaintiffs allege that all such IRGC, including Qods Force, support

 of Jaysh al-Mahdi was either (a) routed through Hezbollah; or (b) provided in the context of a

 Joint Cell comprised of Hezbollah, Jaysh al-Mahdi, and the IRGC, including the Qods Force.

           55.    Hezbollah’s campaign of attacks via EFP, rocket, and hostage-taking inflicted

 nearly all the American casualties in Iraq between 2011 and 2016.

           56.    On April 15, 2019, the U.S. State Department designated the IRGC, including the

 Qods Force, as a Foreign Terrorist Organization.10 Announcing the designation, President

 Trump explained that “the IRGC actively participates in, finances, and promotes terrorism as a

 tool of statecraft.”11 According to the U.S. State Department’s public statement explaining the

 designation, the IRGC, including the Qods Force, have “been directly involved in terrorist

 plotting; its support for terrorism is foundational and institutional, and it has killed U.S.

 citizens.”12 Through the IRGC’s, including the Qods Force’s, support for terrorist organizations




 10
      See 84 Fed. Reg. 15,278-01 (Apr. 15, 2019).
 11
   Statement from the President on the Designation of the Islamic Revolutionary Guard Corps as
 a Foreign Terrorist Organization (Apr. 8, 2019) (emphasis added).
 12
   U.S. State Dep’t, Fact Sheet: Designation of the Islamic Revolutionary Guard Corps (Apr. 8,
 2019) (emphasis added).
                                                    15
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 throughout the region, “[t]he Iranian regime has made a clear choice not only to fund and equip,

 but also to fuel terrorism, violence, and unrest across the Middle East.”13

            57.    When the U.S. State Department designated the IRGC, including the Qods Force,

 as a Foreign Terrorist Organization, Secretary of State Michael R. Pompeo stated:

            This is the first time that the United States has designated a part of another
            government as an FTO. … [T]he Iranian regime’s use of terrorism as a tool of
            statecraft makes it fundamentally different from any other government. …

            For 40 years, the [IRGC] has actively engaged in terrorism and created,
            supported, and directed other terrorist groups. The IRGC … regularly violates the
            laws of armed conflict; it plans, organizes, and executes terror campaigns all
            around the world. …

            The IRGC institutionalized terrorism shortly after its inception, directing horrific
            attacks against the Marine barracks in Beirut in 1983 and the U.S. embassy annex
            in 1984 alongside the terror group it midwifed, Lebanese Hizballah. Its
            operatives have worked to destabilize the Middle East from Iraq to Lebanon to
            Syria and to Yemen. …

            The IRGC … supports: Lebanese Hizballah, Palestinian Islamic Jihad, Hamas,
            Kata’ib Hizballah, among others, all of which are already designated as foreign
            terrorist organizations. …

            Our designation makes clear … that [the] Iranian regime not only supports
            terrorist groups, but engages in terrorism itself. This designation also brings
            unprecedented pressure on figures who lead the regime’s terror campaign,
            individuals like Qasem Soleimani. … He doles out the regime’s profits to
            terrorist groups across the region and around the world.

            The blood of the 603 American soldiers the Iranian regime has found to have
            killed in Iraq is on his hands and on the hands of the IRGC more broadly.14

            58.    As the world’s worst sponsor of terrorism, Iran is unique. It is not a “normal”

 country, but a place where the IRGC, including the Qods Force, rely upon their corporate allies

 to directly enable violence in an open and shocking manner. As Ambassador Mark D. Wallace,


 13
      Id.
 14
    Secretary of State Michael R. Pompeo, U.S. Department of State, Remarks to the Press (Apr.
 8, 2019) (emphasis added).
                                                     16
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 the CEO of United Against Nuclear Iran (“UANI”), explained, “[i]nternational organizations

 must also realize that their relationship with Iran is not just … ‘business as usual,’ … Put

 bluntly, Iran is in violation of many of its international treaty obligations, and it should not be

 treated like a member in good standing of international bodies.”15

                B.      The Islamic Revolutionary Guard Corps, including the Qods Force,
                        has historically relied on fronts, operatives, and agents to fund, arm,
                        and operationally support Iran’s anti-American terrorist proxies

        59.     The IRGC, including the Qods Force, has a long and notorious history of relying

 on fronts, operatives, and agents to obtain funding, weapons, and operational support to benefit

 the IRGC’s, including the Qods Force’s, terrorist operations and Anti-American proxies around

 the world, most of all Hezbollah.

        60.     On February 10, 2010, the U.S. Treasury Department announced additional IRGC

 front-related designations and stated that the IRGC, including the Qods Force, were using illicit

 commercial transactions to bolster Iran’s terrorist enterprise:

        The U.S. Department of the Treasury [] took further action to implement existing
        U.S. sanctions against Iran’s [IRGC] by designating an individual and four
        companies affiliated with the IRGC … “As the IRGC consolidates control over
        broad swaths of the Iranian economy, … it is hiding behind companies … to
        maintain vital ties to the outside world,” said Under Secretary for Terrorism and
        Financial Intelligence Stuart Levey. “Today’s action … will help firms
        worldwide avoid business that ultimately benefits the IRGC and its dangerous
        activities.” … The U.S. has previously acted against the IRGC and the IRGC-
        Qods Force for their involvement in proliferation and terrorism support activities,
        respectively. In joint actions on October 25, 2007, the State Department
        designated the IRGC, under E.O. 13382, for having engaged, or attempted to
        engage, in proliferation-related activities, and Treasury designated the IRGC--




 15
   Statement of the Honorable Mark D. Wallace, CEO United Against Nuclear Iran before the
 U.S. U.S. House of Representatives Committee on Foreign Affairs, Iran Sanctions,
 Congressional Testimony via FDCH (May 17, 2012) (emphasis added), 2012 WLNR 10405070
 (“Wallace May 17, 2012 Testimony”).
                                                   17
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        Qods Force pursuant to E.O. 13224 for providing material support to …
        terrorist organizations. …16

        61.       On August 3, 2010, the U.S. Treasury Department announced additional IRGC-

 and Qods Force-related terrorist designations that bolstered the U.S. message that the “IRGC and

 IRGC-QF” provided “Support for Terrorist Organizations,” including Hezbollah, and relied upon

 illicit commercial transactions to fund and arm the Hezbollah-led terrorist campaign against

 Americans in Iraq:

        The U.S. Department of the Treasury announced [] a set of designations targeting
        the Government of Iran’s support for terrorism and terrorist organizations,
        including Hizballah … Iran is the primary funder of Hizballah and has long been
        recognized as the most active state sponsor of terrorism. Today’s designations
        expose Iran’s use of its state apparatus – including the Islamic Revolutionary
        Guard Corps-Qods Force – and state-run social service organizations to support
        terrorism under the guise of … economic development …

        IRGC and IRGC-QF Support for Terrorist Organizations:
        The IRGC-QF is the Government of Iran’s primary arm for executing its policy of
        supporting terrorist and insurgent groups. The IRGC-QF provides material,
        logistical assistance, training and financial support to militants and terrorist
        operatives throughout the Middle East and South Asia. It was designated by
        Treasury pursuant to E.O. 13224 in October 2007 for its support of terrorism.

        The Government of Iran also uses the Islamic Revolutionary Guard Corps (IRGC)
        and IRGC-QF to implement its foreign policy goals, including, but not limited to,
        seemingly legitimate activities that provide cover for intelligence operations and
        support to terrorist and insurgent groups. These activities include economic
        investment … implemented by companies and institutions that act for or on
        behalf of, or are owned or controlled by the IRGC and the Iranian government.

                 … In Iraq, the Government of Iran trains, equips, and funds Iraqi Shia
                  militant groups.
                 In the Levant, the IRGC-QF continues to support designated terrorist
                  groups such as Hizballah…[,] the largest recipient of Iranian financial aid,




 16
   U.S. Treasury Dep’t, Treasury Targets Iran’s Islamic Revolutionary Guard Corps (Feb. 10,
 2010) (emphasis added).
                                                   18
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                 training, and weaponry; and Iran’s senior leadership has cited Hizballah as
                 a model for other militant groups.17

         62.     On December 21, 2010, the U.S. Treasury Department announced additional

 IRGC-related designations, and stated once again that IRGC, including the Qods Force, relied

 upon illicit commercial transactions, including through the Bonyads like Bonyad Mostazafan, to

 facilitate Iran’s terrorist enterprise:

         The U.S. Department of the Treasury announced [] a set of designations targeting
         the financial networks of the Islamic Revolutionary Guard Corps (IRGC) …
         Today’s actions further expose the continued engagement of the IRGC … in illicit
         activities and deceptive behavior.

         “[T]he IRGC … [is a] major institutional participant[] in Iran’s illicit conduct and
         in its attempts to evade sanctions. We will therefore continue to target and expose
         [its] networks,” said Under Secretary for Terrorism and Financial Intelligence
         Stuart Levey. … The IRGC continues to be a primary focus of U.S. and
         international sanctions against Iran because of the central role it plays in Iran’s …
         support for terrorism …. The U.S., UN, EU, Japan, South Korea and others have
         all targeted the IRGC for sanctions because of this illicit activity. With the
         IRGC’s expanding influence and control over broader segments of the Iranian
         economy … increasing numbers of Iranian businesses are subsumed under the
         IRGC’s umbrella and identified with its illicit conduct.

         … Iranian bonyads are opaque, quasi-official organizations controlled by key
         current and past government officials and clerics. Bonyads receive benefits from
         the Iranian government but are not required to have their budgets publicly
         approved. They account for a significant portion of Iran’s non-petroleum
         economy. … Treasury has designated 14 IRGC-affiliated individuals and entities
         since June 2010 for facilitating Iran’s nuclear and ballistic missile program or
         support for terrorism.18




 17
   U.S. Treasury Dep’t, Fact Sheet: U.S. Treasury Department Targets Iran’s Support for
 Terrorism Treasury Announces New Sanctions Against Iran's Islamic Revolutionary Guard
 Corps-Qods Force Leadership (Aug. 3, 2010) (emphasis added).
 18
   U.S. Treasury Dep’t, Fact Sheet: Treasury Designates Iranian Entities Tied to the IRGC and
 IRISL (Dec. 21, 2010).
                                                  19
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        63.     On June 23, 2011, the U.S. Treasury Department announced additional IRGC-

 related designations that reinforced the U.S. message that illicit transactions with IRGC

 commercial fronts directly aided terrorism against Americans by Iranian terrorist proxies:

        Treasury Targets Commercial Infrastructure of IRGC, Exposes Continued
        IRGC Support for Terrorism

        Today, the U.S. Department of the Treasury took action to designate … Iranian
        commercial entities … owned by [IRGC] … The IRGC continues to be a primary
        focus of U.S. and international sanctions against Iran because of the central role it
        plays in all forms of Iran’s illicit conduct, including Iran’s … support for
        terrorism … As Iran’s isolation has increased, the IRGC has expanded its reach
        into critical sectors of Iran’s economic infrastructure – to the detriment of the
        Iranian private sector – to generate revenue and conduct business in support of
        Iran’s illicit activities. Today’s actions target core commercial interests of the
        IRGC, while also undermining the IRGC’s ability to continue using these interests
        to facilitate its … illicit conduct. … The IRGC has a growing presence in Iran’s
        financial and commercial sectors and extensive economic interests …, controlling
        billions of dollars in corporate business. Given its increased involvement in
        commercial activity, imposing financial sanctions on commercial enterprises of
        the IRGC has a direct impact on revenues that could be used by the IRGC to
        facilitate illicit conduct.19

 II.    DEFENDANTS TRANSACTED BUSINESS WITH FRONTS, OPERATIVES,
        AND AGENTS CONTROLLED BY THE ISLAMIC REVOLUTIONARY GUARD
        CORPS, INCLUDING THE QODS FORCE

        64.     MTN and ZTE did business with fronts, agents, and operatives for the IRGC,

 including the Qods Force.

        65.     MTN’s and ZTE’s business with IRGC, including Qods Force, fronts, agents, and

 operatives helped the IRGC, including the Qods Force, aided Hezbollah’s campaign, including

 the attacks by the Joint Cells from 2011 through 2016 against Americans in Iraq in order to drive

 the U.S. out of the country and cement Iranian influence there. That terrorist alliance laid the

 groundwork for how MTN and ZTE funded, and thereby armed, terrorists for attacks that were



 19
   U.S. Treasury Dep’t, Fact Sheet: Treasury Sanctions Major Iranian Commercial Entities
 (June 23, 2011) (emphasis added).
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 committed, planned, and authorized by Joint Cells comprised of Hezbollah, Jaysh al-Mahdi, and

 IRGC, including Qods Force, operatives in Iraq from 2011 through 2016.

        A.      An Iranian-backed Shiite terrorist alliance comprised of Hezbollah, Jaysh al-
                Mahdi, and the Islamic Revolutionary Guard Corps, including the Qods
                Force, waged a deadly terrorist campaign against Americans in Iraq

        66.     On March 19, 2003, the United States invaded Iraq. U.S. troops seized control of

 Baghdad less than three weeks later, and on April 9, 2003, Saddam Hussein’s government fell.

 Shortly thereafter, the Coalition Provisional Authority (“CPA”) began overseeing the

 reconstruction of a democratic Iraqi government, ultimately transitioning to Iraqi rule.

        67.     Formal armed hostilities between the United States and the Iraqi government

 ended on May 1, 2003. After that date, American troops deployed to Iraq performed a

 peacekeeping and nation-building function, rather than a warfighting function. American troops’

 primary purpose was to create the political and security conditions conducive to Iraqi democracy.

 The official end of major combat operations was important because it allowed civilian

 reconstruction teams to enter the country.

        68.     The U.S. invasion of Iraq was watched closely by Qassem Soleimani, the Qods

 Force, and the Qods Force’s lead terrorist agent, Hezbollah. Even before the invasion began, as

 early as September 2002, the Qods Force and Hezbollah plotted to undermine the anticipated

 U.S. presence in Iraq. For example, the leaders of Hezbollah and the Qods Force, Hassan

 Nasrallah and Qassem Soleimani, regularly coordinated the Qods Force’s support for the

 Hezbollah-directed terrorist campaign in Iraq in which Jaysh al-Mahdi helped commit attacks.

        69.     Immediately after Saddam’s government fell in April 2003, Hezbollah dispatched

 its chief terrorist mastermind, Imad Mugniyeh, to Iraq. Mugniyeh’s assignment was to make

 contact with Muqtada al-Sadr, an influential Shiite cleric, and to work with Sadr to build a

 terrorist organization modeled on Hezbollah capable of carrying out sophisticated attacks on
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 Americans in Iraq. Mugniyeh made contact with Sadr shortly thereafter and the two

 immediately began work on creating the terrorist organization that would become known as

 Jaysh al-Mahdi. An Israeli intelligence report confirmed in October 2003 that Hezbollah was

 already planning to “set up a resistance movement that would cause mass casualties” among

 American forces in Iraq.

        70.     Drawing on this influence, Muqtada al-Sadr became the leader of masses of

 impoverished Iraqi Shi’a after Saddam’s fall in April 2003. Sadr’s followers took over Saddam

 City – the two-million-person slum in eastern Baghdad, which is the most densely populated area

 in Iraq – and renamed it “Sadr City” after Muqtada’s father, Sadiq al-Sadr. During this time

 period, Sadr’s public sermons in the Shiite holy city of Najaf decried the U.S. invasion of Iraq,

 labeled U.S. troops as an illegal occupying force, and urged Iraqis to expel Americans from the

 country. Sadr’s rallies commonly ended with public “Death to America” chants.

        71.     By the summer of 2003, Sadr had channeled his popularity into a nascent

 organization called the “Sadrist Trend” (members of the Sadrist Trend and related groups are

 known as “Sadrists”). The Sadrist Trend was modeled expressly on Hezbollah. Like Hezbollah,

 the Sadrist Trend had both a political wing, called the Office of Martyr Sadr, and a terrorist wing,

 called “Jaysh al-Mahdi” (Arabic for “the Mahdi Army”) or “JAM.” And, like Hezbollah, the

 Sadrists seized control of important neighborhoods (such as Sadr City) and used Jaysh al-Mahdi

 to attack U.S.-led Coalition forces.

        72.     By early 2004, Sadr’s growing influence, along with the escalating violence

 employed by his terrorist militia, threatened the U.S. strategy in Iraq. That led the CPA, on

 March 28, 2004, to order a 60-day closure of al-Hawza, the Sadrist newspaper that Sadr used to

 proselytize anti-American and anti-Israeli violence. Sadr reacted by intensifying his



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 denunciations of the U.S. government and urging his followers to “ ‘terrorize’ their enemy.”

 According to The Endgame: The Inside Story of the Struggle For Iraq, From George W. Bush to

 Barack Obama (“Endgame”), Michael Gordon and General Bernard Trainor’s celebrated

 account of the Iraq war, Sadr’s Friday sermon on April 2, 2004, was a “bitter invective against

 the United States, denouncing the Americans and even praising the September 11 attacks.”20

          73.    From that point forward, Sadr and Jaysh al-Mahdi increased their attacks on

 Americans in Iraq, resulting in mass casualties among U.S. citizens (both military and civilian)

 working to stabilize and rebuild the country. By late 2004, Sadr had effectively seized control of

 large swaths of Iraq, including but not limited to Basra, Amarah, Najaf, Wasit, Kufa, Nasiriyah,

 and the entire eastern half of Baghdad. By early 2005, Sadr controlled 20 Jaysh al-Mahdi

 brigades – all of which were trained by Hezbollah – operating out of his command-and-control

 safe haven in Sadr City, from which Jaysh al-Mahdi coordinated and launched Hezbollah-

 supported attacks against Coalition forces throughout Iraq.

          74.    In service of its terrorist agenda, and relying on Hezbollah training, weapons, and

 personnel, Jaysh al-Mahdi mastered several types of attacks that proved especially deadly for

 U.S. troops and civilians, including the attacks that killed and injured Plaintiffs. As one

 commentator explained, Jaysh al-Mahdi was “[a]nalogous to the Sunni terrorist organization, al

 Qaeda,” “committed thousands of bombings,” “detonated roadside explosives,” and “fired

 mortar shells toward the Green Zone.”21 In total, Jaysh al-Mahdi’s terrorist attacks throughout

 Iraq likely killed more than 500 Americans and wounded thousands more. The death toll

 inflicted by Jaysh al-Mahdi became so severe that, by July 2007, General David Petraeus


 20
      Endgame at 67.
 21
  Birgit Svensson, The Mahdi Army: Turbans, Kalashnikovs and Plans to ‘Slaughter’, Deutsche
 Welle (June 22, 2014).
                                                  23
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 concluded that “JAM is more of a hindrance to long-term security in Iraq than is [al-Qaeda-in-

 Iraq],” the Sunni terrorist group that became ISIS.22

          75.    Hezbollah’s proxy in Iraq was Jaysh al-Mahdi. The IRGC, including the Qods

 Force, relied upon Hezbollah and Jaysh al-Mahdi to impose maximum terrorist violence against

 Americans in Iraq while simultaneously maintaining “plausible deniability” by reducing the

 public-facing IRGC, including Qods Force, role inside Iraq. Rather than directly engage in

 armed conflict with the U.S. or other Coalition Forces, the Persian IRGC, including the Qods

 Force, usually attempted to present an Arab face in its efforts to undermine U.S. peacekeeping

 efforts by supporting terrorism and sectarian violence in Iraq.

          76.    Hezbollah, funded and logistically supported by the IRGC, including the Qods

 Force, trained Jaysh al-Mahdi, at sites in Iran, Lebanon, and Iraq, to create and use sophisticated

 IEDs, EFPs, rockets, and other advanced weaponry. While Jaysh al-Mahdi terrorists who had

 completed IRGC-funded, Hezbollah-provided training were sometimes referred to as “Jaysh al-

 Mahdi Special Groups” or “Special Groups,” Hezbollah also provided, and the IRGC (including

 the Qods Force) also funded, the same Hezbollah training regime for Jaysh al-Mahdi terrorists

 who were not in a Special Group.

          77.    Continuing the joint attack planning exemplified by Hezbollah’s provision of

 Qods Force-funded training to Jaysh al-Mahdi terrorists operating in Iraq, the IRGC (including

 the Qods Force), Lebanese Hezbollah, and Jaysh al-Mahdi (including Jaysh al-Mahdi Special

 Groups Asaib Ahl al-Haq and Kataib Hezbollah) formed and sustained the Joint Cells. They

 operated in key regions where Hezbollah emphasized bombing and rocket attacks against




 22
      See Endgame at 422.
                                                 24
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 Americans in Iraq including, but not limited to, Baghdad Province (Baghdad), Basra Province

 (Basra and Amarah), Diyala Province (Baqubah), and Babil Province (Hilla).

         78.    The Joint Cells had significant geographic reach and were not limited to

 committing attacks just in their own locales. For example, the Joint Cell operating in Babil

 Province (where Hilla is located) also committed attacks in nearby Qadisiyah Province (where

 Diwaniyah, about an hour away from Hilla via Route 8, is located), and the Joint Cell in Basra

 Province (where Basra and Amarah are located) committed terrorist attacks throughout southern

 Iraq.

         79.    Each attack that injured Plaintiffs was committed by a Joint Cell comprised of

 Hezbollah, Jaysh al-Mahdi, and IRGC, including Qods Force, operatives, and was planned and

 authorized by Hezbollah.

         80.    The IRGC’s, including the Qods Force’s, support for Hezbollah and Jaysh al-

 Mahdi – including the Jaysh al-Mahdi Special Groups Asaib Ahl al-Haq and Kataib Hezbollah –

 ensured that the terrorist campaign had maximum effect. Due to Hezbollah’s planning,

 authorization, and joint commission of the attacks in this case as supported by the local muscle

 of Jaysh al-Mahdi, Qods Force funds benefited Hezbollah and Jaysh al-Mahdi attacks, and Qods

 Force support for Hezbollah supported Jaysh al-Mahdi, and vice versa.

         81.    Hezbollah and the IRGC, including the Qods Force, recognized those

 interrelationships and so the IRGC, including the Qods Force, could comfortably ramp up the

 spending for Hezbollah’s campaign in Iraq knowing that the professional Hezbollah terrorists

 would retain command-and-control of the Joint Cells in Sadr City, Basra, and elsewhere. The

 IRGC, including the Qods Force, has used the same joint cell approach – combining Shiite




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 terrorists into a single unified command structure under Hezbollah’s leadership to support wide-

 ranging attacks – in other conflict zones bordering Iraq, most notably Syria.

        82.     Hezbollah’s support of terrorists in Iraq – made possible by IRGC, including

 Qods Force, funds, weapons, technologies, and logistical support – likely collectively accounted

 for more Americans killed or injured in terrorist violence after 9/11 than any other single terrorist

 campaign. As Karim Sadjadpour of the Carnegie Endowment explained in an interview, given

 the IRGC’s, including the Qods Force’s, support for anti-American terror under Soleimani,

        That’s why you have … one, if not two, generations of American military forces
        whom if you were to ask them, who is your worst adversary in the world, the
        person you see as the greatest threat to the United States? Even when Osama bin
        Laden was living and Baghdadi [the leader of ISIS] was living, they would have
        still said Qassem Soleimani.23

        83.     Plaintiffs identify below the principal terrorist groups that participated in the Joint

 Cells that committed, planned, and/or authorized the attacks that killed and injured them and

 their family members.

                1.       Hezbollah

        84.     Hezbollah, translated as “Party of God,” planned and authorized the terrorist

 campaign against Americans in Iraq, partnering with the IRGC, including the Qods Force, and

 Jaysh al-Mahdi, including Jaysh al-Mahdi Special Group Asaib Ahl al-Haq and Jaysh al-Mahdi

 Special Group Kataib Hezbollah, to commit attacks against Americans in Iraq.

        85.     On January 25, 1995, the United States designated Hezbollah as a Specially

 Designated Terrorist.




 23
  Karim Sadjadpour, quoted in National Public Radio, ‘Throughline’: The Origins Of Iran’s
 Gen. Qassem Soleimani (Jan. 30, 2020) (“NPR, Throughline”).
                                                  26
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           86.     On October 8, 1997, the United States designated Hezbollah as a Foreign

 Terrorist Organization, and it has retained that designation ever since.

           87.     Richard Armitage, the Deputy Secretary of State under President George W.

 Bush, has described Hezbollah as “the ‘A-Team of Terrorists,’ ”24 and former CIA director

 George Tenet has opined that Hezbollah “is [al-Qaeda’s] equal if not far more capable

 organization.”25 Hezbollah’s chief terrorist mastermind, Mugniyeh, helped Sadr found Jaysh al-

 Mahdi to inflict “mass casualties” on Americans in Iraq and recruited many of its first members;

 Hezbollah has since orchestrated Jaysh al-Mahdi’s campaign of terror against Americans in Iraq.

           88.     Hezbollah was and is the IRGC’s, including the Qods Force’s, lead terrorist proxy

 in Iraq and the broader Middle East, serving, in effect, as the IRGC’s external terrorist operations

 arm in conjunction with Hezbollah’s close ally and patron, the Qods Force. As the Honorable

 Randolph D. Moss found, “Hezbollah envisions itself as ‘the sharp end of the spear[,]’ going

 where Iran tells it to go in defense of…. Shia [Muslims] around the world.”26 Federal courts

 have repeatedly found that Hezbollah is an agent of the IRGC, including the Qods Force.27

           89.     Hezbollah’s activities have stretched far beyond Lebanon’s borders. Hezbollah’s

 primary stated goal is the destruction of the United States and Israel, which it calls the “Great




 24
      Ed Bradley, Hezbollah: “A-Team of Terrorists”, CBS News (Apr. 18, 2003).
 25
    Current and Future Worldwide Threats to the National Security of the United States: Hearing
 Before the S. Comm. on Armed Services, 108th Cong. 60 (Feb. 12, 2003) (testimony of George
 J. Tenet).
 26
      Fritz, 320 F. Supp. 3d at 60.
 27
    E.g., id. at 61 (“Consistent with numerous other decisions from this Court, the Court,
 accordingly, finds that Hezbollah is an Iranian proxy.”); see also Friends of Mayanot Inst., Inc.
 v. Islamic Republic of Iran, No. 16-1436, 313 F. Supp. 3d 50, 53–55, 2018 WL 2023498, at *2
 (D.D.C. May 1, 2018); Peterson v. Islamic Republic of Iran, 264 F. Supp. 2d 46, 53 (D.D.C.
 2003); Stern v. Islamic Republic of Iran, 271 F. Supp. 2d 286, 292 (D.D.C. 2003).
                                                   27
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 Satan” and the “Little Satan,” respectively.28 Hezbollah also frequently functions as a terrorist

 proxy for the IRGC, including the Qods Force, committing and orchestrating terrorist attacks

 abroad with the IRGC’s, including the Qods Force’s, support. Hezbollah’s 1985 manifesto

 proclaims that the “first root of vice is America” and explains that “Imam [Ruhollah] Khomeini,

 our leader, has repeatedly stressed that America is the cause of all our catastrophes and the

 source of all malice.”29 In 2003, Hezbollah Secretary-General Hassan Nasrallah proclaimed:

 “Let the entire world hear me. Our hostility to the Great Satan [America] is absolute . . . .

 Regardless of how the world has changed after 11 September, Death to America will remain our

 reverberating and powerful slogan: Death to America.”30

        90.     Hezbollah has coordinated terrorist attacks around the world primarily by acting

 through terrorist proxies. As Dr. Matthew Levitt has explained, “Hezbollah is extremely adept at

 recruiting members from local populations in areas where they have networks on the ground.”31

 Hezbollah has trained and equipped these local terrorist proxies to carry out terrorist attacks on

 Hezbollah’s behalf. Hezbollah has successfully employed this strategy to facilitate attacks by its

 proxies in (among other places) Paris, France (1985-86); Buenos Aires, Argentina (1992); and

 Khobar, Saudi Arabia (1996).




 28
   See Times of Israel, Nasrallah Proud that PM, Obama Discussed Hezbollah (Nov. 11, 2015);
 Ariel Ben Solomon, Nasrallah ‘Proud’ that Netanyahu and Obama Discussed Hezbollah in
 White House Meeting, Jerusalem Post (Nov. 11, 2015).
 29
  Hezbollah Manifesto, reprinted in Anti-American Terrorism and the Middle East: A
 Documentary Reader 50 (Barry Rubin & Judith Colp Rubin eds., Oxford Univ. Press 2002).
 30
   Sept. 27, 2002 Al-Manar broadcast, quoted in “Hassan Nasrallah: In His Own Words,”
 Committee for Accuracy in Middle East Reporting in America (July 26, 2006).
 31
   Matthew Levitt, Hezbollah: A Case Study of Global Reach, Remarks to a Conference on
 “Post-Modern Terrorism: Trends, Scenarios, and Future Threats” at 4 (Sept. 8, 2003).
                                                  28
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           91.     In Fritz, the Court found that “Hezbollah’s development into an Iranian proxy in

 Lebanon [was] relevant” in at least “two respects”:

           First, it serve[d] as an example of how Iran cultivate[d] militant organizations in
           other countries and employ[ed] them as surrogates—a model that Iran then
           applied to [Jaysh al-Mahdi]. Second, Hezbollah served as a liaison between Iran
           and [Jaysh al-Mahdi] and helped Iran establish a proxy relationship [with Jaysh
           al-Mahdi]. … Iran’s relationship with Hezbollah, accordingly, is part of the story
           of [how Jaysh al-Mahdi] emerge[ed] as an Iranian proxy.32

           92.     Hezbollah could not have committed, planned, and authorized each of the terrorist

 attacks in this case without the IRGC’s, including the Qods Force’s, funds and logistical support.

 For example, as celebrated journalist Michael R. Gordon reported in 2007:

           U.S. intelligence experts believe that Hezbollah has provided some of the
           logistical support and training to Shiite militias in Iraq [in EFP attacks against
           Americans there] but they assert that such steps would not be taken without Iran’s
           blessing. “All source reporting since 2004 indicates that Iran’s Islamic
           Revolutionary Corps-Quds Force is providing professionally-built EFPs and
           components to Iraqi Shia militants,” notes a still classified U.S. intelligence report
           that was prepared in 2006. “Based on forensic analysis of materials recovered in
           Iraq,” the report continues, “Iran is assessed as the producer of these items.”33

           93.     Iran considers Hezbollah as part of the IRGC, including the Qods Force,

 specifically serving as the “Hezbollah Division” of the IRGC, including the Qods Force.34

           94.     Hezbollah operatives swear a personal oath of loyalty to Iran’s Supreme Leader,

 Ayatollah Khamenei, and personally pledge to carry out their terrorist missions in his name.




 32
      Fritz, 320 F. Supp. 3d at 60.
 33
   Michael R. Gordon, Iran Supplies Shiite Arms, U.S. Asserts Iraqi Militias Deploy Roadside
 Explosive, International Herald Tribune (Feb. 12, 2007), 2007 WLNR 2751110.
 34
   Michael Knights, The Evolution of Iran’s Special Groups in Iraq, Combating Terrorism
 Center at West Point, CTC Sentinel, Vol. 3, No. 11 (Nov. 2010) (“Knights, The Evolution of
 Iran’s Special Groups in Iraq”).
                                                    29
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                  2.      Jaysh al-Mahdi

           95.    Jaysh al-Mahdi, translated as “the Mahdi Army,” including the notorious Jaysh al-

 Mahdi “Special Group” cells Asaib Ahl al-Haq and Kataib Hezbollah, was Hezbollah’s most

 dangerous terrorist proxy group in Iraq. In this Complaint, Plaintiffs refer to Jaysh al-Mahdi,

 Jaysh al-Mahdi Special Group Asaib Ahl al-Haq, and Jaysh al-Mahdi Special Group Kataib

 Hezbollah collectively as “Jaysh al-Mahdi.”35

           96.    Jaysh al-Mahdi was at all relevant times led by the notorious radical anti-

 American terrorist, Muqtada al-Sadr.

           97.    Sadr founded Jaysh al-Mahdi in April 2003 with the assistance of Imad

 Mugniyeh, the chief terrorist mind of Hezbollah. From the beginning, Jaysh al-Mahdi’s publicly

 stated, primary goal was the expulsion of Americans from Iraq. In July 2003, Sadr publicly

 announced the founding of Jaysh al-Mahdi by calling for a “general mobilization to fight” the so-

 called “American and British occupiers.”36 During Sadr’s Friday sermons on March 26, 2004,

 among other things, Sadr:

          exalted in “[t]he date of September 11th,” which he explained “is the date of the collapse
           of the Two Towers, and therefore is a miracle from God, who never disappoints his
           servants but allows infidels time before striking them;”




 35
   All references to Jaysh al-Mahdi in this Complaint are inclusive of Asaib Ahl al-Haq and
 Kataib Hezbollah, both of which were “Special Groups” of Jaysh al-Mahdi that were created by
 Hezbollah using funds, arms, and logistical support provided by the IRGC, including the Qods
 Force, and the Special Groups were led by senior Jaysh al-Mahdi commanders (Qais and Laith
 Khazali in the case of Asaib Ahl al-Haq and Abu Mahdi al-Muhandis in the case of Kataib
 Hezbollah), and supportive of Hezbollah’s overall terrorist agenda for its terrorist proxies in Iraq.
 Often, the same terrorist operatives worked for multiple Jaysh al-Mahdi cells, such as a terrorist
 who commands a Jaysh al-Mahdi battalion, while also leading a Jaysh al-Mahdi Special Group
 Asaib Ahl al-Haq cell, acting under the direction of Hezbollah as supported by the IRGC,
 including the Qods Force.
 36
      Mahan Abedin, Dossier: The Sadrist Movement, Middle East Intell. Bull. (July 2003).
                                                   30
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         pledged his fealty to Hezbollah, which he couched in Shi’a Islamist terms such that he
          was communicating to his followers that support for Hezbollah is a religious duty, stating
          at one point, “our victorious party, Hezbollah;” and
         called for violent resistance to, and “jihad” against, the American “occupiers” and
          “invaders” of Iraq, invoking multiple passages from the Koran to provide a purported
          religious justification for attacking Americans in Iraq.

 In a later sermon delivered by an aide on August 6, 2004, Sadr amplified Hezbollah’s “Great

 Satan” narrative in Iraq by calling America “the greatest of Satans” and proclaimed: “America is

 our enemy and the enemy of the people, and we will not accept its partnership.”37

          98.    Like many terrorist organizations, Jaysh al-Mahdi was structured as an integrated

 network of cells, militias, and “Special Groups,” each of which served the mission of the broader

 organization. As Dr. David E. Johnson, a former Army Colonel who has studied Jaysh al-

 Mahdi’s tactics, explained, “[Jaysh al-Mahdi] was mostly a franchise operation, nationally

 integrated in support of al-Sadr’s political program, but locally owned and operated.”38 The

 most prominent Jaysh al-Mahdi “Special Groups” were Asaib Ahl al-Haq and Kataib Hezbollah.

          99.    Despite its cellular structure, Jaysh al-Mahdi maintained a basic hierarchical

 command structure. As two counterterrorism scholars explained in June 2008, “although Sadr

 frequently gives [Jaysh al-Mahdi cells] autonomy over their local actions, he maintains the

 ability to control them when he chooses.”39 Formally separate Jaysh al-Mahdi cells also shared




 37
   Abdul Hussein al-Obeidi, Rebel Shiite Cleric Blames ‘Occupier’ for Church Attacks,
 Kidnappings in Iraq, Assoc. Press (Aug. 6, 2004).
 38
   David E. Johnson et al., The 2008 Battle of Sadr City: Reimagining Urban Combat 23 (RAND
 Corp. 2013) (“2008 Battle of Sadr City”).
 39
   Daveed Gartenstein-Ross & Bill Roggio, Sadr’s Special Groups, Weekly Standard (June 9,
 2008).
                                                  31
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 membership and leadership, relied on common sources of financing and institutional support

 from the broader Sadrist organization, and frequently operated together in coordinated attacks.40

           100.    Jaysh al-Mahdi cells were also unified ideologically by radical Shiite ideology,

 devotion to Sadr, and violent opposition to American presence in Iraq. According to an

 unclassified (as redacted) summary of an interview with a detained Jaysh al-Mahdi operative

 from 2008, the operative “look[ed] to Muqtada al-Sadr (MAS) for guidance . . . [and] ha[d] no

 knowledge of who would replace MAS as the leader of [Jaysh al-Mahdi] should anything happen

 to MAS,” because “[t]here is no one who can replace MAS.”41 A March 2008 U.S. State

 Department cable (as published online) similarly reported that Jaysh al-Mahdi’s various elements

 “are different faces of the same group controlled by a single hand, who assigns each a role.”42

 And a U.S. military-intelligence officer told the Washington Post in May 2008 that Jaysh al-

 Mahdi’s various cells “all have direct communication with [Sadr].”43

           101.    Jaysh al-Mahdi’s cellular structure prevented Coalition forces from engaging

 Jaysh al-Mahdi in a conventional military manner, especially in urban settings. For example,

 when Coalition forces took control of Sadr City in 2008, Jaysh al-Mahdi cells disappeared

 underground and hid among civilians while continuing to attack American forces.

           102.    Jaysh al-Mahdi operatives acting in the Joint Cells used a variety of tactics and

 weaponry against Americans in Iraq, including IEDs, EFPs, rockets, mortars, complex attacks,

 sniper attacks, and kidnapping operations.


 40
      See, e.g., 2008 Battle of Sadr City at 25-26.
 41
    Combating Terrorism Ctr. at West Point Harmony Program, Redacted Intelligence Report 010,
 at 1 (Spring 2007-Early 2008).
 42
   U.S. State Dep’t Cable, PM Chief Of Staff Abdallah Tells Ambassador GOI Will Continue
 Basra Military Operations (Mar. 31, 2008).
 43
      Amit R. Paley, U.S. Deploys a Purpose-Driven Distinction, Wash. Post (May 21, 2008).
                                                      32
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        103.    In 2008, Sadr rebranded Jaysh al-Mahdi as the “Promised Day Brigades,” which

 operated as a Special Group of his own whose purpose was to carry out attacks against

 Americans in Iraq. The Promised Day Brigades also received funding, training, and weapons

 from Hezbollah, which was paid for and provided to Hezbollah by the IRGC, including the Qods

 Force. The Promised Day Brigades actively targeted U.S. forces to disrupt security operations

 and further destabilize Iraq, and actively participated in the Joint Cells.44

        104.    Jaysh al-Mahdi has received significant funding, training, arms, and

 communications technology from Hezbollah, which was made possible by Hezbollah’s receipt of

 such money and goods from the IRGC, including the Qods Force, including the terrorist fronts

 that engaged in transactions with MTN and ZTE.

                3.      Asaib Ahl al-Haq, a Jaysh al-Mahdi Special Group

        105.    Jaysh al-Mahdi Special Group Asaib Ahl al-Haq (also called “Asaib Ahl al-Haq”

 or “AAH”), translated as “the League of the Righteous,” was a Jaysh al-Mahdi Special Group

 supported by the IRGC, including the Qods Force, through Hezbollah, that conducted terrorist

 attacks against Americans. As such, the allegations concerning Jaysh al-Mahdi apply with equal

 force to Jaysh al-Mahdi Special Group Asaib Ahl al-Haq.

        106.    Jaysh al-Mahdi Special Group Asaib Ahl al-Haq has targeted U.S. personnel at

 the direction of Hezbollah, acting as their proxy in Iraq. As a Jaysh al-Mahdi Special Group,

 Asaib Ahl al-Haq operatives in the Joint Cells deployed the same attack types used by Jaysh al-

 Mahdi, including IEDs, EFPs, rockets, and hostage-taking, attacking Americans through the

 Joint Cells in attacks that were planned and authorized by Hezbollah.




 44
   Because the Promised Day Brigades name change was about branding rather than substance,
 Plaintiffs refer to the Promised Day Brigades as “Jaysh al-Mahdi.”
                                                   33
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          107.   The 2007 arrest of Jaysh al-Mahdi Special Group operatives, and AAH leaders,

 Qais and Laith Khazali, alongside their handler, senior Hezbollah operative Ali Musa Daqduq,

 demonstrated the Joint Cells in action: Jaysh al-Mahdi terrorists and their direct Hezbollah

 sponsor were detained in Iraq because they had been working together to attack Americans.

          108.   On January 10, 2020, the U.S. government designated Jaysh al-Mahdi Special

 Group Asaib Ahl al-Haq as a Foreign Terrorist Organization. 85 Fed. Reg. 1,369, 1,369 (Jan. 10,

 2020).

          109.   Jaysh al-Mahdi Special Group Asaib Ahl al-Haq has received significant funding,

 training, arms, and communications technology from Hezbollah, which was made possible by

 Hezbollah’s receipt of such money and goods from the IRGC, including the Qods Force,

 including the terrorist fronts that engaged in transactions with MTN and ZTE.

                 4.     Kataib Hezbollah, a Jaysh al-Mahdi Special Group

          110.   Jaysh al-Mahdi Special Group Kataib Hezbollah (also called “Kataib Hezbollah”

 or “KH”), translated as “the Hezbollah Brigades,” was a Jaysh al-Mahdi Special Group that was

 stood up by Hezbollah, with funding and arms from the IRGC, including the Qods Force, to help

 commit terrorist attacks against Americans in Iraq. Jamal al-Ibrahimi, more commonly known

 by his nom de guerre, Abu Mahdi al-Muhandis (“Muhandis”), was an Iraqi Shiite who lived in

 Iran after he was involved in a plot bomb a U.S. embassy in the 1980s, and later led his own

 Jaysh al-Mahdi Special Group.

          111.   Muhandis was an Iran-backed Shiite terrorist in Iraq who was an agent of multiple

 allied Shiite terrorist organizations. As of 2011, when all but one of the attacks in this case

 occurred, Muhandis was an operative and/or agent of: (1) Jaysh al-Mahdi, for which he led

 numerous Special Groups; (2) Jaysh al-Mahdi Special Group Kataib Hezbollah, which he led

 before and after its FTO designation in 2009; and (3) Hezbollah and the IRGC, including the
                                                  34
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 Qods Force, for which he was an operative. Muhandis served all roles simultaneously, and there

 was no firewall between his activities relating to these terrorist groups.

        112.      Supported by Hezbollah, Jaysh al-Mahdi, and the IRGC, including the Qods

 Force, Muhandis established Kataib Hezbollah to be a Jaysh al-Mahdi Special Group, supported

 by Hezbollah training, planning, and direction, and IRGC, including Qods Force, funds and

 logistics (which the IRGC, including the Qods Force, provided through its network of forward

 deployed operatives inside Iraq) to carry out attacks against Americans in Iraq. As such, the

 allegations concerning Jaysh al-Mahdi apply with equal force to Kataib Hezbollah.

        113.      Jaysh al-Mahdi Special Group Kataib Hezbollah was led by Jaysh al-Mahdi

 commanders who received specialized training from Hezbollah cells in Iran and Lebanon and

 was part of Jaysh al-Mahdi in its capacity as a Jaysh al-Mahdi Special Group. Jaysh al-Mahdi

 Special Group Kataib Hezbollah regularly relied upon Jaysh al-Mahdi resources and personnel to

 commit terrorist attacks, and often used operatives who were members of multiple terrorist

 groups, including Hezbollah, who were all operating in support of the Joint Cells.

        114.      Jaysh al-Mahdi Special Group Kataib Hezbollah received significant funding,

 training, arms, and communications technology from Hezbollah, which help from Hezbollah was

 funded and sourced by the IRGC, including the Qods Force, including by IRGC, including Qods

 Force, fronts that transacted business with MTN and ZTE.

        115.      On July 2, 2009, the U.S. government designated Jaysh al-Mahdi Special Group

 Kataib Hezbollah as a Foreign Terrorist Organization and a Specially Designated Global

 Terrorist, also designating Muhandis individually as an SDGT. 74 Fed. Reg. 31,788, 31,788

 (July 2, 2009) (FTO designation); 74 Fed. Reg. 34,639, 34,639 (July 16, 2009) (SDGT

 Designations).



                                                  35
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        116.    On January 2, 2020, Muhandis was killed by a U.S. drone strike that targeted a

 terrorist convoy in which he was riding, along with Qassem Soleimani, outside of Baghdad

 International Airport. The U.S. government conducted the drone strike because, among other

 reasons, Soleimani and Muhandis had worked closely with Hezbollah to orchestrate a campaign

 of terror against Americans in Iraq, and the terrorists were working together to plan more attacks

 against Americans in Iraq at the time. Indeed, just days prior to the U.S. drone strike that killed

 Soleimani and Muhandis, a Joint Cell fired a rocket attack against an American target in the

 northern Iraqi city of Kirkuk, killing an American contractor.

        B.      The Islamic Revolutionary Guard Corps’s, including the Qods Force’s,
                control of Iran’s telecom, information technology, and communications
                sectors

        117.    The IRGC, including the Qods Force, controlled the entire Iranian telecom sector

 from top to bottom. The following Iranian fronts, operatives, and agents played especially

 prominent roles in ensuring that any telecom transactions in Iran benefited the IRGC’s, including

 the Qods Force’s, global terrorist agenda.

                1.      The Bonyad Mostazafan

        118.    The Bonyad Mostazafan, also known as the Bonyad Mostazafan va Janbazan,

 Mostazafan Foundation, and Alavi Foundation (herein, the “Bonyad Mostazafan”), was

 established after the Islamic Revolution to steal and manage property, including that originally

 belonging to religious minorities in Iran such as Baha’is and Jews, to fund the export of the

 Iran’s Islamist Revolution around the world.

        119.    The Bonyad Mostazafan was and is an IRGC, including Qods Force, front. The

 Bonyad Mostazafan’s purpose was and is to raise funds and obtain weapons (including weapons

 components) for the IRGC’s, including the Qods Force’s, terrorist operatives and proxies,

 including Hezbollah. As a front for the IRGC, including the Qods Force, funds and weapons

                                                  36
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 (including weapons components) provided to the Bonyad Mostazafan through its commercial

 transactions inevitably flowed through the Bonyad Mostazafan to Hezbollah (through the IRGC,

 including the Qods Force) and Jaysh al-Mahdi (through Hezbollah) to fund and arm the Joint

 Cell terrorist attacks against Americans in Iraq from 2011 through 2016.

        120.     At all times, the Bonyad Mostazafan has been led by an agent or cut-out for the

 IRGC, including the Qods Force, and has served as a central hub of IRGC, including Qods

 Force, fund raising, weapons development and acquisition, computing, and communications

 infrastructure for Iran’s terrorist enterprise, which value has flowed through to Hezbollah and,

 through Hezbollah, to Jaysh al-Mahdi.

        121.     The Bonyad Mostazafan is currently led by IRGC Brigadier General Parviz

 Fattah, who is also, on information and belief, a Qods Force operative.

        122.     The Bonyad Mostazafan has been widely understood in business, diplomatic,

 military, and media circles to be a front for Iranian terrorism through the IRGC, including the

 Qods Force, since the 1990s. On May 28, 1995, the Bonyad Mostazafan’s status as an Iranian

 terrorist front made international news when Newsday – which was republished around the world

 through various affiliate relationships – reported that the Bonyad Mostazafan served as a front

 for raising money and sourcing weapons for Iran’s terrorist proxies, including Hezbollah:

        [I]n a four-month investigation based on dozens of interviews with law-
        enforcement officials and U.S. government specialists, knowledgeable Iranians
        who support the regime as well as dissidents, and public and private documents,
        Newsday has found that:

                [The Bonyad Mostazafan] … is controlled by Iran’s clerical leadership,
                 federal officials say.

                Several of [the Bonyad Mostazafan’s] current and former officers and
                 directors have been implicated in arms and technology shipments to
                 Iran, and a former president of the foundation allegedly tried to ship
                 germ-warfare agents to Tehran, according to these officials.

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               [The Bonyad Mostazafan] served as a front … for the placement of agents
                from the [IRGC, including Qods Force], dedicated zealots who … spy and
                obtain military technology from the United States and abroad.

               [The Bonyad Mostazafan] finances [entities] in the United States that
                support Iran’s militant version of Islam and provides safe haven for groups
                and individuals supporting the Islamic terrorist group[] … Hezbollah. …

        In a classified report … the FBI asserted that [the Bonyad Mostazafan] was
        “entirely controlled by the government of Iran,” which used [the Bonyad
        Mostazafan] to set up “covert subbranches disguised as educational centers,
        mosques and other centers.” … The FBI report, according to a U.S. official,
        claims that [the Bonyad Mostazafan] funds “fundamentalist extremist groups”
        and that Iranian students who received scholarships from [the Bonyad
        Mostazafan] to study in the United States “gather[ed] intelligence” … and
        collected “technical and scientific information” for the Iranian regime.

        In 1989, Oliver Revell, then the No. 2 official at the FBI, told the Senate terrorism
        subcommittee that some of the “students” receiving [the Bonyad Mostazafan]
        grants were in fact [IRGC, including Qods Force] agents. … Revell … said much
        of [the Bonyad Mostazafan]’s funds go to “a great number of mosques (in the
        United States) . . . where there are organizations which directly support
        Hezbollah…[,]” an Iranian-supported militant group … that has launched terrorist
        attacks under the tutelage of the Revolutionary Guards. … The [Bonyad
        Mostazafan] is administered by Mohsen Rafiqdoost, founder of the
        Revolutionary Guards. Rafiqdoost reports only to the Ayatollah Ali Khamenei,
        Iran’s spiritual leader.45




 45
   Knut Royce and Kevin McCoy, Militants Build On Iranian Foundation, Newsday, republished
 by Pittsburgh Post-Gazette (May 28, 1995), 1995 WLNR 2452536. After the Islamic
 Revolution, the Ayatollah seized what had previously been the Alavi Foundation and merged it
 with the Bonyad Mostazafan. Thereafter, they were one and the same and always were
 indistinguishable and different names for the same Iranian terrorist front. See, e.g., id. (“Vincent
 Cannistraro, who left the CIA in 1990 as a top official of its counterterrorism center, said in a
 recent interview, ‘The [Bonyad Mostazafan] and the Alavi Foundation are the same, under
 different names.’ Other U.S. officials agreed.”).
                                                 38
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            123.   In the same investigative report, Newsday also disclosed that “U.S. and European

 officials say that [the Bonyad Mostazafan] has long been a front for the procurement of military

 goods and prohibited technology for Iran, particularly for the Revolutionary Guards.”46

            124.   The same Newsday report also disclosed that “[the Bonyad Mostazafan]’s

 secretary until 1992, Mojtaba Hesami-Kiche, was at the same time the executive secretary of

 Vena Industries, a German company wholly owned by [the Bonyad Mostazafan], according to

 public records filed in Germany. U.S. sources said that Vena has been active in “military

 procurement” for the Tehran regime.”47

            125.   Prior to publishing its international media blockbuster report on Bonyad

 Mostazafan, Newsday questioned the Bonyad Mostazafan about its connections to terrorism and

 allegations that it was used as a front to raise money and source weapons for Iranian terrorist

 proxies like Hezbollah. The Bonyad Mostazafan replied, through counsel, that it “ha[d] no

 interest in responding” to such because of their “provocative tone.”48

            126.   When Newsday published its blockbuster investigation revealing that the Bonyad

 Mostazafan served as a front for providing money, weapons, and logistical support to Hezbollah,

 the latter was already a U.S.-government designated terrorist group, having been designated by

 the United States as a Specially Designated Terrorist several months prior. As a result, from

 1995 onwards, the Bonyad Mostazafan’s status as a front for Iranian terrorist operations,




 46
   Knut Royce and Kevin McCoy, N.Y. Foundation Linked To Iran’s Islamic Militants, Newsday,
 republished by Seattle Times (May 26, 1995), 1995 WLNR 1308563 (“Royce and McCoy, N.Y.
 Foundation Linked”).
 47
      Id.
 48
      Id.
                                                   39
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 including the IRGC’s, including the Qods Force’s, support for, Hezbollah was widely known in

 the international business community and known to Defendants.

        127.    In 1998, Newsday again reported on the western intelligence services’ consensus

 that the Bonyad Mostazafan was a front for funneling funds and weapons to Iranian proxies:

        [T]he quasi-official Mostazafan Foundation [] controls billions of dollars of
        investments in Iran and around the world. The foundation … has been accused by
        western intelligence services of espionage, supporting terrorism and smuggling
        arms. … Newsday disclosed in 1995 that several officers and directors … had
        been implicated in arms and technology shipments to Iran, that it was controlled
        by Iran’s clerical leadership and that the FBI believed it had served as a front for
        placement in the United States of Revolutionary Guards [Qods Force], Iranian
        zealots who conducted espionage and stole military technology.49

        128.    After these two Newsday reports in the 1990s, the media regularly published

 similar reports thereafter, which routinely described the Bonyad Mostazafan as a front or funding

 source for Iranian-backed terrorists operating in the Middle East, including Hezbollah.

        129.    On December 17, 2008, the U.S. government reinforced its messaging that the

 Bonyad Mostazafan was a terrorist front that served to raise money and source weapons for the

 IRGC, including the Qods Force. On that date, the U.S. Departments of Justice, Treasury, and

 State all announced enforcement actions and sanctions against the Bonyad Mostazafan, and the

 U.S. Department of State’s Counterterrorism Office issued a press release calling attention to

 U.S. sanctions against entities affiliated with Bonyad Mostazafan.

        130.    The heightened U.S. crackdown on the Bonyad Mostazafan caused a new round

 of media coverage drawing attention to the Bonyad Mostazafan’s status as a front for Iranian

 terror. For example, the Washington Post reported that:



 49
   Knut Royce, No Legal Recourse In Iranian’s Case / Supreme Court Won’t Reopen Suit,
 Newsday (Dec. 8, 1998), 1998 WLNR 604387 (emphasis added). Since the IRGC personnel
 placed in the United States through the Mostazafan Foundation were operating overseas, they
 were Qods Force.
                                                40
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        A Fifth Avenue building … is secretly co-owned by an Iranian bank that helped
        finance that country’s nuclear program, the Justice Department alleged []. Justice
        is seeking to seize the share of the property …, charging that 40 percent of [the
        building] was actually co-owned by Iran’s Bank Melli …[,] [which] was
        previously designated by the Treasury Department as a key financier of … the
        [IRGC] and the Quds Force, which has been linked to terrorist groups. …
        “This scheme to use a front company … to funnel money from the United States
        to Iran is yet another example of Iran's duplicity,” said Stuart Levey, the
        Treasury Department's undersecretary for terrorism and financial intelligence.50

        131.    The Bonyad Mostazafan’s notorious reputation for directly funding Iranian

 terrorist proxies in the Middle East continued at all relevant times. For example, in 2014,

 Jonathan Schanzer, the Vice President of Research at the Foundation for Defense of

 Democracies, testified that “[t]he Bonyad-e Mostazafan” was “a splinter of Iran’s IRGC” and

 had “reportedly opened its coffers to Hamas, providing critical financial support.”51

        132.    On November 18, 2020, the U.S. Treasury Department designated the Bonyad

 Mostazafan, observed that it served as a “bridge to the IRGC,” and announced as follows:

        The U.S. Department of the Treasury’s Office of Foreign Assets Control (OFAC)
        took action today against a key patronage network for the Supreme Leader of
        Iran, the Islamic Revolution Mostazafan Foundation (Bonyad Mostazafan, or the
        Foundation) … While Bonyad Mostazafan is ostensibly a charitable organization
        charged …, its holdings are expropriated from the Iranian people and are used by
        [Ayatollah] Khamenei to … enrich his office, reward his political allies, and
        persecute the regime’s enemies. … “Iran’s Supreme Leader uses Bonyad
        Mostazafan to reward his allies under the pretense of charity,” said Secretary
        Steven T. Mnuchin. …

        PARVIZ FATTAH, BONYAD MOSTAZAFAN’S BRIDGE TO THE IRGC
        Bonyad Mostazafan maintains close ties to the IRGC, personified by current
        Foundation president and former IRGC officer Parviz Fattah. Appointed to the
        presidency of the Foundation by the Supreme Leader in July 2019, Fattah
        previously . . . . served as head of the Imam Khomeini Relief Committee, whose

 50
   Glenn Kessler, U.S. Links Iranian Bank To Fifth Avenue Building, Washington Post (Dec. 18,
 2008) (emphases added), 2008 WLNR 28032529.
 51
   Statement of Jonathan Schanzer, Vice President of Research at the Foundation for Defense of
 Democracies, Committee on House Foreign Affairs Subcommittee on Terrorism,
 Nonproliferation, and Trade. Subcommittee on the Middle East and North Africa, Hamas and
 Terrorism, Congressional Testimony via FDCH (Sept. 9, 2014), 2014 WLNR 24926764.
                                                 41
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          Lebanon branch was designated pursuant to counterterrorism authorities in 2010
          for being owned or controlled by, and for providing financial and material
          support to, Hizballah. Known for his loyalty to the Supreme Leader, Fattah has
          also forged ties to senior IRGC-Qods Force (IRGC-QF) officials. According to
          Fattah, former IRGC-QF commander Qassem Soleimani sought Fattah’s
          assistance to finance the Fatemiyoun Brigade, an IRGC-QF-led militia composed
          of Afghan migrants and refugees in Iran coerced to fight in Syria under threat of
          arrest or deportation. . . . The Fatemiyoun Brigade, like the IRGC-QF itself, is
          designated pursuant to [] counterterrorism … authorities. …

          SANCTIONS IMPLICATIONS
          As a result of today’s action, … OFAC’s regulations generally prohibit all
          dealings by U.S. persons or within (or transiting) the United States that involve
          any property or interests in property of blocked or designated persons. In
          addition, persons that engage in certain transactions with the individuals or
          entities designated today may themselves be exposed to sanctions. …52

          133.    The Bonyad Mostazafan primarily serves as a front for terror and performs little

 legitimate charitable work. As the Treasury Department found when it imposed sanctions,

 “[w]hile the Supreme Leader enriches himself and his allies, the Foundation’s primary mission to

 care for the poor has become a secondary objective. According to the Foundation’s previous

 president, in past years as little as seven percent of the Foundation’s profit has been spent on

 projects aimed at reducing poverty.”53

          134.    The Bonyad Mostazafan directly funds Iranian terrorist proxy military activities

 outside of Iran. Fattah, who currently runs the Bonyad Mostazafan, has publicly admitted it.

          135.    Fattah was separately designated for his terrorism-related connections in 2010.54




 52
  U.S. Treasury Dep’t, Treasury Targets Vast Supreme Leader Patronage Network and Iran’s
 Minister of Intelligence (Nov. 18, 2020) (emphases added).
 53
      Id. (emphases added).
 54
   U.S. Treasury Dep’t, Fact Sheet: Treasury Designates Iranian Entities Tied to the IRGC and
 IRISL (Dec. 21, 2010) (“Parviz Fattah, the Executive Director of Bonyad Taavon Sepah was
 designated today for acting on behalf of, and providing services to, Bonyad Taavon Sepah.”).
                                                  42
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        136.     The Bonyad Mostazafan’s participation in Irancell played a role in persuading the

 State Department to conclude (as published online) that Irancell was “fully owned by the

 IRGC.”55

                 2.     Iran Electronics Industries

        137.     Iran Electronics Industries, also known as IEI, Sanaye Electronic Iran, Sasad Iran

 Electronics Industries, or Sherkat Sanayeh Electronics Iran (“IEI”), was and is a front for the

 IRGC, including the Qods Force.

        138.     IEI’s express purpose was and is to raise funds and obtain weapons (including

 weapons components) for the benefit of the IRGC’s, including the Qods Force’s, terrorist

 operatives and proxies, including Hezbollah. Funds and weapons (including weapons

 components) obtained by IEI through its commercial transactions inevitably flowed through IEI

 to Hezbollah (through the IRGC, including the Qods Force) and Jaysh al-Mahdi (through

 Hezbollah) to fund and arm the Joint Cell terrorist attacks against Americans in Iraq from 2011

 through 2016.

        139.     Since the 1990s, IEI has been widely understood in business, diplomatic, military,

 and media circles to be a front for Iranian terrorism through the IRGC, including the Qods Force.

        140.     On or about 2006, a Treasury official, Stuart Levin, told representatives of MTN’s

 competitor, Turkcell, that IEI was “fully owned” by the IRGC, including the Qods Force.

        141.     On information and belief, Undersecretary Levin communicated to MTN Group

 that IEI was “fully owned” by the IRGC, including the Qods Force, and that economic

 interactions with IEI foreseeably aided Iranian proxy terrorist attacks against Americans.




 55
   U.S. State Dep’t Cable, U/S Levey Seeks Turkish Cooperation Against Iranian Terrorism
 Finance & Nuclear Proliferation (Dec. 18, 2006).
                                                 43
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           142.   On September 17, 2008, the U.S. Treasury Department designated IEI and

 explained that it builds weapons intended for use against the U.S. military.56

           143.   IEI’s participation in Irancell played a role in persuading the State Department to

 conclude (as published online) that Irancell was “fully owned by the IRGC.”57

                  3.     MTN Irancell

           144.   MTN Irancell is a joint venture between two IRGC, including Qods Force, fronts,

 the Bonyad Mostazafan and IEI, which collectively own 51% of MTN Irancell, and MTN Group

 Ltd., which owns 49% of MTN Irancell (“MTN Irancell”).

           145.   MTN Irancell was and is a front for the IRGC, including the Qods Force.

           146.   MTN Irancell’s express purpose was and is to raise funds and obtain weapons

 (including weapons components) for the benefit of the IRGC’s, including the Qods Force’s,

 terrorist operatives and proxies, including Hezbollah. Funds and weapons (including weapons

 components) obtained by MTN Irancell through its commercial transactions inevitably flowed

 through MTN Irancell to Hezbollah (through the IRGC, including the Qods Force) and Jaysh al-

 Mahdi (through Hezbollah) to fund and arm the Joint Cell terrorist attacks against Americans in

 Iraq from 2011 through 2016.

           147.   The U.S. State Department purportedly referred to Irancell (as published online)

 as being “fully owned by the IRGC.”

           148.   Irancell’s recognized status as being “fully owned by the IRGC” was also widely

 reported in the media, beginning in 2010 with the initial WikiLeaks reporting, and continuing

 thereafter. For example, in 2012, the news commentator Greta Van Susteren noted on her


 56
      U.S. Treasury Dep’t, Treasury Designates Iranian Military Firms (Sept. 17, 2008).
 57
   U.S. State Dep’t Cable, U/S Levey Seeks Turkish Cooperation Against Iranian Terrorism
 Finance & Nuclear Proliferation (Dec. 18, 2006).
                                                   44
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 widely-watched Fox News show: “we’re talking about Iran, which is trying to wipe … Israel off

 the map, … and this joint venture with [MTN Irancell], it was not a mystery. In fact, the

 [U]ndersecretary of [the Treasury, Stuart Levin in] 2006 according to [] WikiLeaks … said that

 the Iran Cell was [] fully owned by the Iranian Revolutionary Guard [Corps].”58

          149.   IRGC specialists agree. For example, in 2015, Dr. Emanuele Ottolenghi, of the

 Foundation for Defense of Democracies, identified “telecommunications” as a “sector where the

 IRGC [was] bound to reap economic benefits” because “all three mobile operators in Iran” –

 including MTN Irancell – “are directly or indirectly partners with IRGC-affiliated companies.”59

                 4.     Telecommunications Company of Iran

          150.   The Telecommunications Company of Iran (or “TCI”) was and is a front for the

 IRGC, including the Qods Force.

          151.   TCI’s express purpose was and is to raise funds and obtain weapons (including

 weapons components) for the benefit of Iran’s terrorist operatives and proxies, including

 Hezbollah. Funds and weapons (including weapons components) obtained by TCI through its

 commercial transactions inevitably flowed through TCI to Hezbollah (through the IRGC,

 including the Qods Force) and Jaysh al-Mahdi (through Hezbollah) to fund and arm the Joint

 Cell terrorist attacks against Americans in Iraq from 2011 through 2016.

          152.   TCI is known to be an IRGC, including Qods Force, front. The Economist’s due

 diligence unit, the Economist Intelligence Unit, reported in 2009 that “[t]he question of possible

 IRGC involvement in the TCI acquisition was raised in subsequent discussion in the Iranian


 58
      FOX: On the Record, Interview with Byron York (August 7, 2012), 2012 WLNR 16563491.
 59
   Statement of Dr. Emanuele Ottolenghi Senior Fellow Foundation for Defense of Democracies,
 Committee on House Foreign Affairs Subcommittee on Middle East and North Africa, Iran
 Nuclear Deal, Congressional Testimony via FDCH (Sept. 17, 2015), 2015 WLNR 27612447
 (“Dr. Ottolenghi Sept. 17, 2015 Testimony”).
                                                 45
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 majlis (parliament),” where “[t]he speaker, Ali Larijani, [was] quoted by Aftab-e Yazd, an

 Iranian newspaper, as saying that the IRGC was a direct party to the deal.”60 The same report

 also noted the “[b]lurred distinctions” between the IRGC and Iranian telecom companies:

            [In 2006,] the Supreme Leader, Ayatollah Ali Khamenei, lent his personal support
            to the proposed asset sales. As with many other privatisation programmes in
            authoritarian states, there are strong grounds to suspect that elite groups are
            manipulating the process to advance their own interests unfairly. It is clear that
            over the past few years much political and economic power has flowed towards
            the IRGC. … The telecoms sector in Iran has expanded rapidly over the past five
            years, in particular in the mobile segment, which recorded a compound annual
            growth rate of 65% between 2003 and 2008. There is still room for expansion of
            mobile telephony as the penetration rate is only about 70%, and broadband
            services are notably underdeveloped. This makes telecoms one of the most
            attractive targets for investment in Iran. At the same time, telecoms is a critical
            sector for the security forces, as the Islamic Republic faces unprecedented
            domestic opposition along with growing external threats. If the IRGC is indeed
            behind the TCI deal, it would make sense from both the commercial and the
            security perspective.61

            153.   IRGC specialists concur. For example, when Dr. Ottolenghi identified

 “telecommunications” as “[a]nother sector where the IRGC [was] bound to reap economic

 benefits,” Ottolenghi also noted that “[t]he IRGC control[led] Iran’s largest telecom company,

 the Telecommunication Company of Iran or TCI,” which the “[t]he Guards bought … in

 September 2009 in a controversial bid that at the last minute disqualified the only non-IRGC

 offer.”62 As Dr. Ottolenghi further explained:

            TCI’s main shareholder is now Toseye Etemad Mobin (50%), a company
            controlled by the IRGC jointly with the supreme leader’s financial network,
            through two companies - the Tadbir Group-owned Gostaresh Electronic Mobin
            and Shahriar Mahestan Company. TCI has a monopoly over Iran’s landlines, and
            thus controls much of the country’s Internet traffic. As Al-Monitor reported in



 60
   Economist Intelligence Unit, Iran Telecoms: Dial I for IRGC?, Telecoms and Technology
 Forecast (October 12, 2009), 2009 WLNR 20135393.
 61
      Id.
 62
      Dr. Ottolenghi Sept. 17, 2015 Testimony.
                                                    46
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            August 2013, all three mobile operators in Iran are directly or indirectly
            partners with IRGC-affiliated companies.63

                   5.      The Akbari Front Companies

            154.   Mahmood Akbari, also known as John Wasserman (herein, “Akbari”), was an

 Iranian resident who purchased dual-use commercial grade computers, related equipment and

 services from illegal sources in the United States to benefit the IRGC, including the Qods Force.

 On information and belief, Akbari was an IRGC operative who was used by the Qods Force to

 serve as a cut-out to help source dual-use technology from America for use by the Joint Cells to

 attack Americans in Iraq, doing so upon the instruction of one or more Defendants.

            155.   Patco Group Ltd. (“Patco”) was a company in the U.A.E. operated by Akbari for

 the purpose of receiving commercial grade computers and related equipment from illegal sources

 in the United States to benefit the IRGC, including the Qods Force.

            156.   Managed Systems and Services (FZC) (“MSAS”) was a company in the U.A.E.

 operated by Akbari and used as a front company and consignee for computer parts to make it

 appear that the computer parts were being sent to the U.A.E. when in fact they were being

 diverted to Iran.

            157.   TGO General Trading LLC, also known as Three Green Orbit (herein, “TGO”),

 was a company in the U.A.E. operated by Akbari and used as a front company to make it appear

 that payments were being made from the U.A.E., rather than from Iran.

            158.   On information and belief, Patco, MSAS, and TGO (collectively, “Akbari

 Entities”) were fronts for the IRGC, including the Qods Force, that served as cut-outs in order to

 help the IRGC, including the Qods Force, source sensitive dual-use technology from America for




 63
      Id.
                                                    47
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 the benefit of Iran’s terrorist operatives and proxies, including Hezbollah. Funds and weapons

 (including weapons components) obtained by the Akbari Entities through their commercial

 transactions inevitably flowed through Akbari Entities to Hezbollah (through the IRGC,

 including the Qods Force) and Jaysh al-Mahdi (through Hezbollah) to fund and arm the Joint

 Cell terrorist attacks against Americans in Iraq from 2011 through 2016.

 III.     DEFENDANTS’ TRANSACTIONS WITH FRONTS, OPERATIVES, AND
          AGENTS OF THE ISLAMIC REVOLUTIONARY GUARD CORPS, INCLUDING
          THE QODS FORCE, PROVIDED FINANCING, WEAPONS, AND
          OPERATIONAL SUPPORT TO TERRORISTS

          A.     The Islamic Revolutionary Guard Corps, including the Qods Force, raised
                 funds, purchased weapons, and obtained operational support through illicit
                 corporate transactions in the telecom, communications, and IT sectors

          159.   As western sanctions clamped down on Iranian terror fronts, the IRGC, including

 the Qods Force, responded by expanding its efforts to obtain funds, purchase weapons and

 source operational support through illicit corporate transactions in the U.S., U.A.E., and Iran.

          160.   In so doing, the IRGC, including the Qods Force, relied on transactions with

 multinational corporations, like MTN and ZTE, who operated in key sectors for the dual-use

 technologies that were essential to the IRGC’s, including the Qods Force’s, bombmaking, rocket,

 intelligence gathering, and communications enterprises – everything a terrorist group needs to

 coordinate attacks against Americans in the Middle East.

          161.   Sadegh Zibakalam, a professor of political science at the University of Tehran,

 explained to the BBC in 2012 that “[d]uring the past decade Iran has come up with various ways

 of getting around international sanctions.”64 Per the BBC, Professor Zibakalam “said Iranian

 companies had been able to source many American … goods through international markets,




 64
      BBC News, Iran Mobile Operator Irancell ‘Secures US Technology’ (June 6, 2012).
                                                 48
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 especially companies based in Dubai … He added that international companies have been eager

 to assist Iran with equipment it needs.”65

            162.   It is widely understood that illicit transactions that route money or technology to

 the IRGC inevitably result in the Qods Force receiving money or technology that it can use in its

 terrorist enterprise, and vice versa.

            163.   Scholars who have studied the IRGC, including the Qods Force, concur that both

 benefit from illicit transactions and that the purported distinction between them is largely

 immaterial when it comes to Iran’s terrorist enterprise and support for terrorist proxies. For

 example, a British researcher Ben Smith, who studied the IRGC, including the Qods Force, for

 the House of Commons, identified telecoms as a key area that financially benefits all:

            [T]he Revolutionary Guards, have large and expanding business interests … The
            Iranian economy is “marked by a bloated, inefficient state sector”. That has
            allowed the president to appoint allies and old colleagues from the Revolutionary
            Guard into key positions in the public sector, and to award government contracts
            to companies owned or controlled by Guard members, many of which are
            involved in dual use technology with both civilian and military utility, including
            telecommunications … The al-Quds force is thought to be no less involved in the
            business world than the rest of the Revolutionary Guard, and analysts suspect that
            these growing business interests provide clandestine sources of funding to be
            channelled to overseas groups and individuals, hidden from [] scrutiny …66

            164.   Prominent media reports also support this conclusion. According to a 2007 report

 in the New York Times, “[s]ome specialists even question whether the Quds Force exists as a

 formal unit clearly delineated from the rest of the Revolutionary Guard.”67 As one such Iran




 65
      Id.
 66
   Ben Smith (International Affairs and Defence Section of the UK House of Commons Library),
 The Quds Force of the Iranian Revolutionary, Guard -- Standard Note: SN/IA/4494, UK House
 of Commons Library Standard Note (Oct. 30, 2007).
 67
      Scott Shane, Iranian Force, Focus of U.S., Still a Mystery, N.Y. Times (Feb. 17, 2007).
                                                    49
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 specialist, Vali R. Nasr of the Naval Postgraduate School explained to the Times, “[i]t could be

 that anyone with an intelligence role in the Revolutionary Guard is just called Quds.”68

            165.   Moreover, any lines between the IRGC and the Qods Force blur when it comes to

 Iran’s support for Islamist terrorists outside of Iran. As the same New York Times report noted in

 2007, “[w]hether properly identified as part of the Quds Force or not, members of the

 Revolutionary Guard mobilized intelligence and paramilitary agents in Lebanon in the 1980s,

 where they trained the Shiite militia Hezbollah; in Afghanistan, during the anti-Soviet jihad in

 the 1980s and episodically since then; in the former Yugoslavia, supporting the Bosnian Muslims

 against Serbian forces; and in other trouble spots.”69

            166.   Like its subordinate branch the Qods Force, the IRGC also directly funds key

 Iranian terrorist proxies. For example, the IRGC uses a portion of its revenue to fund Hezbollah.

 As the Defense Intelligence Agency (“DIA”) concluded with “high confidence” in 2010, “Iran

 has methodically cultivated a network of sponsored terrorist surrogates capable of conducting

 effective, plausibly deniable attacks against … the United States,” and the DIA “judge[d]” that

 “Tehran provide[d] support to terrorist and militant groups to support Iran’s strategic interests in

 each situation.”70 DIA concluded: “[e]lements of Iran’s Islamic Revolutionary Guard Corps

 []have provided direct support to terrorist groups, assisting in the planning of terrorist acts or

 enhancing terrorist group capabilities.”71

            167.   As the Foundation for Defense of Democracies similarly concluded, given the

 tight nexus between IRGC commercial activity and violence by Iranian proxies, any transaction


 68
      Id.
 69
      Id.
 70
      Defense Intelligence Agency, Unclassified Report on Military Power of Iran (Apr. 2010).
 71
      Id.
                                                   50
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 with IRGC fronts benefits Iran’s terrorist enterprise – even when it does not result in the IRGC

 or Qods Force directly obtaining any embargoed arms or technology:

        IRGC front companies … have stakes in telecommunications …. of which Iran
        is the largest manufacturer in the Middle East. … Many IRGC projects are
        military in nature, and the group diverts much of the technology and expertise it
        acquires from Western companies for seemingly innocuous projects to unsavory
        ends. … Any company that does business in Iran risks becoming an unwitting
        accomplice to the IRGC’s nefarious activities … Yet even when companies
        provide services and technologies that cannot be diverted to illicit projects,
        partnering with the IRGC entails some complicity with its activities. In June
        2006, [the head of an IRGC-owned company] confirmed in an interview with a
        local daily that the organization’s funds finance various national defense
        projects, including arming and training Hezbollah.72

        B.      Defendants made illicit deals with fronts, operatives, and agents of the
                Islamic Revolutionary Guard Corps, Including the Qods Force

        168.    Beginning in 2005, after the Iran had intensified its support of the insurgency in

 Iraq, MTN and ZTE made illicit deals with IRGC, including Qods Force, fronts, operatives, and

 agents in the telecom, communications, and computer sectors. Those deals directly benefited

 MTN and ZTE.

        169.    MTN’s and ZTE’s transactions provided financial, logistical, and operational

 support to the IRGC, including the Qods Force, and their terrorist proxies Hezbollah and Jaysh

 al-Mahdi. Defendants’ corrupt deals with the IRGC, including the Qods Force, fell into three

 broad categories: (1) weapons procurement through sham deals; (2) financing through illicit

 transactions; and (3) operational support obtained through the legitimacy of the companies

 helping the IRGC, including the Qods Force.




 72
   Mark Dubowitz and Emanuele Ottolenghi (Foundation for Defense of Democracies), The
 Dangers Of Doing Business With Iran’s Revolutionary Guards, Forbes (June 15, 2010)
 (emphasis added).
                                                 51
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        170.    Under official IRGC, including Qods Force policy, the IRGC, including the Qods

 Force, follows a mafia-style financial approach under which all IRGC, including Qods Force,

 fronts, operatives, and agents share a percentage of all income they realize with the IRGC,

 including the Qods Force, like how a mafia lieutenant kicks up a portion of his earnings to the

 mob boss. For example, in 2003, the IRGC issued a directive decreeing those profits realized by

 IRGC fronts, operatives, and agents must be shared with the broader organization.

        171.    The IRGC, including the Qods Force, was able to leverage Defendants’ insatiable

 appetite for Iran’s telecom market, which was widely understood to represent a unique

 opportunity. As the Economist explained in 2004, “[w]ith a population of some [70 million

 people] and a mobile-phone penetration rate of below 5%, Iran offers a unique opportunity for

 telecommunications investors. … However, the wrangles with … Turkcell illustrate the

 difficulties in assessing the political risk associated with trying to enter the Iranian market.”73

        172.    Although Defendants’ illicit transactions with, and resulting cash flow to, fronts,

 operatives, and agents for the IRGC, including the Qods Force, provided especially valuable

 assistance for the Joint Cells’ terrorist attacks, the causal nexus was not limited to Iran sanctions

 violations. Whether or not MTN and ZTE technically violated Iranian sanctions (although they

 did), their transactions with a counterparty that was openly controlled by terrorists – and which

 openly diverted the fruits of the transactions to terrorist ends – supplied the IRGC, including the

 Qods Force, Hezbollah, and Jaysh al-Mahdi, with funds, weapons, weapons components,

 computers, communications gear, enterprise data management solutions, and essential logistical

 support that their Joint Cells relied upon to commit terrorist attacks against Americans in Iraq.




 73
   Economist Intelligence Unit, Iran: Putting Up The Shutters, Business Middle East (Sept. 1,
 2004) (emphasis added), 2004 WLNR 10893473.
                                                   52
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 IV.    DEFENDANTS KNEW OR RECKLESSLY DISREGARDED THAT THEIR
        TRANSACTIONS WITH THE ISLAMIC REVOLUTIONARY GUARD CORPS,
        INCLUDING THE QODS FORCE, FACILITATED TERRORIST ATTACKS ON
        AMERICANS IN IRAQ

        A.      Defendants’ transactions directly funded, armed, and operationally
                supported terrorist attacks on Americans in Iraq

        173.    MTN, from at least 2005 through the present, and ZTE, from at least 2008

 through at least 2016, knowingly structured their transactions to facilitate the IRGC’s, including

 the Qods Force’s, fundraising, weapons procurement, and operational support from their IRGC-

 controlled, including Qods Force-controlled, counterparties – which the IRGC, including the

 Qods Force, used to support Hezbollah and the Joint Cells’ terrorist attacks against Americans in

 Iraq. Senior Iranian entity officials involved in the Defendants’ transactions were avowed, well-

 known fronts, operatives, and agents for the IRGC, including the Qods Force.

        174.    Defendants knew or recklessly disregarded that their corrupt transactions

 overseen by a counterparty that the IRGC, including the Qods Force, had totally commandeered,

 delivered resources directly to the IRGC, including the Qods Force, which they provided to

 Hezbollah in the form of funds, weapons, logistical support, and other aid to jointly commit

 terrorist attacks against Americans in Iraq terrorist through their Joint Cells.

        175.    The IRGC’s, including the Qods Force’s, control over the Iranian telecom,

 communications, and computer sector was so complete that, by 2004, there was no longer any

 meaningful distinction between any of the large Iranian telecom, communications, or computer

 companies and the IRGC, including the Qods Force. Because the IRGC, including the Qods

 Force, had effectively captured the Iranian telecom, communications, and computer sectors, and

 was using such control to fund and arm Hezbollah as Hezbollah led the Joint Cell attacks against

 Americans in Iraq, transactions with Iranian telecom, communications, and information

 technology companies directly benefited the Hezbollah campaign targeting Americans in Iraq.

                                                   53
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          176.   Defendants’ transactions with their IRGC-controlled, including Qods Force-

 controlled, Iranian counterparties supplied Hezbollah, and through Hezbollah, Jaysh al-Mahdi,

 with resources critical to the Joint Cells’ terrorist operations. The IRGC’s, including the Qods

 Force’s, control over these critical Iranian economic sectors – and the enormous cash flow that

 came with it, both from normal revenue as well as corrupt payments from foreign companies –

 was a key source of the IRGC’s, including the Qods Force’s, power.

          177.   Indeed, the telecom, communications, and information technology sectors were

 (and remain) controlled by the IRGC, including the Qods Force, precisely because such control

 allows the IRGC, including the Qods Force, to make groups like Hezbollah more effective at

 attacking the enemies of Iran, both foreign and domestic, through the substantial funding for the

 IRGC, including the Qods Force, which flows through to Hezbollah in its capacity as a

 constituent member of the IRGC, including the Qods Force. The IRGC’s, including the Qods

 Force’s, complete conversion of the telecom, communications, and computer sectors of the

 Iranian economy as direct tools of terrorism further strengthened the potency of Defendants’

 illicit transactions as a means of financing, arming, and operationally supporting attacks.

          178.   Defendants provided fungible funds to the IRGC, including the Qods Force, that

 inevitably flowed through to Hezbollah and, through Hezbollah, to Jaysh al-Mahdi for attacks

 against Americans in Iraq. As Ambassador Mark D. Wallace explained in 2012, “[a]bsent

 economic support from international businesses, the Iranian regime would not have the

 financial wherewithal to … support terrorism.”74




 74
      Wallace May 17, 2012 Testimony (emphasis added).
                                                 54
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        179.   Writing in the Eurasia Review, a foreign affairs analyst specializing in Iran

 explained the tight nexus between economic transactions with the Bonyad Mostazafan and

 Hezbollah-led terrorist attacks against Americans in Iraq and elsewhere:

        The question is, where does the revenue go? … Since US sanctions caused a
        sharp decline in Iran’s official revenues, the regime is facing financial difficulties
        and cannot fund its proxies to meddle in the region or as the mullahs’ call it
        “expand its strategic scope”. Iran cannot fund its proxies including Hezbollah,
        and its multitude of militia forces in Iraq and Yemen, or its Afghan Fatemiyoun
        Division and Pakistani Zainebiyoun militias in Syria using its official annual
        budget. The millions of dollars used to fund these group must be provided from
        other financial sources. …[B]onyads such as Bonyad-e-Mostazafan, are among
        the organizations that have directly assisted the Quds Force in this regard.
        Iranian opposition sources have previously stated that the Quds Force receives
        most of its funds from [Bonyads]. … The US’s decision to sanction [Bonyads]
        will definitely be welcomed by Iranians who are tired of having their stolen
        wealth used for terrorism.75

        180.   Juan C. Zarate, former Deputy National Security Advisor for Combatting

 Terrorism from 2005 through 2009, previously testified about the key role played by IRGC,

 including Qods Force, front companies in funding and arming anti-American terrorist attacks

 committed by Iranian terrorist proxy groups:

        We have limited tools to address … terrorism … And the use of financial power
        and the power to exclude from the global system is one of our principal if not
        most effective tools….. . . [W]e have to have a comprehensive strategy with the
        use of all tools of national power. No doubt. But the reality is at the end of the
        day, these tools are the ones that prove to be most effective. … So we are going to
        have to, if we are honest about what’s happening in the international financial
        commercial order, we are going to have to crack down on Qods Force front
        companies … That’s the nature of the Iranian economy in the way that they do
        business, and the way they have reached precisely what we have cut off that
        hardened them so much.76


 75
   Cyrus Yaqubi, Recently Sanctioned Iran Foundation Is Regime’s Slush Fund For Terrorism,
 Eurasia Review (Jan. 24, 2021) (emphasis added). While Mr. Yaqubi primarily focused on a
 separate bonyad, his claims apply equally to Bonyad Mostazafan. See id. (“[B]onyads such as
 Bonyad-e-Mostazafan, … have directly assisted the Quds Force in this regard.”).
 76
   Testimony of Juan Zarate, Sen. Bob Corker Holds a Hearing on Sanctions and the Joint
 Comprehensive Plan of Action, SEC Wire (July 31, 2015) (emphasis added).
                                                  55
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        181.    On April 23, 2012, the Treasury Department announced new sanctions against

 Iran that recognized that the IRGC’s, including the Qods Force’s, control of the

 telecommunications sector was inextricably linked with violence, and stated, in part, as follows:

        The Order targets …information and communications technology that facilitates
        computer or network disruption, monitoring or tracking that could assist in or
        enable human rights abuses by or on behalf of the … Government of Iran.
        Pursuant to this order sanctions were imposed on … Iran’s Islamic Revolutionary
        Guard Corps (IRGC) … The IRGC’s Guard Cyber Defense Command (GCDC)
        includes a special department called the Center for Inspecting Organized Crimes
        (CIOC). … The IRGC’s CIOC has openly admitted that it would forcefully
        suppress anyone seeking to carry out “cultural operations” against the Islamic
        Republic via the Internet … Individuals arrested by the IRGC have been subjected
        to severe mental and physical abuse ….”77

        182.    The nexus between Defendants’ illicit transactions in the Iranian telecom sector

 and terrorist violence by Iranian proxies was especially tight. As Ali Alfoneh, of the American

 Enterprise Institute, explained, the IRGC, including the Qods Force, pushed their way into the

 telecom sector mafia-style, and relied upon the funds and technology they acquired through their

 telecom front companies to fund IRGC, including Qods Force, operations:

        Telecommunications
        The IRGC has also muscled its way into the Iranian telecommunications sector.
        In February 2002, Turkish cell phone company Turkcell … won a bid to
        inaugurate a second mobile phone network for Iran … The Iranian government
        welcomed Turkcell. That is, Turkcell was welcome until the IRGC complained.
        Turkcell would have been in direct competition with IRGC communications
        technology and electronics firms. The Council of Guardians–an executive body
        close to the IRGC and the supreme leader–protested that Iranians would have only
        30 percent ownership of the new company. Even after the National Bank of Iran
        bought out foreign investors to achieve a 51 percent Iranian stake, the IRGC was
        not satisfied. The IRGC-operated [IEI] and the [Bonyad Mostazafan]–an
        independent financial body traditionally run by a retired IRGC commander and
        used by the state as a proxy to fund off-the-books IRGC operations–erected a
        cascade of legal and practical obstacles leading [] Turkish investors to retreat
        from the Iranian market.



 77
   U.S. Treasury Dep’t, Fact Sheet: New Executive Order Targeting Human Rights Abuses Via
 Information Technology (Apr. 23, 2012).
                                                56
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           The IRGC rooted its rhetoric on Turkcell in national security. … the IRGC
           expects to maintain its dominant position not only on the battlefield, but in
           civilian sectors as well. … Because some of the Iranian economy’s most
           advanced technological undertakings occur under the aegis of the IRGC and
           within the framework of the Iranian arms industry, the IRGC can monopolize the
           transfer and adaptation of high technology to civilian applications … The
           homepage[] of [IEI] … display[s] many consumer goods produced by the arms
           industry for sale in the Iranian market. The list includes personal computers,
           scanners, telephone sets and intercoms, mobile phones, and telephone sim cards.
           These purchases support … IRGC operations ….78

           183.   As national security analysts Elliot Hen-Tov and Nathan Gonzalez wrote in the

 Washington Quarterly in 2011, the IRGC, including the Qods Force, “‘cashed in’ since 2005.”79

 Describing the “dramatic increase” in the IRGC’s, including the Qods Force’s, “economic

 importance” since 2005, they explained that:

           [T]he Guards [i.e., the IRGC, including the Qods Force] controlled less than five
           percent of GDP shortly after the end of the Iran-Iraq War in 1989. Now, they
           directly or indirectly oversee … about 35 percent and growing. … Prior to 2005,
           the Guards … occasionally used raw power to reverse high-profile tenders in
           their favor. One of the most notable examples is when it nullified Turkcell’s
           winning bid to operate a second mobile-phone network as part of a consortium [in
           favor of Defendant MTN]. Upon pressure by the Guards and their patrons, the
           Majles was forced to change the terms of the deal and revoke Turkcell’s
           majority share in the consortium. After Turkcell’s departure, an Iranian-led
           consortium under the ownership of a Guards’ subsidiary [i.e., Defendant MTN
           Irancell] received the license for the network.80

           184.   Defendants also helped the IRGC, including the Qods Force, arm their terrorist

 proxies Hezbollah and Jaysh al-Mahdi by providing embargoed dual-use technology from the

 United States. Defendants’ contribution to the terrorist enterprise was essential, as the

 embargoed American technology that Defendants provided to the IRGC, including the Qods



 78
   Ali Alfoneh, How Intertwined Are the Revolutionary Guards in Iran’s Economy?, American
 Enterprise Institute, (Oct. 22, 2007) (emphasis added).
 79
   Elliot Hen-Tov and Nathan Gonzalez, The Militarization of Post-Khomeini Iran:
 Praetorianism 2.0, The Washington Quarterly (Winter 2011).
 80
      Id. (emphasis added).
                                                  57
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 Force, fronts directly improved the efficacy of the Hezbollah-designed and built bombs that the

 Joint Cells used to attack Americans in Iraq between 2011 and 2016. As the RAND Corporation

 has explained: “[s]everal network technologies, most notably cell phones … and other

 communication devices, have enabled terrorists to improve their use of [IEDs]. There have

 been well-publicized cases of terrorist use of cellular phones in operations.”81

           185.   The technology Defendants provided also helped the IRGC, including the Qods

 Force, logistically support the Joint Cells operating in Iraq. In their 2007 study, RAND

 explained that telecom, communications and information technologies are vital for transnational

 terrorist organizations to plan, communicate, and execute attacks:

           Increasingly, as more functionality is integrated into personal electronic
           devices, clusters of technologies are likely to play an increasingly important role
           in enabling terrorist operations. Although these devices are referred to
           individually as smart phones, digital cameras, personal digital music devices,
           personal memory devices (e.g., jump drives), GPS devices, and digital video
           recorders, they increasingly embody clusters of technological capabilities that
           can be useful to terrorists. The development trajectory of cell phones in
           particular may enable terrorists to have a single electronic device that can provide
           integrated, redundant mechanisms for signaling operations or detonating
           explosive devices. … As communication technologies become increasingly able
           to use available wireless communication modes, it may become more difficult to
           interrupt the triggering of IEDs. Early generations of terrorist detonation devices
           could frequently be jammed because they could only receive transmitted signals
           on a limited number of frequencies. In the future, a single … smart phone will
           likely be able to receive information using [an array of signals]. The diversity of
           signals could make jamming devices based on these technologies difficult.82

           186.   As a result of the foregoing, each time Defendants publicly touted how it had

 helped improve the technical capabilities of the phones and other network devices supplied to

 MTN Irancell or TCI, MTN and ZTE were also admitting that they were bolstering the


 81
   Bruce W. Don, David R. Frelinger, Scott Gerwehr, Eric Landree, Brian A. Jackson, Network
 Technologies for Networked Terrorists: Assessing the Value of Information and Communication
 Technologies to Modern Terrorist Organizations 38-39 (RAND Corp. 2007) (emphasis added).
 82
      Id. at 39-40 (emphasis added).
                                                   58
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 communications networks, technologies, and operative phones relied upon by the IRGC,

 including the Qods Force, to sponsor Hezbollah’s terrorist attacks against Americans in Iraq.

           187.   The technology Defendants provided also helped the IRGC, including the Qods

 Force, communicate with Hezbollah and Jaysh al-Mahdi (through Hezbollah) in Iraq by sourcing

 embargoed dual-use technology from the United States. Indeed, the IRGC’s, including the Qods

 Force’s, desire to ensure that it could securely communicate with Hezbollah and Jaysh al-Mahdi

 in Iraq was what motivated it to instruct MTN and ZTE to obtain the embargoed U.S. technology

 in the first instance. And for good reason: for a terrorist alliance seeking to evade the

 surveillance of the world’s greatest military so that it could plan its attacks unmolested, sensitive

 communications technology from the United States offered an almost impossible-to-overstate

 communications advantage to the terrorists by arming them with state-of-the-art communications

 and encryption technology. As the RAND Corporation explained:

           For security forces monitoring terrorist communication, such mode nimbleness
           can increase the challenges of successfully using terrorist communication
           traffic. … Terrorist access to easy-to-use devices with multiple modes of
           communication present challenges for security forces attempting to intercept or
           track communications … Such communication networks can bypass security
           forces’ centralized monitoring at switches or through the intermediate
           organization that manages the network infrastructure, and thereby provide fairly
           secure communication …83

           B.     Defendants knew or recklessly disregarded that their transactions with
                  Islamic Revolutionary Guard Corps, including Qods Force, fronts,
                  operatives, and agents aided terrorism

           188.   Defendants knew or recklessly disregarded that their transactions with fronts,

 operatives, and agents for the IRGC, including the Qods Force, financed, armed, and

 operationally supported Iranian proxy terrorist attacks against Americans in Iraq.




 83
      Id. at 35-36 (emphasis added).
                                                  59
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        189.    By early 2005, it was widely understood in diplomatic, business, and military

 circles that the IRGC, including the Qods Force, had seized control of Iran’s telecom,

 communications, and information technology sectors. Before they transacted with IRGC,

 including Qods Force, fronts, operatives, and agents, Defendants were aware that IRGC,

 including the Qods Force, had seized control of these sectors.

        190.    Defendants were aware of IRGC’s, including Qods Force’s, capture of Iran’s

 telecom, communications, and information technology companies in part through their local

 agents and affiliates, whom Defendants relied upon to keep abreast of Iranian market conditions;

 these agents (who were subject to Defendants’ control and whose knowledge is imputed to

 Defendants) knew that the IRGC, including the Qods Force, controlled Iran’s telecom,

 communications, and information technology sectors and used that control to raise money, obtain

 weapons, and source operational support for terrorism. As a general matter, those agents spoke

 fluent Farsi, had relationships with people throughout Iranian government and industry, and were

 well-informed about Iranian politics and economics. They could not have remained ignorant of

 the common understanding that the Iranian telecom, communications, and information

 technology sectors were controlled by the IRGC, including the Qods Force.

        191.    Defendants knew, or recklessly disregarded, that the IRGC, including the Qods

 Force, routinely used commercial transactions to raise money and acquire key weapons and

 weapons components in support of the IRGC’s, including the Qods Force’s, lead terrorist agent,

 Hezbollah, as well as Hezbollah’s Iraqi proxy, Jaysh al-Mahdi. As a regional studies professor




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 explained, “Dubai … maintains crucial avenues for the IRGC … to generate money” and serves

 as “the gate to the world for” Iranian terrorist front company efforts.84

        192.    Defendants knew, or recklessly disregarded, that as American sanctions seeking

 to choke off IRGC, including Qods Force, access to the global financial system escalated, the

 IRGC, including the Qods Force, responded by using IRGC, including Qods Force, front

 companies and agents in the United Arab Emirates, Iraq, and elsewhere to raise money through

 criminal enterprise, facilitate terrorist finance through the banking system, and maintain the

 steady supply of key telecom, communications, and information technologies necessary to

 continue to prosecute a terrorist campaign against Americans in Iraq and elsewhere. Per Reuters,

 the IRGC, including the Qods Force, has:

        long proved successful in defending [its] economic interests, including in recent
        years when the sanctions … effectively exclude[ed] Iran from the global financial
        and trading system. “Even under very difficult economic circumstances, the
        funds for the IRGC’s activities, whether domestic or overseas, remained intact,”
        said a former official close to the [Iranian] government… As the U.S. and EU
        sanctions on Iran’s oil and finance sectors in 2012 started to bite, the [IRGC]
        responded by setting up complex operations involving the likes of Dubai ….
        “The IRGC started to buy hundreds of … companies around the [U.A.E.] to use
        as front companies,” said a trader involved in … the oil industry. “These
        companies partnered with some foreign companies to bypass sanctions. Most of
        the time cash was delivered to a foreign account in a neighbouring country.”85

        193.    At all relevant times, Defendants understood that the U.S. government believed

 that IRGC, including Qods Force, activities in the U.A.E. supported anti-American terrorism in

 Iraq and Afghanistan. For example, in 2008, President George W. Bush gave a widely-reported

 speech to U.A.E. government and business leaders in which he called Iran “the world’s leading



 84
  TRT World (Turkey), Amid Soleimani Crisis, Iran Threatens to Level Dubai and Israel. But
 Why? (Jan. 8, 2020), 2020 WLNR 663153.
 85
   Parisa Hafezi, RPT-INSIGHT-Iran’s Elite Guards to Gain Regional, Economic Power in Post-
 Sanctions Era, Reuters News (Jan. 20, 2016) (emphasis added).
                                                  61
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 sponsor of terrorism” and stressed that illicit transactions in the U.A.E. were important to the

 IRGC’s, including the Qods Force’s, ability to provide “support for Islamist groups and militants

 in Afghanistan, Iraq, Lebanon and the Palestinian territories.”86 Press reports concerning

 President Bush’s speech emphasized the U.S. government’s efforts “to enforce US sanctions

 against … the Quds Force of the IRGC” because “Dubai in particular ha[d] become a financial

 centre handling substantial Iranian investments which the administration want[ed] to restrict.”87

            194.   From 2005 through 2016, accounts from prominent Western media sources also

 reported on the direct link between the Iranian telecom, communications, and information

 technology sectors and the IRGC, including the Qods Force.

            195.   On information and belief, Defendants were aware of these reports documenting

 the link between their Iran-related counterparties and the IRGC, including the Qods Force. Each

 Defendant generally maintained a corporate security group responsible for supervising their

 global supply chains, doing counterparty diligence, and preventing the theft or diversion of the

 devices or services they sold, including in the Middle East. As part of such efforts, Defendants’

 standard practice would have been to conduct basic open-source research on the Iranian telecom

 market and the mechanics of making telecom deals in Iran – even a modicum of which would

 have uncovered the reports discussing the Iranian front entities’ terrorist ties set forth above.88



 86
   APS Diplomat Redrawing the Islamic Map, Bush Says Iran Poses Threat To Global Security
 (Jan. 14, 2008), 2008 WLNR 25283869.
 87
      Id.
 88
    This allegation applies to all Defendants except MTN Irancell. Plaintiffs allege that MTN
 Irancell relied upon the IRGC, including the Qods Force, to conduct diligence on the
 counterparties with whom MTN Irancell conducted business, and that the IRGC, including Qods
 Force, fronts, operatives, and agents that owned and managed MTN Irancell would not have
 approved any significant investment or hire by MTN Irancell if the IRGC, including the Qods
 Force, believed that such proposed deal did not benefit the “security” agenda of the IRGC,
 including the Qods Force.
                                                   62
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        196.    After 2005, Defendants could not have conducted credible due diligence that

 would have “cleared” their transactions with their counterparties controlled by the IRGC,

 including the Qods Force. Defendants also knew or recklessly disregarded the IRGC’s,

 including the Qods Force’s, control of their business partners based upon the statements set forth

 in prominent due diligence materials concerning Iran.

        197.    MTN’s collusion against Turkcell with the conservatives who controlled the

 IRGC, including the Qods Force, fronts responsible for the Irancell contract itself became a

 notable “red flag” about the highly risky Iranian business environment that Defendants knew of,

 and ignored. For example, as the Economist’s flagship due diligence report, the Economist

 Intelligence Unit, explained in June 2005:

        There is considerable doubt that [] Turkish investment projects … will proceed
        after facing opposition from the new conservative-dominated [Iranian parliament,
        the] Majlis. The Majlis in late 2004 passed a law giving it a veto over foreign
        investment and in early 2005 ruled that Turkcell … should reduce its stake in []
        Irancell … to 49% from 70% [and] … that a majority of Iranian shareholders
        would have to support any management decisions and that security issues be
        referred to the intelligence ministry and the Supreme National Security Council.
        … The Majlis’s opposition to the projects … is sure to cause nervousness among
        foreign investors who will see it as calling into question the value of contracts in
        the Islamic Republic and as a sign of arbitrariness in governance.89

        198.    After MTN had finished off Turkcell and secured the Irancell license from the

 IRGC, including Qods Force, fronts who controlled Irancell, the Economist updated its standard

 diligence briefing concerning Iran to warn potential investors, including Defendants, against the

 “High Risk” of doing business with Iranian entities:

        Foreign investors are deterred by the nationalist stance of the Majlis towards
        foreign investment (High Risk). The Majlis in late 2004 passed a law giving it a
        veto over foreign investment which it has used to ... severely tighten up on the
        terms of a project by Turkcell … The conditions imposed on Turkcell have seen


 89
   Economist Intelligence Unit, Iran Risk: Legal & Regulatory Risk, Risk Briefing (June 29,
 2005), 2005 WLNR 26571496.
                                                 63
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        its bid superseded by a South African company, MTN. The episodes caused
        nervousness among foreign investors who fear that they called into question the
        value of contracts in [Iran] and indicated arbitrariness in government decision-
        making. President Mahmoud Ahmadinejad's presidency (until at least 2009, when
        fresh elections will take place) will continue to heighten such concerns. …90

        199.   Public statements made by prominent Members of Congress also alerted

 Defendants to the IRGC’s, including the Qods Force’s, control of the Iranian telecom sector. For

 example, on February 10, 2011, a bipartisan group of United States Senators and Representatives

 confirmed the widespread understanding that the IRGC’s (and by extension, the Qods Force’s)

 control of the “Iran telecom sector, of which the Iranian Revolutionary Guard Corps owns a

 significant stake.”91 These Members’ letter received widespread coverage in the global media.

        200.   Pressure campaigns, also known as “private sanctions,” by public interest groups

 also warned Defendants about the IRGC’s, including the Qods Force’s, control of the Iran

 telecom sector. For example, from 2011 through the present, the non-partisan group UANI92 has

 pressured technology and telecom companies to cut ties with IRGC, including Qods Force, fronts




 90
   Economist Intelligence Unit, Iran Risk: Legal & Regulatory Risk, Risk Briefing (Nov. 9, 2006)
 (emphasis added), 2006 WLNR 26677912.
 91
    Letter from U.S. Senators Jim Webb, Jon Kyl, and Richard Burr, and U.S. Representatives
 Ileana Ros Lehtinen and Sue Myrick, Sens. Webb, Kyl: Sale of U.S. Computer Technology to
 Chinese Firm Poses Serious Risk Chinese Firm Has History of Illegal Behavior and Ties with
 the People’s Liberation Army, Taliban and Iranian Revolutionary Guard, States News Service
 (Feb. 10, 2011).
 92
   UANI is a non-partisan group that focuses on protecting American national security from the
 threat posed by Iran. In 2012, UANI and its Advisory Board included an array of former
 national security officials from the U.S. U.K., Germany, Israel, and others, including “Graham
 Allison, Les Gelb and Fouad Ajami, and former government officials including former CIA
 Director Jim Woolsey, former Homeland Security Advisor Fran Townsend, former Mossad
 Chief Meir Dagan, former head of the German Intelligence Service Dr. August Hanning, and
 former head of the United Kingdom`s MI6 Sir Richard Dearlove among many others.” Wallace
 May 17, 2012 Testimony.
                                               64
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 in order to pressure the Iranian regime to cease its support for anti-American terror and other

 malign activities in the Middle East. As Ambassador Mark D. Wallace explained in 2012:

          [I]n 2011 UANI launched its “Tech and Telecom Campaign” to publicly
          highlight the role of telecommunications companies in Iran and about how
          their technology was being misused by Iranian government security forces … In
          so doing, companies were directly facilitating the ability of the Iranian regime to
          wage a campaign of terror … In response to UANI’s campaign, companies like
          Nokia Siemens Networks and Ericsson agreed to not take on any new business in
          Iran. … In today’s integrated business and financial worlds, companies cannot
          exist in a national vacuum. Any corporation that seeks access to American capital
          [] is subject to American law, public pressure and American public opinion.93

          201.   Defendants also knew that most of their multinational peers had already chosen to

 exit ventures in which they participated alongside Iranian entities that could potentially be fronts

 for the IRGC, including the Qods Force. By 2012, the roster of companies that announced an

 intention to depart Iran included such prominent multinationals as Huawei, Siemens, Ingersoll

 Rand, Hitachi, ABB, Porsche, Caterpillar, Komatsu, Bobcat, and others. Regardless of whether

 Defendants’ multinational peers, in fact, exited these Iranian relationships, their public

 announcement of their intention to do so further alerted Defendants to the extreme risk posed by

 their continued economic relationships with their Iranian counterparties.




 93
      Wallace May 17, 2012 Testimony (emphasis added).
                                                  65
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 V.     EACH DEFENDANT ENGAGED IN COMMERCIAL TRANSACTIONS THAT
        IT KNEW OR RECKLESSLY DISREGARDED WERE STRUCTURED TO
        FINANCE, ARM, AND/OR OPERATIONALLY SUPPORT THE ISLAMIC
        REVOLUTIONARY GUARD CORPS, INCLUDING THE QODS FORCE, AND
        THEIR TERRORIST PROXIES HEZBOLLAH AND JAYSH AL-MAHDI

        A.      The MTN Defendants

                1.     MTN secured its joint venture with the Islamic Revolutionary Guard
                       Corps, including the Qods Force, in MTN Irancell through bribes and
                       a contractual promise to aid Iran-backed terrorism

        202.    MTN secured its joint venture with the IRGC, including the Qods Force—i.e.,

 MTN Irancell—through MTN’s direct contractual promise to the IRGC, including the Qods

 Force, to aid the IRGC’s, including the Qods Force’s, terrorist enterprise and MTN’s corrupt

 payments to one or more IRGC, including Qods Force, agents.

        203.    In 2004, Iran had awarded a cellular-phone license to MTN’s competitor,

 Turkcell. But MTN then engaged in a corrupt scheme to take the license away from Turkcell

 and enter the Iranian market itself. MTN’s efforts were successful and led it to acquire a 49%

 stake in Irancell – a joint venture with an Iranian government-controlled consortium. MTN

 internally called its corrupt scheme to enter the Iranian market “Project Snooker.”94

        204.    MTN threw itself into Project Snooker with abandon, and dedicated senior MTN

 Group executives to the mission, including, but not limited to, its President and CEO,

 Commercial Director, and regional head responsible for the Middle East.

        205.    On November 16, 2004, MTN’s Commercial Director, Irene Charnley,

 documented MTN’s aggressive support for the terrorist agenda of the IRGC, including the Qods

 Force. In a fax to Iranians, Ms. Charnley provided MTN’s help for Iranian efforts to violate




 94
   See Memorandum from Phuthuma Nhleko to Sifiso Dabengwa et al., Overview & Way
 Forward – Project Snooker (Sept. 21, 2005) (“Project Snooker Mem.”).
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 terror-related sanctions against the IRGC, including the Qods Force, by sourcing “major

 components” for American-made “Bell” and “Sikorsky” helicopters that were intended, in part,

 for “military use” by the IRGC, including the Qods Force.

        206.     Project Snooker required close cooperation between MTN and the Iranian

 government. On July 5, 2005, MTN sent a letter from its CEO to two Iranian terrorists, one of

 whom was the former Chief of Staff of the IRGC, who led the Bonyad Mostazafan and the IEI,

 which were the two terrorist fronts with whom MTN was attempting to join in the Irancell joint

 venture (the “July 5, 2005, Letter”). In the July 5, 2005, Letter, MTN Group wrote to its

 prospective IRGC, including Qods Force, joint venture partner:

        We appreciated the very hospitable manner that you received the MTN Group
        executive team. During the course of my visit it became clear to me that your
        organisations play a very important role in the economy of the Islamic Republic
        of Iran. I was also convinced that your organizations together with MTN could
        create a partnership that would be mutually beneficial in meeting all our
        objectives in the telecommunications sector in Iran.

        I would be honoured if you could find the time to pay a visit to the MTN Group
        Head Office in … South Africa … [in] July 2005. … [D]uring your visit, … [t]he
        two key discussion points are:

               1. The nature and extent of financial assistance that the MTN Group could
                  provide to the Iranian partners in the Second Mobile licence in Iran.

               2. The nature and extent of the co-operation between your esteemed
                  organizations and the MTN Group in current and future
                  telecommunications projects in Iran. [Emphases added.]

        207.     The negotiations were successful. On September 18, 2005, MTN Group signed a

 Letter Agreement with the IRGC, including Qods Force, fronts with whom MTN had been

 negotiating, which gave MTN the right to participate in the MTN Irancell joint venture as a

 junior partner with a 49% stake, leaving 51% collectively – and all decision-making authority –

 to MTN’s two partners whom MTN knew were IRGC, including Qods Force, fronts (hereinafter,



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 the “Letter Agreement” or “Agreement”). MTN’s Letter Agreement with the IRGC, including

 the Qods Force, is attached hereto as Exhibit A.

        208.    On information and belief, the Letter Agreement was drafted by the IRGC,

 including the Qods Force, and constitutes the IRGC’s, including the Qods Force’s, “template”

 for the terms under which Iranian terrorist fronts in industries essential to the terrorist enterprise

 are permitted to enter business arrangements with foreign companies, such as MTN and ZTE.

 The Letter Agreement is replete with indicia that it was drafted by the IRGC, including the Qods

 Force, rather than a sophisticated multinational corporation like Defendants. Such indicia

 include, but are not limited to: (1) the reference to God at the start of the Agreement; (2) the

 inclusion of the Islamic calendar date (27/06/1384) in the Agreement; (3) the generic reference to

 “Iranian shareholders,” rather than any specific reference to any specific Iranian entity; and (4)

 the inclusion of a blank space for the handwritten insertion of certain terms. Here is how the

 Agreement begins:




        209.    The Letter Agreement pledged broad cooperation between MTN Group and its

 IRGC, including Qods Force, partners in furtherance of Iran’s terrorist agenda. Section 8

 obligated MTN Group to assure that, with respect to its new “Iranian shareholder[]” partners,

 “[t]he cooperation between MTN and Iranian shareholders should be in the line of defensive,



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 security and political cooperation.” Notably, Section 8 expressly contemplated that MTN would

 work with new IRGC partners outside of Iran: “MTN shall fully support cooperation regarding

 the aforementioned issues in South Africa.”

        210.    Thus, MTN officers, employees, and agents directly partnered with Qods Force

 operatives because when MTN “fully” cooperated on “security” matters with IRGC operatives

 and agents outside of Iran as it contractually promised to do, MTN was directly aiding Qods

 Force terrorists because IRGC personnel acting outside of Iran are Qods Force.

        211.    The Letter Agreement’s deliberate ambiguity through its repeated generalized

 references to “Iranian shareholders,” rather than the Iranian entities with which MTN Group was

 reportedly partnering, was itself an indication of, and evidence that, the Iranian shareholders in

 MTN Irancell were fronts, operatives, and agents for the IRGC, including the Qods Force.

 Indeed, the execution of the Agreement was deliberately designed to obscure each signatory:




        212.    The Letter Agreement did not merely obligate MTN Group to help the IRGC,

 including the Qods Force, source weapons in furtherance of the IRGC’s, including the Qods

 Force’s, “security” agenda. It also obligated MTN to both pay its new IRGC front partners as

 well as serve as, in effect, their financial manager:

       Section 2 required that MTN Group “agreed to put in trust twenty-one (21) percent of
        Irancell Consortium before Bank Melli as trustee.” Bank Melli is another IRGC,
        including Qods Force, front and has been sanctioned by the U.S. government.

       Section 3 required that MTN pay the IRGC, including the Qods Force, hundreds of
        millions of dollars in up-front license fees as a condition for becoming the new junior

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        partner in the Irancell joint venture, and that “MTN and Bank Melli shall be responsible
        for arranging project financing.”

       Section 7 set forth an additional catch-all provision designed to route additional money
        from MTN Group to the IRGC, including the Qods Force, and provided that: “[t]he costs
        and expenses incurred by Iranian shareholders” – i.e., Irancell’s two IRGC, including
        Qods Force, fronts – “if any, due to transfer of Irancell’s share to MTN shall be
        compensated by MTN.” On information and belief, MTN routed millions of additional
        dollars to the IRGC, including the Qods Force, under Section 7.

        213.    Although MTN was the IRGC’s, including Qods Force’s, junior partner in the

 MTN Irancell joint venture, the Letter Agreement nonetheless empowered MTN with the legal

 authorities it needed to effectively shut down the IRGC’s, including the Qods Force’s, ability to

 weaponize MTN Irancell as an instrument of terror. Most directly, MTN could simply

 immediately and unconditionally announce its plans to rapidly exit the joint venture.

        214.    MTN is also responsible for MTN Irancell’s conduct because MTN had (and

 continues to have) a veto power over most of the major decisions at MTN Irancell similar to the

 veto possessed by its joint venture partners, the terrorist fronts Bonyad Mostazafan and IEI. For

 example, Section 5.1 of the Agreement provides that:

        The resolutions on the below mentioned issues require the affirmative votes of
        MTN:

           Annual business plans and budgets of [MTN Irancell], including, but not
            limited to, medium and long term financing;

           Major acquisitions, partnerships, formation of joint ventures or consortiums;

           Discontinuation of business activities;

           Entering into any agreement with persons, individuals or entities that are
            directly or indirectly related to Non-Iranian or Iranian Shareholders;

           Charging the assets of the Company in any manner which could have
            significant impact on the Company’s ability to use or benefit from its assets in
            its ordinary course of business;

           Profit appropriates and dividend policy; and

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           Approval of annual accounts.

        215.    The Letter Agreement confirmed that MTN promised to provide other “off-the-

 books” value to the “Iranian shareholders” with whom MTN had partnered in MTN Irancell,

 which was itself another obvious reference to MTN’s support for the IRGC’s, including the Qods

 Force’s, terrorist enterprise. Section 9 provides that “for this agreement to be effective, it is

 necessary that the above-mentioned documents and related agreements be signed by MTN as

 well as to pay license fee and equity as provided in item 3 above [i.e., Section 3 of the

 Agreement] within 20 days from the signature of Addendum No. 1 to [sic] license agreement,

 simultaneously, the parties try to finalize the other relevant operational agreements.”95

        216.    MTN Group and its “Iranian shareholder[]” joint venture partners went to great

 lengths to keep the Letter Agreement a secret. The Letter Agreement was a “close hold”

 document at MTN Group and was only known to a select group of senior MTN Group

 executives because MTN understood that it memorialized an obviously illegal scheme between

 MTN Group and two fronts for the IRGC, including the Qods Force. MTN Group also

 conspicuously failed to obtain any sign-off from any of MTN’s elite, white-shoe global law

 firms, none of which would have approved the Letter Agreement.

        217.    MTN Group’s executives quickly got to work after MTN Group executed the

 Letter Agreement on September 18, 2005. Three days later, MTN’s President and CEO, Mr.

 Nhleko, circulated a memorandum, which was from himself, to five senior MTN executives (the

 “September 18, 2005, Memo”). Captioned “STRICTLY CONFIDENTIAL” and headed with




 95
   In the Letter Agreement, the number “1” in this sentence is handwritten into what was
 obviously a placeholder.
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 the subject “OVERVIEW AND WAY FORWARD – PROJECT SNOOKER,” the September

 18, 2005, Memo provided, in part, as follows:

        1. OPPORTUNITY
           Project Snooker still presents one of the most significant “virgin” mobile
           opportunities in the world. … [N]otwithstanding the significant challenges
           that lie ahead, [MTN] must continue to pursue this opportunity vigorously.

        2. CURRENT STATUS
           The signing of the various agreements this week [under duress] was to
           “book our place at the foot of the mountain – we still need to scale it to get to
           the peak.” It was a choice between inheriting an advanced arrangement
           [Turkcell revenue share and various negotiated agreements] or taking the
           chance that the window of opportunity may close on us whilst we try to
           reconstruct the deal and arrangements from scratch. We chose the former.

        3. RISK AND REWARD
           Snooker is “no normal country”. The Ministry of Defense, Government
           controlled banks and companies, together with Government essentially
           control all the commercial activity in the country. Consequently, a
           conventional mindset, orthodox financial and operational approach to this
           project is unlikely to provide us with an outcome that I would feel
           comfortable to recommend to the board on an investment of over €400 million
           [license fee and working capital] into Snooker. It is therefore imperative to
           think laterally on how we can secure the investment … in a manner that
           allows us to penetrate the market achieving an acceptable IRR [i.e., “internal
           rate of return,” a measure of investment profitability]. …

        4. TIMING
           The expectation is that the license fee should be paid within weeks and the
           operation launched commercially within a six month period. … The implied
           time scale can only be achieved through a well though out and coordinated
           project management structure up …

        5. PROJECT MANAGEMENT
           Given the size of the market, limited time to launch and all that has to be
           reviewed and completed before the MTN Group board ratifies the revised
           business plan, a special project structure must be put in place. …

               5.1.2   Finance Structure, project funding and ancillary loan
                       agreements
                       The Group CFO should take responsibility for this area, primarily
                       in the following categories:
                            Flow of license fee and working capital



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                              Appropriate security arrangements for funding of local
                               partners together with the loan agreements
                              Arranging the project finance …

        6. PROJECT STEERING COMMITTEE [sic]
           I will chair a project steering committee that will have the responsibility of
           meeting regularly to oversee both Phase I and Phase II until the project is
           passed onto the MD / COO. The Steering Committee shall comprise of:
           CEO
           COO
           CFO
           CTO
           Commercial Director
           Group Executive HR …

        8. CONCLUSION
           This is one of the most significant opportunities the Group will undertake
           and will require teamwork to achieve these objectives. [Emphases added;
           formatting adjusted.]

        218.   After MTN’s executive team successfully executed Project Snooker, the

 conservative-dominated, Qods Force-applauding Iranian parliament determined that MTN’s

 operation of Irancell would improve Iran’s “security.”

        219.   Project Snooker was successful not only because MTN pledged strategic

 cooperation with the Iranian government, but also because MTN made corrupt payments to

 government officials, at least one of which it structured as a sham consultancy payment. On

 December 11, 2006, MTN Group’s CEO instructed MTN Group’s CFO to “finalise all

 agreements with the consultants” who had “assisted the Company” in obtaining the Iran deal.

 The first agreement called for MTN Group to make a $400,000 payment for the benefit of an

 Iranian government operative. The payment was effectuated through an MTN Group subsidiary,

 MTN International (Mauritius) Limited, and sent to a consulting firm owned by the Iranian

 operative’s associate. On April 4, 2007, MTN wired the $400,000 to the putative “consultant.”

 MTN has never proffered a legitimate explanation for that payment.


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        220.    MTN’s second corrupt payment was to South Africa’s ambassador to Iran.

 MTN’s Iran Director has admitted to paying the Ambassador $200,000 in cash out of his own

 funds, which he tied to cooperation in helping MTN secure its equity interest in Irancell.

        221.    MTN Group’s senior executives knew of, and approved, MTN Group’s bribes to

 the IRGC, including Qods Force, agents who helped MTN secure the Irancell joint venture. For

 example, on December 11, 2006, MTN’s President and CEO, Mr. Nhleko, wrote a memorandum

 to MTN Group’s commercial director, in which Mr. Nhleko authorized MTN’s bribes (the

 “December 11, 2006 Memo”). The December 11, 2006 Memo provided, in full, as follows:




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        222.    The phrase “necessary payments” in the December 11, 2006 Memo was a direct

 admission that the consultancy payments were bribes. Indeed “necessary payments” has long

 been understood to refer to bribery.

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         223.    A host of other highly confidential internal MTN Group documents, leaked by a

 whistleblower, also confirm that MTN Group’s executives directed MTN’s financial,

 technological and operational support for MTN Irancell and the IRGC, including Qods Force,

 fronts that controlled Irancell. For example, a March 25, 2007 memorandum from MTN’s

 regional manager responsible for Iran, Chris Kilowan, and MTN’s CEO, Mr. Nhleko extensively

 documents MTN Group’s illicit activities (the “March 25, 2007 Memo”).

         224.    The March 25, 2007 Memo was intended to remain highly confidential, as

 reflected by what is set forth at the top of it:




         225.    In the March 25, 2007 Memo, MTN’s regional director responsible for Iran

 confirmed to MTN’s President and CEO that “it was the [President of South Africa’s] view that

 the matter of MTN has nothing to do with the Government of South Africa as it is a private

 business in which the Government of South Africa plays no role.”

         226.    In the March 25, 2007 Memo, MTN’s regional director responsible for Iran

 confirmed to MTN’s President and CEO that he had met with “Mr. Motakki” on behalf of the

 “Minister of Foreign Affairs.” On information and belief, “Mr. Motakki” was an IRGC,

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 including Qods Force, cut-out who was either relaying a message from the IRGC or acting as an

 IRGC operative himself. In the Memo, MTN’s regional director for Iran told its CEO that Mr.

 Motakki “re-iterated [the IRGC’s, including the Qods Force’s] understanding that MTN was

 allowed to replace Turkcell in exchange for defence co-operation,” and that “the office of the

 Supreme Leader” had personally intervened based upon the conclusion by the IRGC, including

 the Qods Force, “that there are significant defence benefits in it for [the IRGC, including the

 Qods Force] were MTN to be allowed into the process. On that basis [the IRGC, including the

 Qods Force] withdrew their objections [to a foreign company playing a role in the Iranian

 telecom sector] and allowed the process to proceed in MTN’s favour.”

        227.    In the March 25, 2007 Memo, MTN’s regional director responsible for Iran

 confirmed to MTN’s President and CEO that MTN had only become a candidate for the Irancell

 joint venture after it had promised to pledge to aggressively support the “security” needs of the

 IRGC, including Qods Force, fronts that controlled the Bonyad Mostazafan and IEI. He noted,

 as a “brief recap of history,” that “MTN only seriously got back into the [bidding] process” after

 its Iranian counterparties perceived that MTN would affirmatively aid their “security” needs.

        228.    In the March 25, 2007 Memo (emphases added), MTN’s regional director for Iran

 underscored to MTN’s President and CEO that MTN would need to serve as a weapons supplier

 for its Iranian counterparties if it wanted to win, and keep, its position in the joint venture:

        It would seem clear that the issue of defence co-operation has become a pressing
        matter with the government of Iran.

        If regard is had to the latest UNSC [i.e., U.N. Security Council] Resolution there
        is a clear move towards dealing with Iran’s conventional weapons capability. …
        Russia has traditionally played the role of key weapons supplier to Iran. Given
        recent developments …, [Russia] is actively looking at more secured suppliers of
        defence materials. … Because the entire political situation has now deteriorated
        significantly it is highly unlikely that the Government of South Africa will be
        prepared to sign any defence agreements or deliver defence materials to Iran.

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        Given the clear linkage that the Government of Iran has drawn between the
        defence assistance and allowing MTN into the country the likelihood that there
        will be serious blowback for MTN is increasing.

        Because there has been a recognition of the non-business imperatives that drove
        MTN’s entry into Iran, the Distant Thunder … projects have been developed to
        deepen MTN’s position, as opposed to and distinct from Irancell, inside Iran so
        that MTN would be able to rely on broad popular support for its continued
        presence. More recently a more mid to long range strategy has been proposed to
        ensure that MTN puts in place an exit strategy that would ensure that it not be
        caught in a situation where it loses its entire investment in the country. …

        I am preparing a document that spell out the range of actions that can be taken
        against MTN and will submit that to you as soon as it is complete. In summarized
        form it can be said that there is every possibility that MTN could be effectively
        isolated from Irancell with very little negative effect on Irancell.

        While 1 million subscribers will act as a defensive buffer for Irancell, it does not
        provide the same protection for MTN. This is because these subscribers are
        reflected locally as Irancell subscribers and not MTN. All the innovations are not
        sold as MTN innovations but as Irancell’s. …

        To give MTN a realistic chance to navigate through what is potentially going to
        be a difficult few months (if not years until the end of the current presidency in
        2009), I make the following recommendations:

        1. Implementation of Project Distant Thunder at the earliest opportunity. We
           could pre-empt some of the activity that is almost certain to be started in the
           public sphere against MTN. … (Dimension 1)

        2. Approval of the creation of the committee to pursue mid to long term
           strategies for MTN’s investment in Iran. (Dimension 2)

        3. Finalisation of the diplomatic support initiative. The first consultant is still
           waiting for the transfer of the agreed amount. This is causing considerable
           anxiety in his mind and going forward we are going to need his support. We
           still have not given the second consultant any indication whether we are
           seriously considering his request. He too is developing some anxiety and I
           have to field almost daily questions on it. (Dimension 3)

        229.    A November 10, 2007 memorandum from MTN’s regional manager responsible

 for Iran, Chris Kilowan, and MTN’s then-CEO, Mr. Nhleko further documented MTN Group’s

 open support for the illicit activities conducted by the fronts operating on behalf of the IRGC,

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 including the Qods Force, with whom MTN had partnered in Irancell, including MTN partners

 whom MTN nicknamed “Short John” and “Long John” (the “November 10, 2007 Memo”). On

 information and belief, the Iranian operative whom MTN derisively nicknamed “Short John”

 was an agent for the IRGC, including the Qods Forces.

        230.    The November 10, 2007 Memo was labeled “STRICTLY CONFIDENTIAL”

 in bright red bolded all-caps font and was titled “SUBJECT: OUTSTANDING ISSUES” in

 bolded all-caps black font. In it, MTN’s executive for Iran communicated to MTN’s CEO that:

        Pursuant to [our] last communication … I set out below the issues that I believe
        are still outstanding [] and will have an impact … on MTN’s investment. …

        2. FINALISATION OF CONTRACT WITH SHORT JOHN

           Subsequent to our last discussion on this matter [in early 2007] I did not do
           anything about the agreement, preferring to wait until December [2007] to do
           an agreement … I can certainly state that [Short John] has come to the party
           on every occasion that I called upon him. The fact that the quid pro quo that
           has threatened at one stage to be the primary stick with which we could be
           hit has now largely disappeared because of his efforts.

           The initial concessions on promised support for the revenue share issue was
           because of his direct involvement … With me out of the picture he will
           probably be the only friendly source of information and interaction for MTN
           on this side. I would recommend that MTN finalise arrangements with him
           and offer fair compensation commensurate with the huge role he has played
           right from the outset.

        3. RENEWED APPROACH BY LONG JOHN

           I have communicated this to you a few weeks ago and recently forwarded an
           SMS from him. The background to this new approach is centered in planned
           developments within the area that he is currently working. Whatever his
           motivations, it is not something that should be ignored. While he has very
           little power to do anything positive, he can be a destructive force or simply
           an unnecessary distraction. …

        6. PERSISTENT NEGATIVE VIEWS ABOUT SOME MTN EXPATS

           I beg your forgiveness if I sound like a record with a stuck needle but I …
           alert[] you to a serious risk to MTN’s investment. … In [Mr. Mokhber’s] view

                                                79
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               MTN made a mistake and inflicted a huge insult on Iran by placing [a woman]
               here [as Chief Operating Officer of MTN Irancell]. …

            (Bolded all-caps emphases in original; bolded italicized emphases added.)

            231.   In June 2018, South Africa’s anti-corruption police – called the “Hawks” – raided

 the offices of MTN and its outside counsel as part of an investigation into Irancell-connected

 bribery. Roughly eight months later, the Hawks also arrested the former Ambassador whom

 MTN had bribed. On information and belief, that investigation remains ongoing.

            232.   One reason MTN chose to become the IRGC’s, including the Qods Force’s, joint

 venture partner was the potential for enormous profits. As the Financial Times reported at the

 time in 2013, “[a]s the international community was weighing whether to impose yet more

 sanctions on Iran over its nuclear programme, [MTN President and CEO] Phuthuma Nhleko was

 making other plans. Instead of seeing a country with mounting political problems, Mr Nhleko

 saw a nation with relatively few mobile phone users. Iran, he reckoned, could quickly add 2.5m-

 3m new customers for MTN Group, the mobile phone company he was running in 2006.”96

            233.   After MTN secured its joint venture with two fronts for the IRGC, including the

 Qods Force, MTN’s President and CEO, Phuthuma Nhleko, “laughed off questions about the

 political risk of doing business with Iran.”97 As he chuckled in a discussion with investors after

 closing the deal with the Iranians, “[MTN] hadn’t budgeted for bomb shelters or anything like

 that.”98 MTN’s CEO’s choice to literally “laugh off” questions about the obviously dire risks

 associated with MTN’s new joint venture in Iran typifies MTN’s deliberate choice to align itself



 96
   Lina Saigol and Andrew England, Telecoms: Dealings in the Danger Zone; MTN of South
 Africa’s Ventures in Iran and Syria Have Dented Its Reputation and Rattled Shareholders,
 Financial Times (July 2, 2013) (“Saigol and England, Telecoms: Dealings in the Danger Zone”).
 97
      Id.
 98
      Id.
                                                   80
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 with anti-American terrorists as the cost of doing business as the IRGC’s, including the Qods

 Force’s, junior partner in the MTN Irancell joint venture.

            234.   MTN continued to pursue Project Snooker even after the U.S. Undersecretary of

 the Treasury told Turkish officials that Irancell was “fully owned” by the IRGC, including the

 Qods Force. Undersecretary Levey did so as part of a campaign in which he alerted every major

 western business and financial partner of the IRGC, including the Qods Force, about the inherent

 terrorism risks attendant to any transactions with fronts for the IRGC, including the Qods Force.

 On information and belief, Undersecretary Levey told MTN Group that Irancell was “fully

 owned” by the IRGC, including the Qods Force, and, by extension, that when Irancell operated

 outside of Iran, it was Qods Force operatives who were in charge.

            235.   MTN’s bribes and alliance with the IRGC, including the Qods Force, “is a saga

 that illustrates the extraordinary risks MTN has taken to profit from doing business with pariah

 states.”99

                   2.     MTN knowingly assumed a financial and operational role in the
                          Islamic Revolutionary Guard Corps’s, including the Qods Force’s,
                          terrorist enterprise

            236.   For more than fifteen years, MTN has served as a reliable joint venture partner for

 the IRGC, including the Qods Force.

            237.   From the course of negotiations with its IRGC, including Qods Force,

 counterparts in 2004 and 2005, MTN knew at all times that it was acting to benefit the IRGC’s,

 including the Qods Force’s terrorist agenda. MTN contractually agreed to benefit the “security”

 needs of its “Iranian shareholders” (a direct reference to the two fronts for the IRGC, including

 the Qods Force, with whom MTN agreed to serve as the junior partner in their shared joint



 99
      Id.
                                                   81
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 venture). MTN’s agreement with the IRGC, including the Qods Force, is attached hereto as

 Exhibit A.

        238.    According to the broad consensus of Iran experts, regional scholars,

 businesspeople, and former government personnel from the U.S. and allied nations, Iranian

 government references to “security”-related policies are widely-understood as a euphemism for

 the IRGC’s, Qods Force’s and Hezbollah’s foreign terror operations against regime enemies,

 most of all Americans, outside of Iran, such as the Joint Cell’s bombing campaign against

 Americans in Iraq. A broad range of sources, including statements from governments and the

 media, alerted MTN and ZTE to this consensus.

        239.    MTN knew, or recklessly disregarded, that its pledge to aid the IRGC’s, including

 the Qods Force’s, “security”-related efforts committed MTN to actively participating in the

 IRGC’s, including the Qods Force’s, terrorist enterprise against Americans outside of Iran,

 including in Iraq.

        240.    MTN remained committed to its IRGC, including Qods Force, allies even after

 withering U.S. pressure. For example, in or around 2010 or 2011, MTN representatives met with

 senior executive officials from the U.S. government. During these meetings, MTN

 representatives falsely assured the U.S. government that they were not helping the IRGC,

 including the Qods Force, or supplying them with any embargoed U.S. technology in violation of

 U.S. sanctions against Iran that are intended to deprive Iran the IRGC, including the Qods Force,

 of the money and technology useful to the Joint Cells’ shared terrorist enterprise. MTN provided

 the U.S. such false assurances even after “MTN ha[d] carried out orders from the regime to shut

 off text messaging and Skype during times of political protest, and reportedly ha[d] a floor in its

 Tehran headquarters controlled by Iranian security officials.”



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        241.    As the IRGC, including the Qods Force, joint venture partner, responsible for

 sourcing the most important technological items for modern terrorism – the communications,

 computing, and encryption technologies that were vital to attacking Americans – MTN assumed

 a key financial and operational role in the IRGC’s, including the Qods Force’s, terrorist

 enterprise, including their technological support of Hezbollah.

        242.    Under the structure of the MTN Irancell joint venture, the two fronts for the

 IRGC, including the Qods Force, that exercised 51% control of MTN Irancell – the Bonyad

 Mostazafan and IEI – had the mandate to promote the IRGC’s, including the Qods Force’s,

 “security” agenda, including the obligation to block any significant MTN Irancell-related

 transaction or commercial relationship unless it improved the IRGC’s, including the Qods

 Force’s, terroristic capabilities. Given the IRGC’s, including the Qods Force’s, view that MTN

 Irancell was essential to IRGC, including Qods Force, “security” operations, the terrorist fronts

 that controlled MTN Irancell (Bonyad Mostazafan and IEI) would not have approved any

 material MTN Irancell transaction unless they determined that, on balance, the particular

 transaction improved the IRGC’s, including the Qods Force’s, ability to execute terror operations

 as the central element of the IRGC’s “security” agenda. As a result, one may infer that every

 significant commercial transaction and business relationship that MTN Irancell entered into was:

 (1) vetted by the IRGC, including the Qods Force; and (2) determined by the IRGC, including

 the Qods Force, to advance the IRGC’s, including the Qods Force’s, “security”-related

 capabilities, which was a specific Iranian euphemism for external terror operations.

        243.    MTN was the lead target of a major public pressure campaign demanding that

 MTN exit its joint venture with the IRGC, including the Qods Force. For example, on March 7,

 2012, UANI “renewed its call on investors, affiliated institutions and potential customers to



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 cease all business with South African telecommunications firm MTN in response to MTN Group

 President and CEO Sifiso Dabengwa’s callous remarks and irresponsible posture on MTN’s

 partnership with sanctioned Iranian entities that are linked to the Islamic Revolutionary Guards

 Corps (IRGC).”100 MTN chose to stay in their alliance with the IRGC, including the Qods

 Force, in the face of such pressure and even after nearly every other multinational had exited

 such ventures.

        244.      From 2005 through the present, MTN’s joint venture with MTN Irancell, and

 MTN’s illicit transactions with MTN Irancell, the Bonyad Mostazafan, IEI, TCI, and the Akbari

 Fronts, each provided tens of millions, annually, in illicit funds, weapons, and operational

 support to Hezbollah, Jaysh al-Mahdi, and the IRGC, including the Qods Force, which the Joint

 Cells used to attack Americans in Iraq, including Plaintiffs and their loved ones.

                         a.        MTN assumed a financial role in the terrorist enterprise

        245.      MTN assumed a financial role in the terrorist enterprise by, among other things,

 bribing its IRGC, including Qods Force, joint venture partners to win the Irancell license in the

 first instance, paying large license fees, and generating revenue for MTN Irancell throughout the

 operation of the joint venture.

        246.      MTN’s Bribes to Terrorist Fronts. On information and belief, the recipient of

 MTN’s $400,000 wire was acting as a front, operative, or agent for the IRGC, including the

 Qods Force. On information and belief, the recipient of MTN’s $400,000 wire was a cut-out for

 MTN to route value to “Iranian shareholders,” who were the IRGC, including the Qods Force.



 100
    United Against Nuclear Iran (“UANI”), UANI Responds to MTN CEO’s Irresponsible
 Position on Iran and Renews Call for MTN to End its Business in Iran (Mar. 7, 2012); see
 Business Wire, UANI Responds to MTN CEO’s Irresponsible Position on Iran and Renews Call
 for MTN to End its Business in Iran (Mar. 7, 2012) (broad international publication of this UANI
 press release).
                                                   84
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 The IRGC, including the Qods Force, ensures that all economic value is shared amongst

 constituent parts of the organization, and would not have permitted such value transfer here

 relating to a contract decision-making process the IRGC, including the Qods Force, controlled

 without obtaining their share of the payment under the IRGC’s mafia-like revenue sharing

 practices.

        247.    MTN knew, or recklessly disregarded, that the recipient of MTN’s $400,000 wire

 was acting as a cut-out to allow money to flow through for the benefit of the IRGC, including the

 Qods Force, which had proved vital to MTN’s successful campaign to steal Turkcell’s license.

        248.    MTN also knew, or recklessly disregarded, that the recipient of MTN’s $400,000

 wire instructed MTN to wire the money, in U.S. Dollars, to a bank account in the U.A.E., and

 therefore that the recipient of MTN’s $400,000 wire was specifically acting as a pass-through for

 the benefit of the Qods Force because MTN’s $400,000 wire instruction, on information and

 belief, caused a bank in the United States to send $400,000 to a bank account controlled by a cut-

 out for the IRGC, including the Qods Force, acting in Dubai, which was the Qods Force’s most

 notorious financial and logistical hub in the Middle East outside of Iran.

        249.    On information and belief, MTN regularly makes similar sham “consulting”

 payments like one that MTN used to attempt to justify MTN’s $400,000 wire, and such

 payments benefitted fronts, operatives, or agents for the IRGC, including the Qods Force, in their

 MTN Irancell-related terrorist fundraising efforts from 2005 through today.

        250.    MTN’s License Fee Payments to Terrorist Fronts. After it corruptly secured

 the 15-year Irancell license, MTN Group Ltd. paid the IRGC, including the Qods Force, through

 the Bonyad Mostazafan and IEI, an approximately $300 million license fee when it secured its

 49% status as the junior partner in the MTN Irancell joint venture. This money benefited the



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 IRGC’s, including the Qods Force’s, terrorist enterprise, and the Qods Force received a

 substantial amount per standard IRGC, including Qods Force, practice.

           251.   MTN’s Funding of Terrorist Fronts through MTN Irancell Cash Flow. MTN

 reaped enormous profits from its involvement in MTN Irancell, and sourcing of copious amounts

 of dual-use technology to benefit MTN Irancell and the IRGC, including the Qods Force.

 Indeed, by 2013, “MTN has faced a huge headache in seeking to get dividends out of Iran

 because stringent sanctions prevent[ed] banks from moving cash easily in and out of the country.

 MTN … was virtually printing money in Iran, where it has a 46% share of the market.”101

           252.   Under MTN’s joint venture with its two IRGC, including Qods Force, front

 partners in MTN Irancell, for every dollar (or Iranian Rial) that MTN generated for the joint

 venture, MTN’s terrorist partners received 51 cents to invest in their terrorist enterprise. Thus,

 every dollar in profit for MTN Irancell inevitably helped fund Hezbollah’s coordination of a

 nationwide insurgency against Americans in Iraq, the IRGC’s, including the Qods Force’s,

 industrial-scale production of EFP components, advanced rockets, and other high-tech weapons

 for use by Shiite terrorists against Americans in Iraq, and the aggressive forward deployment of

 IRGC, including Qods Force, operatives throughout Iraq to partner with Hezbollah and Jaysh al-

 Mahdi to maximize the effectiveness of the Joint Cells maintained by the groups in Sadr City,

 Basra, and elsewhere.

           253.   Through its participation in MTN Irancell, MTN caused the IRGC, including the

 Qods Force, to realize tens of millions of dollars per year in income that the IRGC, including the

 Qods Force, used to fund terrorist operations against Americans in Iraq including, among other




 101
       Business Day Live, Iran Deals Forced MTN Boss to Quit (July 28, 2013) (emphasis added).
                                                  86
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 things, by funding Hezbollah and Jaysh al-Mahdi, including Jaysh al-Mahdi Special Groups

 Asaib Ahl al-Haq and Kataib Hezbollah.

                          b.     MTN assumed an operational role in the terrorist enterprise

            254.   As the IRGC’s, including the Qods Force’s, and Qods Force’s chief outside

 telecommunications partner, MTN helped the IRGC, including the Qods Force, grow their

 cellular-phone capabilities, evade American sanctions, and acquire embargoed U.S.-made

 communications technology.

            255.   From 2005 through the present, MTN has illegally sourced embargoed dual-use

 U.S. technology at the request of the IRGC, including the Qods Force, in coordination with

 MTN’s Qods Force handlers in the U.A.E., where MTN and the IRGC, including the Qods

 Force, coordinate their technical collaboration. Plaintiffs’ belief is based upon, among other

 things, information and inferences based upon statements made by one or more witnesses,

 MTN’s own internal documents, financial records, and investigations by major global media

 outlets.

            256.   For example, on June 4, 2012, Reuters reported on MTN leading efforts to

 illegally acquire hundreds of dual-use, military-grade embargoed communications, telecom, and

 computer technologies for the IRGC, including the Qods Force:

            A fast-growing Iranian mobile-phone network managed to obtain sophisticated
            U.S. computer equipment despite sanctions that prohibit sales of American
            technology to Iran, interviews and documents show. MTN Irancell, a joint
            venture between MTN Group Ltd of South Africa and an Iranian government-
            controlled consortium, sourced equipment from Sun Microsystems Inc, Hewlett
            Packard Co and Cisco Systems Inc, the documents and interviews show. MTN
            owns 49% of the joint venture but provided the initial funding. …

            Chris Kilowan, who was MTN’s top executive in Iran from 2004 to 2007, said in
            an interview … [that] MTN’s parent company, MTN Group, was directly
            involved in procuring U.S. parts for MTN Irancell, which launched in 2006 and
            is now Iran’s second-largest mobile-phone operator. “All the procedures and
            processes around procurement were established by MTN,” he said. He said the
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             company agreed to allow its Iranian partners and MTN Irancell to set up a local
             Iranian company with the “basic” purpose of evading sanctions on Iran. …

             Reuters provided MTN with the names of four current MTN Group executives
             believed to have knowledge of the procurement of U.S. parts by MTN Irancell.
             MTN declined to make any of them available for interviews. …

             Kilowan’s claims regarding how MTN Irancell obtained U.S. parts for its network
             … were supported in documents and numerous interviews conducted by Reuters.
             For example, Reuters reviewed an 89-page MTN Irancell document from 2008
             that shows the telecom carrier was specifically interested in acquiring embargoed
             products. … In a section on managing product-support agreements for third-party
             equipment, the MTN Irancell document states, “This should include embargo
             items.” The document also includes lists of network equipment, including Cisco
             routers, Sun servers and products from HP. …102

             257.   Reuters “documented … how Iranian telecoms - including the MTN joint venture

 – [] managed to obtain embargoed U.S. computer equipment through a network of Chinese,

 Middle Eastern and Iranian firms.”103 As Reuters put it, “[t]he Turkcell-MTN case offers further

 evidence that there are always companies willing to do business with a country even when it

 becomes an international pariah.”104

             258.   MTN’s technical assistance to the IRGC, including the Qods Force, had a

 devastating impact on the U.S. government’s ability to protect Americans in Iraq from Shiite

 terrorist attacks. By helping to revolutionize the IRGC’s, including the Qods Force’s,

 communications abilities, MTN helped the IRGC, including the Qods Force, better conceal their

 communications with their Hezbollah and, through Hezbollah, Jaysh al-Mahdi, proxies inside

 Iraq to make it nearly impossible for American counter-terror forces in Iraq to monitor the Joint




 102
    Steve Stecklow, Exclusive: Iranian Cell-Phone Carrier Obtained Banned U.S. Tech, Reuters
 (June 4, 2012) (emphasis added; formatting adjusted).
 103
     Steve Stecklow and David Dolan, Special Report: How An African Telecom Allegedly Bribed
 Its Way Into Iran, Reuters (June 15, 2012).
 104
       Id.
                                                    88
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 Cells attacking Americans in Iraq. By making it easier for Hezbollah and Jaysh al-Mahdi to

 securely communicate with one another, MTN made it easier for the Joint Cells to attack

 Americans – and they did. MTN accomplished this “communications concealment” assistance

 to the IRGC, including the Qods Force, which flowed through to Hezbollah and, through

 Hezbollah, to Jaysh al-Mahdi, in at least three ways.

        259.    First, MTN acquired advanced American-made encryption technologies for the

 IRGC, including the Qods Force, their agent, Hezbollah, and Jaysh al-Mahdi. The terrorists used

 the MTN-acquired, U.S.-manufactured and embargoed technologies to encrypt their

 communications.

        260.    Second, MTN sourced hundreds of advanced American smart phones each year

 that were intended to be used, and were in fact used, by the IRGC, including the Qods Force for

 terrorism. On information and belief, the American smart phones sourced by MTN for the

 IRGC, including the Qods Force, were used to increase the effectiveness of Hezbollah-designed,

 IRGC-funded (including and Qods Force-funded) IEDs and EFPs in Iraq by making it easier for

 terrorists to detonate them and harder for American counter-IED technologies to prevent their

 detonation by “jamming” them.

        261.    Third, MTN lied to the U.S. government about its ongoing cooperation with and

 work on behalf of the IRGC, including the Qods Force. This furthered the Joint Cells’ terrorist

 campaign by preventing the U.S. government from knowing and understanding what technology

 the terrorists had, and when.

        262.    Even as of the date of this Complaint, MTN continues to dissemble about its

 relationship with the IRGC, including the Qods Force. Even after the United States designated

 the IRGC as a Foreign Terrorist Organization on April 19, 2019, MTN stubbornly refused to



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 acknowledge any need to change its business practices in Iran for more than a year, instead

 rolling out a host of new offerings designed to increase revenue flowing to MTN Irancell and,

 by extension, the two newly-designated-FTO-fronts that controlled MTN Irancell.

        263.    Finally, on August 6, 2020 – 475 days after the IRGC’s FTO designation – MTN

 announced that it was exiting the Middle East. Even then, however, MTN refused to condemn

 the IRGC, including the Qods Force, refused to promise a rapid withdrawal from its terrorist

 joint venture, MTN Irancell, and merely offered a blithe promise that MTN would eventually

 exit MTN Irancell in four or five years (i.e., sometime in 2024 or 2025).

        264.    On information and belief, MTN declined to immediately exit its joint venture

 with two FTO fronts after the IRGC’s FTO designation because MTN determined that MTN

 would lose, at least, hundreds of millions of dollars if MTN rapidly withdrew from its MTN

 Irancell joint venture with the Bonyad Mostazafan and IEI.

        265.    As alleged, MTN knew, or recklessly disregarded, that it was dealing with Qods

 Force fronts, but given the IRGC’s designation as an FTO in 2019, MTN’s ongoing relationship

 with two widely recognized IRGC fronts proves MTN deliberately chose to join the IRGC’s,

 including the Qods Force’s, terrorist enterprise against America, which MTN self-evidently

 views as an acceptable cost of doing business.

        266.    MTN’s ongoing refusal in 2021 to immediately and unconditionally (as in weeks,

 not months or years) exit its joint venture with fronts for the IRGC, including the Qods Force,

 even after the IRGC had been designated as an FTO in 2019, and nearly every other

 multinational corporation had withdrawn from such joint ventures with Iranian fronts nearly a

 decade earlier, further confirms that MTN meant to support Iran-backed terror all along. The

 following history of the UANI’s public pressure campaign demonstrates this.



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       267.   On January 25, 2012, Ambassador Wallace, the president of UANI, wrote to

 Sifizo Debengwa, MTN Group’s then-President and CEO:

       [UANI] is writing to express its concern about the ongoing business of [MTN] in
       Iran. Recently, UANI launched its “Tech and Telecom Campaign” to highlight
       the Iranian regime’s misuse of technology … In response …, a number of
       corporations, including Huawei and Nokia Siemens Networks (“NSN”), have
       curbed their business activities in Iran. We now ask MTN to do the same.

       The reasons for this call by UANI are manifold. … Iran [] remains the world’s
       leading state sponsor of terrorism and has sponsored notorious terrorist groups
       like … Hezbollah…. Iran’s … terrorist activities should be reason enough for
       a corporation to pull out of Iran….

       MTN is a 49% shareholder of MTN Irancell, the second largest mobile phone
       network operator in Iran. The majority 51% is in turn owned by the Iranian
       regime, which has exploited the network and telecommunication technology of
       MTN Irancell …

       In addition, in 2009 MTN Irancell bought a mobile-positioning center from
       Ericsson. Iranian security forces have reportedly utilized such mobile positioning
       centers to pinpoint the location of mobile telecommunications users. (Bloomberg,
       "Iranian Police Seizing Dissidents Get Aid of Western Companies," 10/30/2011)
       More recently, MTN Irancell reportedly purchased a system from Creativity
       Software that enables Iranian security forces to monitor the location of cellular
       phone users. The system also stores data and can generate reports about a person’s
       movements. (Bloomberg, "Iranian Police Seizing Dissidents Get Aid of Western
       Companies," 10/30/2011) As co-owner of MTN Irancell, MTN certainly had
       knowledge of such purchases and by collaborating directly with the Iranian
       regime, MTN is complicit in facilitating the abuses that occurred … as a result.

       In short, it appears that MTN is taking advantage of the fact that responsible
       corporations are leaving Iran, and eagerly filling the void. MTN must end its
       irresponsible business practices in Iran and, in particular, its direct collaboration
       with the Iranian regime. … [Emphasis added.]

       268.   On February 29, 2012, Ambassador Wallace followed up on his January 2012

 letter to MTN Group’s President and CEO:

       [MTN] fails to respond to evidence of Iran’s routine use of telecommunications
       equipment to illegally track, monitor, and in some cases arrest, detain, and torture
       Iranian citizens opposed to the current extremist regime. More specifically,
       [MTN] also fails to refute the fact that the Iranian regime, the majority 51%
       holder of Irancell and partner of MTN, “has exploited the network and

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           communications of peaceful dissidents in Iran.” Finally, [MTN] fails to respond
           to UANI’s inquiries regarding multiple reports of collaboration by MTN Irancell
           and the Iranian regime … MTN is a 49% shareholder of MTN Irancell, and the
           majority 51% is in turn owned by the Iranian regime. This means that MTN’s
           “partner” in MTN Irancell is the Iranian regime. …

           In addition, given MTN’s relationship with the regime, MTN’s assertion that it is
           a “liberating force,” “enriching the lives” of Iranians is completely untenable.
           MTN cannot reasonably assert that the substantial profits it earns from its growing
           role in the Iranian telecommunications market are merely a byproduct of a larger
           altruistic goal to empower the citizens of Iran and the developing world….

           Recent reports in the news media regarding MTN’s Iran business further belie
           MTN’s assertion that its business in Iran is altruistic or ethical in nature. For
           example . . . . MTN Irancell’s other Iranian partial owner is the Mostazafan
           Foundation of Islamic Revolution, a “Bonyad” organization directly supervised
           by Iran’s Supreme Leader. Both IEI and Mostazafan are closely linked to the
           regime’s radical [IRGC]. … [Emphases added.]

           269.   MTN’s President and CEO responded to UANI in an on on-the-record interview

 with the Wall Street Journal, during which MTN’s CEO stated: “What the [Iranian] government

 decides to do with that equipment is not in our hands. We cannot say who they listen to and

 when.”105 In the same 2012 article regarding that interview, the Journal reported that:

           MTN Group Ltd. will leave Iran only if South Africa applies sanctions on the
           country, Chief Executive Sifiso Dabengwa said Wednesday. The South African
           telecom company is facing international pressure to pull out or scale down
           operations in Iran … “We are guided by South African government policies
           internationally,” Mr. Dabengwa said, noting that the country hasn’t imposed
           sanctions on Iran. MTN has a 49% stake in Iran’s second-largest mobile-phone
           operator and derives 21% of its subscriber base from Iran, according to recent
           figures from MTN. …106

           270.   On March 7, 2012, Ambassador Wallace, the president of UANI, publicly

 responded:

           The facts are clear: MTN is partners with sanctioned Iranian entities with direct
           links to the IRGC. …If MTN does not respect its own stated corporate values, it

 105
    Devon Maylie, South African Wireless Firm MTN To Remain In Iran, Wall St. J. (Mar. 8,
 2012) (emphasis added).
 106
       Id. (emphasis added).
                                                   92
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          should … respect the will of the international community, which is working to
          isolate the Iranian regime in response to its … support of global terrorism …
          Investors and affiliated institutions should immediately divest themselves from
          MTN until MTN ceases its complicity with the Iranian regime.107

          271.    On March 12, 2012, MTN Group issued a press release that stated, in part: “On

   human rights, the [MTN] group takes direction from and adheres to the policies of both the

   South African government and the United Nations. South Africa has human rights enshrined as

   fundamental principles within its Constitution.” MTN then shamefully invoked South Africa’s

   history of apartheid to suggest that it was a responsible corporate citizen, stating: “Given South

   Africa’s own recent history and our struggle against apartheid, the centrality of civil rights is at

   the core of our culture as a company and as individuals.” MTN further defiantly – and absurdly

   – claimed that there was no “evidence that the Iranian government has used the data [MTN]

   collected [and shared with the IRGC via Irancell] to identify and locate citizens or dissidents.”

          272.    After issuing its press release, MTN subsequently scrubbed any presence of it

   from MTN’s websites. On information and belief, MTN did so because it knew that its

   statement was a damaging admission that MTN believed that although it was violating U.S. law,

   it could not be held accountable under U.S. law regardless of what it did with Iranian terrorist

   fronts like the IRGC, including the Qods Force.

          273.    On March 14, 2012, Ambassador Wallace, the president of UANI, replied to

   MTN’s March 12, 2012, press release, in part by stating:

          If MTN was serious about respecting human rights, it would withdraw from Iran
          … Respecting human rights would also mean not trying to whitewash what MTN
          is really doing in Iran. MTN is not a liberating force for the Iranian people, as it
          claims. On the contrary, MTN is partnered with sanctioned Iranian entities with


   107
      UANI, UANI Responds to MTN CEO’s Irresponsible Position on Iran and Renews Call for
   MTN to End its Business in Iran (Mar. 7, 2012) (emphasis added); see Business Wire, UANI
   Responds to MTN CEO’s Irresponsible Position on Iran and Renews Call for MTN to End its
   Business in Iran (Mar. 7, 2012) (broad international publication of this UANI press release).
                                                    93
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             direct links to the IRGC, and has provided the regime with location data on
             Iranian citizens … MTN must end its irresponsible business in Iran, and stop
             contributing to the regime's continual human rights violations.108

             274.   On March 28, 2012, Turkcell filed suit against MTN Group in United States

   District Court for the District of Columbia. See Complaint [Dkt. 1], Turkcell İletişim Hizmetleri

   A.Ş. and East Asian Consortium B.V v. MTN Group, Ltd. and MTN International (Mauritius)

   Ltd., No. 1:12-cv-00479-RBW, (D.D.C. Compl. Filed Mar. 28, 2012) (“Turkcell v. MTN”).109 In

   its complaint (at 1), Turkcell alleged that MTN “violat[ed] … the law of nations through bribery

   of sitting Iranian … officials and trading influence to steal the first private Iranian Global System

   for Mobile Communications (“GSM”) license (the “License”) from Turkcell,” which included

   MTN’s “promis[e] [to] Iran [MTN would source] defense equipment otherwise prohibited by

   national and international laws” and MTN’s “outright bribery of high-level government officials

   in both Iran and South Africa,” which “acts … deliberately resulted in Turkcell losing its

   rightfully-won valuable telecommunications opportunity and in MTN’s taking over the License.”

             275.   In its complaint (at ¶ 9), Turkcell alleged that, “[b]etween the end of 2004 and

   receiving the License in November 2005, MTN through ‘Project Snooker’ made at least five

   illegal bribes and trades in influence to government officials with the intention and belief that the

   bribes would cause the Iranian government to grant the License to MTN rather than Turkcell.”

            Paragraph 9(B) – labeled “Illicit Arms for the GSM License” – alleged that
             “MTN struck a deal to deliver ‘The Fish’ the Iranian Ministry of Defense in
             August 2004. ‘The Fish’ was a code name for a combination of military
             cooperation and big ticket defense equipment, including … frequency hopping
             encrypted military radios, sniper rifles, … radar technology, … and other defense

   108
      UANI, UANI Responds to MTN's Claims that it Adheres to UN Human Rights Policies (Mar.
   14, 2012); see Business Wire, UANI Responds to MTN’s Claims that it Adheres to UN Human
   Rights Policies (Mar. 14, 2012) (broad international publication of this UANI press release).
   109
      Turkcell subsequently voluntarily dismissed the case to pursue the matter in South Africa.
   See Notice of Voluntary Dismissal (Dkt. 47) and Minute Order (Dkt. 48) in Turkcell v. MTN, No.
   1:12-cv-00479-RBW (D.D.C. May 1, 2013).
                                                     94
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          articles—particular items including U.S. systems or components. This equipment
          was unavailable to Iran through legitimate means because of U.S. and
          international restrictions at the time. MTN officials … promise[d] delivery of the
          elicit [i.e., illicit] arms and technology in exchange for the License.”

         Paragraph 9(C) – labeled “Bribe of Iranian Deputy Foreign Minister” – alleged
          that “MTN promised in May 2005, and later paid through a sham consultancy, the
          Iranian Deputy Foreign Minister, Javid Ghorbanoghli, $400,000 in U.S. dollars
          for his efforts to politically undermine and destroy Turkcell’s position as the
          license-holder and to deliver the License to MTN.”

         Paragraph 9(D) – labeled “Bribe of South African Ambassador to Iran” – alleged
          that, “[i]n June 2005, MTN promised, and later paid, the South African
          Ambassador to Iran, Yusuf Saloojee, the equivalent of U.S. $200,000 to help
          MTN deliver on the nuclear vote and the weapons trafficking and to support MTN
          within the Iranian government. Ambassador Saloojee was integral to MTN’s
          ultimate success in securing the License.”

         Paragraph 9(E) – labeled “Bribes of Iranian Defense Organizations” – alleged
          that, “MTN promised the Iranian Ministry of Defense through its state-owned
          defense company Sairan (also known as Iran Electronics Industries or ‘IEI’) and
          the ‘Bonyad’ (one of the five Iranian quasi-independent ‘Charitable Foundations,’
          an organization integral to the Iranian defense establishment), that MTN would
          pay all of Sairan [i.e., the IEI’s] and the Bonyad’s 51% share of the €300 million
          license fee, plus its entire capitalization cost and a share transfer tax, in exchange
          for their assistance within the Ministry of Defense and with the Supreme Leader.
          MTN later paid these amounts. These promises and payments, made through
          sham loans MTN knew at the time would not be repaid, were essential to MTN’s
          takeover of Turkcell’s License.”

          276.   Turkcell’s complaint against MTN also specifically alleged that MTN had

   engaged with an IRGC-controlled company. For example, Turkcell alleged that to

          establish[] itself within Iran[,] … [MTN] reached out to … Mr. Mohammed
          Mokhber, the Deputy President of a major “charitable foundation” controlled by
          the Supreme Leader of Iran, known as the Bonyad Mostazafan (“the Bonyad”),
          which is … controlled by the Iran Revolutionary Guard Corps, the Iranian
          military complex formed by Iran’s Supreme Leader Ayatollah Ali Khamenei,
          which is believed to control approximately one third of the Iranian economy. …
          The Bonyad reports directly to the Supreme Leader and MTN was confident that
          its relationship with Mr. Mokhber and the Bonyad he controlled provided direct
          access to the Supreme Leader. The Bonyad is well known for engaging in
          “Iran’s shadow foreign policy.”




                                                   95
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   Id. ¶ 65 (emphasis added; citations omitted).110

          277.    Turkcell’s complaint against MTN alleged that MTN’s senior executives,

   including its CEO, met with Iranian agents in South Africa (whom, Turkcell alleged, MTN

   invited to South Africa on a “trip” that “MTN funded”), during which time MTN’s executives

   “[t]ogether [] promised [the Iranian agents] that South Africa would deliver ‘heaven, earth, and

   the fish,’ meaning whatever military equipment [Iran] desired.” Id. ¶ 93. Turkcell continued:

   “The entire trip was organized and coordinated by MTN so that they could corruptly induce the

   Iranian government to eliminate Turkcell … and replace it as the owner of the GSM

   opportunity.” Id.

          278.    On April 5, 2012, the Mail & Guardian Centre for Investigative Journalism in

   South Africa published a detailed expose on MTN’s partnership with Iranian terrorists, titled

   “Iran ‘Puts the Screws’ on MTN,” which reported that MTN “fac[ed] a storm over claims that it

   helped the Iranian government in 2009 and 2010,” and reported that:

          Sources close to MTN’s Iranian business have [] described an Orwellian
          environment in the company’s Tehran headquarters, where it allegedly gave
          military intelligence officials “open” access … [S]ources claimed:

             Because MTN Irancell and its data centre were part-owned by the Iranian
              military, subscriber data was shared “on a collegial basis” with the
              intelligence sector;




   110
      Similarly, Turkcell also alleged (at ¶ 86), that “[t]hroughout 2004 and 2005, MTN regularly
   met with … the Bonyad [Mostazafan] and Sairan [i.e., IEI],” during which time MTN’s “goal
   was to entice those entities to support MTN and abandon Turkcell, on the promise that MTN had
   more to offer than Turkcell.” Turkcell v. MTN Complaint at ¶ 86. Turkcell continued: “The
   Bonyad and [IEI] responded exactly as MTN planned: They not only used political leverage to
   increase delay and shift Turkcell’s regulatory requirements, but also they directly began
   disengaging from their relationship with Turkcell. After mid-2005, the Bonyad and [IEI]’s
   involvement with Turkcell was merely a charade along the path to forming its venture with
   MTN.” Id. ¶ 86.
                                                      96
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           A shadowy “second floor” in MTN’s building was populated by military
            intelligence officials, the volunteer militia known as the Basij (“morality
            police”) and clerics;

           During the 2009 and 2010 Green movement protests, men from the second
            floor, accompanied by Irancell chief executive Alireza Dezfouli, allegedly
            approached data warehouse staff regularly to demand detailed records for
            individuals;

           In one case, they demanded the number of a known Green Party activist, who
            could not be reached after his information had been given to military
            intelligence; and

           Third parties listened in to staff calls over Irancell SIMs and would intervene
            and demand that the staff speak in English and not in other South African
            languages. …

        [Turkcell’s lawsuit] accuses MTN of bribing South African and Iranian officials,
        facilitating weapon trade agreements between the two countries and influencing
        South African foreign policy … in a bid to stop Turkcell from being awarded a
        second cellular network licence in Iran. … MTN is a 49% shareholder in
        Iran-cell. Fifty-one percent is held by an Iranian state-linked consortium, which is
        dominated by a subsidiary owned by the defence ministry known as Sairan, or
        Iran Electronics Industries. Sairan is subject to US and European Union sanctions
        that target proliferators of “weapons of mass destruction”. It also holds a share in
        consortium Arya Hamrah, which owns and runs MTN Irancell’s data centre that
        houses the company’s servers and hardware. …

        Military intelligence
        The sources familiar with MTN’s Iranian operations said that, because of these
        ownership structures, Irancell readily gave information about subscribers to
        intelligence officials. … One of the sources said: “MTN’s data centre in Iran is
        effectively run by the military and military intelligence. None of the intelligence
        organisations needs to go through normal procedures to access subscriber data
        and track individuals.”

        Describing the climate at MTN’s headquarters, a senior official said it was
        dominated by the presence of Iran’s military intelligence officials and the
        “morality police”.

        “There was a tea lady who just stood at the printer all day. Her job was to watch
        us.” The woman, understood to be a member of the “morality police”, would
        scold female staff whose clothing was considered too revealing and signalled her
        displeasure over “inappropriate” behaviour.



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               Communicating by email, the source said: “The people on the second floor are
               from military intelligence and the Basij and some clerics. They oversee the
               intelligence and moral activities of the employees of Irancell. All emails,
               telephone conversations and SMSes of employees are monitored on an ongoing
               basis. This is then exposed to MTN against the threat that they will kick out MTN
               when they need concessions from it.”

               The staffer described how men from the second floor would accompany Dezfouli
               to collect data on individuals and political dissidents: “On several occasions
               someone from the second floor and [Dezfouli] would come to the managed
               services group and say ‘give us all the details for this number’, and they would
               have to.” The staffer said subscription and location data and call and SMS
               histories were handed over. …111

   On information and belief, the Mail & Guardian’s investigative report accurately described

   operations at MTN Irancell.

               279.   Shortly before the Mail & Guardian’s investigative piece was published, MTN

   issued a written statement to the Mail & Guardian from MTN Human Resources Head Paul

   Norman that was replete with falsehoods designed to conceal MTN’s ongoing joint venture with

   the IRGC, including the Qods Force, including MTN’s awareness that such a business

   partnership could conceivably result in violence. In that statement, MTN’s head of HR stated:

               MTN’s role in Iran is mostly as a technical partner. It is a non-controlling
               shareholder. Fewer than 30 MTN expats (not all South African) are employed in
               Irancell, out of around 2000. … MTN works hard, with international legal
               advisors, to ensure that it is sanctions compliant. … Civic and human rights are
               vital to the company … We expect all our business partners to abide by our code
               of ethics. Mobile telecoms has been a force for political and economic liberation
               … But we accept the ethical complexities around telecoms in this new
               environment, and the potential for their manipulation for unethical means.112

               280.   MTN remained defiant even though nearly every other major multinational

   corporation exited their own joint ventures with fronts for the IRGC, including the Qods Force,



   111
      Craig McKune and Sharda Naidoo, Iran ‘Puts the Screws’ on MTN, Mail & Guardian (Apr. 5,
   2012) (emphases added).
   112
         Id.
                                                      98
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   after the Bush and Obama administration ramped up sanctions enforcement in the 2000s. As

   Ambassador Wallace explained in May 2012,

               despite the action of other responsible telecommunication companies, South
               African telecom company MTN continues to openly partner with sanctioned Iran
               entities affiliated with the brutal Iranian regime. Companies like MTN deserve
               the condemnation of the American public and concerned citizens worldwide as
               well as the attention of this Congress, which should investigate MTN`s
               collaboration with the Iranian regime. Nevertheless, UANI will continue to
               educate citizens and apply pressure against recalcitrant companies that pursue
               short-term profits at the expense of global security.113

               281.   Even after a decade of Iran-backed terrorism against the United Sates, MTN’s

   President and CEO told interviewers in 2013 that the company had no regrets about doing

   business with the Iranian and Syrian regimes that sponsored anti-American terror. As the

   Financial Times reported at the time, “[y]et [MTN’s CEO] Mr Dabengwa says MTN has few

   regrets about entering Iran or Syria and includes them among countries that will be important to

   MTN’s growth. ‘The starting point for entering frontier markets is the business case. The other

   risks, we can manage,’ he says.”114 This view reflected MTN’s corporate DNA that emphasizes

   taking risks that the rest of the industry thinks are too great: “Venturing into areas where others

   might fear to tread is a characteristic that has been at the heart of MTN’s rapid expansion since it

   was established in 1994, the year South Africa held its first democratic election.”115

               282.   As the Financial Times reported in 2013, even the prospect of “deadly conflict”

   did “little to diminish MTN’s appetite for risk.”116 Indeed, MTN’s CEO admitted, in effect, that

   MTN believed that American lives in Iraq and Afghanistan did not count in MTN’s calculations.



   113
         Wallace May 17, 2012 Testimony (emphasis added).
   114
         Saigol and England, Telecoms: Dealings in the Danger Zone.
   115
         Id.
   116
         Id.
                                                      99
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   Specifically, commenting on how MTN operates in conflict zones, MTN’s President and CEO

   stated: “I would say, is our presence there enhancing anybody’s position in this conflict? That,

   for me, would be the test. If you could turn around and say our presence there is enhancing the

   government’s position or it’s enhancing the other side’s position, then I guess it’s an issue.

   Walking out today is not an option.”117

               283.   On or about November 2012, the Treasury Department announced additional

   sanctions targeting the IRGC’s, including the Qods Force’s, use of the telecommunications

   industry to help inflict violence upon innocent civilians. As was reported in real time by the

   South African media, MTN understood that these new Treasury sanctions punished MTN’s

   counterparty for its support of terrorism. For example, according to the South African financial

   publication Fin24, these “[s]anctions announced … by the US treasury against Iranian

   individuals and companies have led to panic at mobile operator MTN,” because MTN “believed”

   that the Treasury announcement “target[ed] 17 individuals believed to be related to human rights

   abuses by the Iranian government, as well as to supporting terrorism and the Islamic

   Revolutionary Guard.”118 As Fin24 reported at the time, “the mobile operator [was] concerned

   sanctions will cause a hardening of attitudes in the US against the company,” which was

   problematic for it as “MTN [was] being sued in the US for allegedly bribing Iranian officials to

   obtain an operating licence, while it [was] negotiating with the US treasury to allow the operator

   to expatriate its cash profits from Iran before the Iranian rial completely bottom[ed] out.”119




   117
         Id.
   118
         Fin24, Panic at MTN Over US Treasury Sanctions (Nov. 11, 2012).
   119
         Id.
                                                   100
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               284.   Incredibly, even after MTN understood the Treasury Department to be

   sanctioning its business partners in Iran for sponsoring terror, MTN sources still complained to

   the media about the audacity of the United States expecting MTN to follow U.S. law. As one

   anonymous “MTN source[]” complained to Fin24 that “[t]his is a [South African] company that

   should not be subjected to US foreign policy decisions.”120

               285.   By the end of 2012, MTN was nearly alone (joined by ZTE, among others) as one

   of the few large multinational corporations that remained willing to work – openly or

   surreptitiously – as an IRGC, including Qods Force, joint venture partner. As Nathan Carleton,

   communications director for UANI, summed it up at the time “MTN stands out as one of the

   single most irresponsible businesses in the world and should be ashamed of the depths it has

   gone to in pursuit of profit.”121

               286.   MTN is virtually alone in the corporate world as a multinational corporation that

   rarely explicitly and unambiguously condemns terrorist violence against Americans, for the

   obvious reason that openly condemning anti-American terror would anger MTN’s joint venture

   partners in Iran. Instead of expressing any sympathy for Americans killed and maimed in Iraq

   and Afghanistan – which, on information and belief, MTN never publicly did prior to being sued

   by victims of Taliban terrorism in 2019 – MTN instead showered its business partner, Ayatollah

   Khamenei, with adulation. For example, MTN Irancell was the lead sponsor of an Ayatollah-

   backed contest, which MTN Irancell as offering a chance “to visit the Supreme Leader of the

   Islamic Revolution Ayatollah Seyyed Ali Khamenei during [the competitors’] stay in Tehran.”122



   120
         Id. (emphasis added).
   121
         Id.
   122
      Tehran Times, Reciters From 75 Countries to Participate in Tehran Quran Competition (May
   14, 2015), 2015 WLNR 14128237.
                                                     101
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                  3.      MTN’s joint venture with the Islamic Revolutionary Guard Corps,
                          including the Qods Force, comports with its historical business
                          practices in international markets

          287.    MTN’s conduct above reflected a willingness to support America’s enemies as a

   way to increase profits in Iran.

          288.    MTN Aided Terrorists in Afghanistan. While MTN Group was devising a plan

   to maximize its profits from its IRGC, including Qods Force, joint venture partner, the same

   MTN Group management team was working to obtain business in Afghanistan. In 2006, MTN

   entered the Afghan market, and quickly established itself as the leading telecommunications

   company there through its embrace of its joint venture partner’s ally, the Taliban, which at all

   relevant times was a Specially Designated Global Terrorist.

          289.    Since entering the Afghan telecom market in 2006, MTN has grown to a

   dominant position by paying off the terrorists. On information and belief, MTN made

   “protection payments” to the Taliban (including the Haqqani Network) of approximately $2,000

   per month per cell tower, and at that rate MTN has paid the Taliban (including the Haqqani

   Network) more than $100 million in protection money since it entered Afghanistan. MTN has

   therefore provided millions in payoffs each year to anti-American terrorists in Afghanistan.

          290.    As it did in Iraq, MTN also provided direct operational support to anti-American

   terrorists targeting Americans in Afghanistan. MTN did so by covertly working with the Taliban

   to coordinate the shutdown of cell phone towers in a manner that was timed to benefit Taliban

   offensive operations against Coalition forces.

          291.    MTN Aided the IRGC’s Terroristic Violence Against Iranian Pro-

   Democracy Demonstrators. MTN enabled the terroristic violence deployed by IRGC agents

   against peaceful pro-democracy and human rights protestors in Iran during the 2009 uprising

   popularly known as the “Green Revolution.”
                                                    102
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          292.    As the L.A. Times explained at the time, while Iran “brac[ed] for further

   confrontations between security forces and supporters of Mousavi …[,] [o]ne of the country’s

   main cellphone operators, Irancell, co-owned by South Africa’s MTN, warned customers [] that

   it would be suffering unspecified ‘technical’ problems over the next three days, which

   coincide[d] with the anticipated unrest.”123 MTN was lying to its customers and the world –

   there were no “technical” problems but, rather, simply the IRGC’s desire to shut down any

   avenue for mass democratic mobilization against it – which MTN happily obliged.

          293.    MTN went beyond merely lying to its customers when it shut down its network at

   the request of the IRGC. MTN actively aided the IRGC by helping it develop sophisticated tools

   for monitoring, eavesdropping, and surveilling targets. MTN’s technical services for the IRGC

   did not merely benefit its domestic regime suppression; the exact same functions also benefit

   foreign intelligence gathering, surveillance, and communications – critical competencies relevant

   to the success of a terrorist attack against Americans in Iraq.

          294.    MTN Aided Terrorists in Nigeria. MTN also aided violent actors in Nigeria.

   On or about October 26, 2015, the Nigerian Communication Commission fined MTN Group

   $5.2 billion for failing to meet a deadline to disconnect 5.1 million unregistered subscribers in

   Nigeria. Nigeria imposed the deadline on all cellular operators in the country due to evidence

   that unregistered phones were facilitating the activities of criminal gangs and terrorists, including

   Boko Haram. The requirements that MTN violated, the Wall Street Journal reported, were




   123
      Borzou Daragahi, Iran Court Warns Against Criticizing Proceedings, L.A. Times (Aug. 3,
   2009), 2009 WLNR 14945080.
                                                   103
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   “meant to combat terrorism.”124 MTN eventually negotiated the criminal fine down to $1.67

   billion and agreed to pay it in seven installments.

                   4.     MTN’s joint venture with the Islamic Revolutionary Guard Corps,
                          including the Qods Force, had a substantial nexus to the United States

          295.     MTN’s joint venture with the IRGC, including the Qods Force, and its related

   assistance for Hezbollah and Jaysh al-Mahdi, relied on significant contacts with the United

   States. MTN Group was a key player in orchestrating both those U.S. contacts and MTN’s

   material support to the IRGC, including the Qods Force, Hezbollah, and Jaysh al-Mahdi. At a

   high level,

          296.     MTN employs a top-down management structure in which MTN Group

   centralizes operational control over the functions performed by its various subsidiaries. During

   the relevant timeframe, MTN Group divided responsibility for its subsidiaries into six business

   groups; MTN Irancell (and Afghanistan) fell under the purview of the Middle East and North

   Africa (“MENA”) group. The MENA group’s functional units resided in Dubai and reported

   directly to senior management in South Africa.

          297.     MTN Group made the decision to enter a joint venture with the IRGC, including

   the Qods Force, in 2004, when it began plotting “Project Snooker” to eject Turkcell from the

   existing deal. As part of “Project Snooker” – negotiated and executed by MTN Group’s senior

   management – MTN ejected Turkcell from Irancell. MTN Group later rebranded Irancell as

   MTN Irancell.

          298.     Because MTN’s business model depends on unstable countries, including Iran,

   one of MTN Group’s core management responsibilities is to manage operational and political



   124
      Alexandra Wexler, Nigeria Reduces MTN Group Fine By $1.8 Billion, Wall St. J. (Dec. 3,
   2015).
                                                   104
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   risk in the countries MTN enters. Assessments of those risks occur both before the decision to

   enter a market – here, as MTN entered Afghanistan in the mid-2000s – and on an ongoing basis.

   In mitigating those risks – which here included designing a strategy for coordinating MTN’s

   operational support for the IRGC, including the Qods Force, in Dubai and Iran – MTN Group

   implemented a number of measures, including the “appointment of a Group crisis manager”; the

   implementation of “physical and staff security measures”; and “[c]ontinual monitoring of the

   political environment in operating countries.”125 MTN Group, not its operating subsidiaries,

   decided to do business with the IRGC, and Qods Force, fronts, and developed MTN’s strategy

   related thereto.

               299.   Those policies required MTN Group’s close supervision of MTN’s payments to

   Qods Force fronts, operatives, and agents, and MTN Irancell’s joint venture with the IRGC. As

   explained above, MTN Group made the decision – and instructed its subsidiary – to enter into a

   joint venture with the IRGC, including the Qods Force. MTN Group also approved its

   subsidiary’s practice of providing payments and operational support to the IRGC, including the

   Qods Force, including sourcing hundreds of sensitive dual-use items for IRGC, including Qods

   Force fronts, operatives, and agents inside and outside Iran in Dubai to benefit the Iranian

   IRGC’s, including Qods Force’s, terrorist enterprise. Those decisions had a substantial

   connection to the United States for the reasons explained below.

                             a.     MTN’s conduct targeted the United States

               300.   MTN’s provision of material support to the IRGC (including the Qods Force),

   Hezbollah, and Jaysh al-Mahdi, was expressly aimed at the United States. At all relevant times,

   MTN knew that the IRGC (including the Qods Force), Hezbollah, and Jaysh al-Mahdi were



   125
         Id.
                                                    105
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   targeting the United States. The Joint Cells operated by the IRGC (including the Qods Force),

   Hezbollah, and Jaysh al-Mahdi did not conduct an indiscriminate terrorist campaign that merely

   injured Americans by chance. Instead, these Joint Cells directed attacks at Americans with the

   specific intent of killing Americans in particular – so that they could inflict pain in the United

   States and influence U.S. policy. As the Treasury Department stated when it announced the

   Qods Force’s designation as a Specially Designated Global Terrorist in 2007, “the Qods Force

   provides lethal support in the form of weapons, training, funding, and guidance to select groups

   of Iraqi Shi’a militants who target and kill Coalition … forces….”126 And the IRGC’s (including

   the Qods Force’s), Hezbollah’s, and Jaysh al-Mahdi’s ultimate, shared, publicly stated goal was

   to effect a withdrawal of American forces from Iraq. Each terrorist attack that killed and injured

   Plaintiffs was part of that campaign of anti-American terrorism.

          301.    MTN’s decision to reach into the United States to obtain embargoed dual-use

   technology to aid the IRGC’s, including the Qods Force’s, terrorist enterprise was also expressly

   aimed at the United States. MTN knew, based on conversations with IRGC, including Qods

   Force, agents that the IRGC, including the Qods Force, viewed MTN’s assistance to the IRGC,

   including the Qods Force, as vital to Iran’s ability to protect the “security” of its Islamist

   revolution, i.e., external terror operations aimed to spread the revolution and counteract the Great

   Satan (the United States). MTN knew that the IRGC’s, including the Qods Force’s

   understanding of what was needed to protect Iranian “security” inherently involved terrorist

   violence against Americans as part of Iran’s effort to export its Islamist revolution and drive the

   United States out of the Middle East.




   126
      U.S. Treasury Dep’t, Fact Sheet: Designation of Iranian Entities and Individuals for
   Proliferation Activities and Support for Terrorism (Oct. 25, 2007).
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           302.    MTN also knew, based on conversations with U.S. officials, that it was assuming

   an active role in an IRGC, including Qods Force, plot to develop cash flow and to source vital

   dual-use components for the IRGC, including Qods Force, Hezbollah, and Jaysh al-Mahdi.

   MTN further knew of the critical importance that communications and computing technology

   plays for terrorists.

           303.     When MTN sourced embargoed technology that the United States had publicly

   declared could benefit IRGC, including Qods Force, efforts to kill others, it intentionally helped

   arm terrorists it knew were targeting the United States. Indeed, the IRGC’s, including the Qods

   Force’s, direct statement in their contract with MTN obligated MTN to help the IRGC, including

   the Qods Force, protect Iran’s “security.” MTN at all times knew or recklessly disregarded that

   “security” was a euphemism for IRGC, including Qods Force, terrorist operations outside of the

   territorial borders of Iran. When MTN obtained the technology requested by its partners in the

   IRGC, including the Qods Force, MTN targeted the United States by helping the terrorists

   improve their bombs, rockets, communications, and intelligence gathering.

           304.    Although MTN’s primary motivation for assisting the IRGC, including the Qods

   Force, was financial, it also intended to harm Americans in Iraq. One reason MTN cooperated

   with the IRGC, including the Qods Force, was to align itself with their effort to drive Americans

   out of the country. MTN had two distinct but related reasons for desiring that outcome.

           305.    First, MTN intended to harm Americans because it decided that was the

   necessary price of maintaining a good relationship with the Ayatollah and the IRGC, including

   the Qods Force. The Ayatollah and the IRGC, including the Qods Force, were explicit – both in

   public, and in conversations with MTN – that it wanted MTN’s financial and technical help in

   fighting against U.S. forces in particular. Thus, for MTN to achieve its business objectives vis-à-



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   vis its joint venture partners the Ayatollah and the IRGC, including the Qods Force, MTN

   needed to disassociate itself from the United States and prove that it could deliver value to the

   Shiite terrorist campaign against U.S. forces in Iraq.

             306.   Second, MTN Group’s support for attacks against U.S. citizens by the Joint Cells

   advanced the foreign-policy interests of MTN Group’s most important business partner, the

   Bonyad Mostazafan and Iran Electronics Industries, which MTN at all times knew to be IRGC,

   including Qods Force, fronts.

             307.   MTN Group depends on its partnership with the Ayatollah and the IRGC,

   including the Qods Force. As of 2012, Iran was MTN’s fastest growing market and its third

   largest source of revenue overall. Today, Iran is MTN’s second-biggest market by subscribers.

   MTN Group’s financial incentive to satiate the Ayatollah and its IRGC, including Qods Force,

   partners has led it to take a number of illegal steps to assist the Iranian regime. Three South

   African investigative journalists summarized these acts in an informative headline, “MTN [is] in

   bed with Iran’s military.”127

             308.   MTN Group cooperates with the Ayatollah, and the IRGC, and including the

   Qods Force, despite knowing that the Ayatollah, and the IRGC, and including the Qods Force,

   are, collectively, the world’s worst sponsor of anti-American terrorism.

             309.   MTN Group’s agreement to aid the IRGC, including the Qods Force, served the

   IRGC’s, including the Qods Force’s, agenda of inflicting pain on U.S. forces. It also fulfilled

   MTN Group’s contractual obligation to engage in “defensive, security and political cooperation”

   with its IRGC, including Qods Force, partner.128 Such cooperation offered MTN Group added



   127
         Craig McKune et. al, MTN In Bed With Iran’s Military, Mail & Guardian (Feb. 10, 2012).
   128
         MTN-Irancell Consortium Letter Agreement § 8 (Sept. 18, 2005), attached as Exhibit A.
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   motivation for becoming joint venture partners with the IRGC, including the Qods Force.

   MTN’s support for the IRGC, including the Qods Force, did not merely grow its profits by

   allowing it to obtain the Irancell business in the first instance; it also benefited MTN’s business

   by inflicting harm on an enemy (the United States) of MTN’s most lucrative business partner

   (the IRGC, including the Qods Force, fronts that controlled MTN Irancell) in order for MTN to

   curry Iranian favor to gain market share for a potentially uniquely lucrative telecom and

   communications market (Iran).

                          b.      MTN’s conduct relied on American contacts

          310.    MTN Group also connected MTN’s support of the IRGC, including the Qods

   Force, Hezbollah, and Jaysh al-Mahdi, to the United States by obtaining technology and vital

   operational support in reliance on U.S. contacts. MTN Group supplied technology and

   operational support for the MTN Irancell through various U.S. agents. In doing so, MTN Group

   tied MTN’s unlawful conduct to the United States in three ways.

          311.    First, MTN facilitated U.S. dollar bribes to IRGC, including Qods Force,

   operatives. MTN’s U.S. contacts were essential to the initial bribe that allowed MTN to obtain

   business in Iran in the first instance and MTN’s subsequent ability thereafter to assist the IRGC,

   including the Qods Force’s, terrorist enterprise.

          312.    MTN relied upon bank accounts in New York to complete the $400,000 wire that

   MTN sent to a recipient in 2007 who acted on behalf of the IRGC, including the Qods Force.

   That payment depended upon MTN’s use of bank accounts in New York, which cleared the

   dollar transaction.

          313.    MTN’s $400,000 wire to the cutout for the IRGC, including the Qods Force, also

   aided the IRGC’s, including the Qods Force’s, efforts to covertly obtain U.S. Dollars – the vital

   common currency of terrorist finance – to fund Joint Cell attacks against Americans in Iraq.
                                                   109
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           314.    Second, MTN obtained U.S. technology for the benefit of the IRGC,

   including the Qods Force. MTN’s U.S. contacts were essential to the technological assistance

   it provided to the IRGC, including the Qods Force, and Hezbollah and, through Hezbollah, to

   Jaysh al-Mahdi. At all relevant times, MTN relied upon U.S. agents to illegally source dual-use

   technology from the United States that benefited the Joint Cells’ terrorist enterprise.

           315.    As a condition of its contract with the IRGC, including the Qods Force, MTN

   promised to obtain embargoed U.S. technology to benefit the IRGC’s, including the Qods

   Force’s, terrorist enterprise.

           316.    Between 2009 and 2012, one or more purchasing agents working for the IRGC,

   including the Qods Force, in the U.A.E. and elsewhere, spending money provided by MTN

   Group, and acting at the direction of MTN Group and its IRGC, including Qods Force, ally,

   collectively wired more than $5,000,000 into the United States to associates in the U.S. who

   purchased embargoed technology for the IRGC’s, including the Qods Force’s benefit, which was

   then shipped from the U.S. to the U.A.E., where the IRGC, including the Qods Force, assumed

   possession of the technology for use in its terrorist enterprise.

           317.    On information and belief, MTN and/or MTN’s agents routed millions of dollars

   each year to its U.S. agents to pay for the embargoed dual-use U.S. technology it illegally

   obtained for the IRGC, including the Qods Force, via transactions through the New York

   banking system, by causing money to be wired to MTN’s U.S. agents to pay for MTN’s U.S.

   agents to illegally obtain embargoed dual-use U.S. technology for the benefit of the Qods Force’s

   terrorist enterprise.

           318.    Third, MTN obtained essential U.S. services that aided the IRGC’s,

   including the Qods Force’s, terrorist capabilities. MTN’s U.S. contacts were also key to its



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   ability to obtain technical support from U.S. persons operating inside America, without which

   the IRGC, including the Qods Force, could not have derived the terrorist benefits they did from

   MTN Irancell including the cash flow, network reliability, and enterprise computing benefits.

          319.    Between 2009 and 2012, and on information and belief ever since the mid-2000s,

   MTN Irancell relied upon one or more U.S. persons to service MTN Irancell’s enterprise-level

   computers and associated networks, relying on one or more U.S. persons to maintain MTN

   Irancell’s network remotely from the United States and, on at least one occasion, having such

   U.S. person travel to meet with MTN’s IRGC, including Qods Force, allies in the U.A.E. to

   provide training to the Qods Force. MTN, or agents acting at MTN’s direction, sourced

   embargoed technology for the IRGC’s, including the Qods Force’s, benefits from, among others,

   Akbari, Patco, MSAS, and TGO.

          320.    MTN routed millions of dollars each year to its U.S. agents, and sourced the

   sensitive dual-use U.S. technology, via transactions through the New York banking system, by

   causing money to be wired to MTN’s U.S. agents to pay for MTN’s U.S. agents to provide

   services, or obtain sensitive dual-use U.S. technology, for the benefit of the IRGC’s, including

   the Qods Force’s, terrorist enterprise.

          321.    On information and belief, MTN and/or MTN’s agents routed millions of dollars

   each year to its U.S. agents in order to pay for the technology support services it illegally

   obtained for the IRGC, including the Qods Force, via transactions through the New York

   banking system, by causing money to be wired to MTN’s U.S. agents to pay for MTN’s U.S.

   agents to illegally provide technological support to maintain MTN Irancell for the benefit of the

   IRGC’s, including the Qods Force’s, terrorist enterprise.




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          B.      The ZTE Defendants

                  1.     ZTE knowingly assumed a financial and operational role in the
                         Islamic Revolutionary Guard Corps’s, including the Qods Force’s,
                         terrorist enterprise

          322.    ZTE bid on and secured contracts worth hundreds of millions of dollars to install

   cellular and landline network infrastructure in Iran. ZTE knew or should have known that its

   counterparties were IRGC, including Qods Force, fronts, operatives, or agents. ZTE thereafter

   developed an elaborate system to fulfill those contracts using US-origin items, including dual-

   use goods controlled by the U.S. government due to their terrorism applications.

          323.    Before 2011, ZTE sourced U.S. technology for the IRGC, including the Qods

   Force. A Department of Justice Press Release dated March 7, 2017 (the “March 2017 Press

   Release”), announced ZTE’s guilty plea and agreement to pay the U.S. government

   $892,360,065, and stated that ZTE violated U.S. sanctions by sending U.S.-origin items to Iran.

   As detailed in the March 2017 Press Release, ZTE repeatedly violated export controls and

   illegally shipped U.S. technology to Iran.

          324.    ZTE’s scheme with the IRGC, including the Qods Force, for ZTE to obtain U.S.-

   origin goods and to evade export controls to get telecommunications technology into the hands

   of the IRGC, including the Qods Force, lasted from as early as 2010 and as late as 2016.

          325.    The cell phone technology and equipment ZTE sourced from inside the United

   States was subject to the embargo imposed and enforced by the United States Government. ZTE

   thus violated export controls designed to keep sensitive American technology out of the hands of

   IRGC, including the Qods Force.

          326.    Through this scheme, between January 2010 and January 2016, ZTE exported

   over 20 million U.S.-origin items to the IRGC, including the Qods Force, with a value of

   approximately $32,000,000, without obtaining proper export licenses.

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          327.    To evade the U.S. embargo, ZTE devised a scheme whereby an “isolation

   company” would be the vehicle used to hide ZTE’s shipment of prohibited U.S. technology to

   the IRGC (including the Qods Force).

          328.    In early 2011, when ZTE determined that the use of its original “isolation

   company” was insufficient to hide ZTE’s connection to the illegal export of U.S.-origin goods to

   the IRGC, including the Qods Force, ZTE re-evaluated its strategy. In September 2011, four

   senior ZTE managers signed an Executive Memo which proposed that ZTE identify and

   establish new “isolation companies” that would be responsible for supplying U.S. component

   parts necessary for projects in embargoed countries.

          329.    After an international publication in March 2012 publicly revealed ZTE’s sale of

   prohibited equipment to Iran, ZTE temporarily stopped sending U.S. equipment to the IRGC,

   including the Qods Force.

          330.    But in July 2014, ZTE began shipping U.S.-origin equipment to the IRGC,

   including the Qods Force, once again without the necessary licenses. Thus, properly understood,

   ZTE’s temporary pause was not the rumblings of a corporate conscience causing it to separate

   from terrorists but, rather, an effort to pause their support while they assessed whether they could

   get away with it. Once ZTE believed it could, on or about 2014, they resumed their support for

   the IRGC, including the Qods Force.

          331.    ZTE made these additional shipments by using a new “isolation company.” In the

   new version of the scheme, ZTE purchased and manufactured all relevant equipment – both

   U.S.-origin and ZTE-manufactured – and prepared them for pick-up at its warehouse by the new

   isolation company. The new isolation company then shipped all items to the Iranian customers.




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          332.    In a March 7, 2017, Settlement Agreement ZTE entered into with OFAC, ZTE

   admitted, in relevant part:

                  a. From on or about January 2010 to on or about March 2016, ZTE engaged in a
                     pattern or practice whereby ZTE sought to evade and circumvent the United
                     States Iran Transactions and Sanctions Regulations (“ITSR”) and willfully
                     violated U.S. economic sanctions regulations.

                  b. From on or about January 2010 to on or about March 2016, ZTE exported,
                     sold, or supplied United States goods to Iran or the Government of Iran with
                     knowledge that the goods were intended specifically for Iran or the
                     Government of Iran and thereby evaded or avoided, attempted and/or
                     conspired to violate, and/or caused violations of the prohibitions set forth in
                     the ITSR.

                  c. ZTE engaged in at least 251 such transactions, and the total value of U.S.-
                     origin goods in the 251 transactions constituting the apparent violations was
                     $39,622,972.

                  d. From approximately as early as November 2010 to approximately March
                     2016, ZTE’s senior leadership had been developing, and in fact did develop
                     and adopt in whole or in part, a company-wide scheme to evade U.S.
                     economic sanctions and export control laws.

                  e. ZTE’s actions were developed and approved by the highest levels of its
                     management, and entailed the use of third-party companies to both conceal
                     and facilitate its business with Iran.

                  f. ZTE was “specifically aware of and considered the legal risks and
                     consequences of violating U.S. economic sanctions and export control laws,”
                     and was “specifically aware” of the potential consequences “if the U.S.
                     government learned of [ZTE]’s unauthorized reexportation of U.S.-origin
                     goods to sanctioned countries, including Iran.”

                  g. Despite recognizing that “violations of U.S. law would be ‘inevitable’ if ZTE
                     exported and/or reexported U.S.-origin goods to Iran,” ZTE reexported and
                     supplied a substantial volume of U.S.-origin goods to Iran from at least
                     January 2010 to approximately March 2016 and “pursued and developed an
                     evasive practice of ‘risk avoidance’ by utilizing isolation companies and other
                     concealment activities” to do so.

                  h. ZTE’s contracts with Iranian companies from 2010 and 2012 required ZTE to
                     export and/or reexport goods, services, and technology to Iran with the
                     purpose of enhancing Iran’s telecommunications infrastructure, which in turn
                     required supplying and/or attempting to supply Iran with U.S.-origin goods
                     subject to the U.S. Department of Commerce’s Commerce Control List for

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                     anti-terrorism, national security, regional stability, and encryption item
                     purposes and enhancing the law enforcement surveillance capabilities and
                     features of Iran’s telecommunications facilities and infrastructure.

                  i. ZTE temporarily ceased performance of one of its contracts with an Iranian
                     company [TCI], when Reuters reported in March 2012 that ZTE was
                     circumventing U.S. sanctions law to provide U.S.-origin goods to TCI, but
                     resumed its unlawful activity thereafter and “ZTE would not ultimately cease
                     its unlawful activity or cooperate with the U.S. government until on or about
                     March 2016.”

                  j. ZTE informed the U.S. government agencies and the public in 2012 that it
                     was winding down its reexports of U.S.-origin goods to Iran. However,
                     approximately one year later in November 2013, ZTE resumed its unlawful
                     business activities with Iran without updating or informing the U.S.
                     government agencies of this change until on or about April 6, 2016.

                  k. In connection with the decision to resume its Iran-related business in
                     approximately November 2013, ZTE’s highest-level leadership instituted
                     directives authorizing various divisions of the company to surreptitiously
                     resume business with Iran, including by using a new third-party isolation
                     company to conceal the resumption of prohibited activities from U.S.
                     government investigators, the media, and others outside of ZTE.

          333.    ZTE modernized telecommunications technology used by Iranian entities that

   were controlled by IRGC, including Qods Force, fronts, thereby pumping additional revenue into

   the coffers of the IRGC, including Qods Force, and, thereby, Hezbollah and Jaysh al-Mahdi.

          334.    ZTE provided substantial banned technology to Iranian companies that were

   controlled by the IRGC, including the Qods Force and, thereby, ZTE’s illegally sourced

   technology ordinarily flowed through to Hezbollah. That banned technology was crucial to

   actually perpetrate terrorism. By way of example, terrorists were able to use cell phones and

   other telecommunication technology and software to perpetrate attacks on Americans.

          335.    ZTE also assisted the terrorist enterprise by serving as a long-term strategic

   partner for MTN Irancell, which was as front for the IRGC, including the Qods Force.

          336.    ZTE’s technical aid to the IRGC, including the Qods Force, was devastating to

   America’s ability to protect Americans overseas from attacks committed by Iranian terrorist

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   proxies like Hezbollah because, as a result of ZTE’s actions, “[t]he IRGC will also now be in a

   position to benefit from sensitive monitoring technology it can put to its advantage to enhance its

   surveillance abilities,” which the IRGC, including the Qods Force, acquired after “ZTE

   Corporation sold TCI a powerful surveillance system capable of monitoring landline, mobile and

   internet communications.”129

             337.   For a terrorist group intent on targeting Americans traveling in tightly secured

   convoys or on heavily fortified bases, aid that bolstered the terrorists’ ability to conduct

   successful surveillance was vitally important to their ability to execute successful attacks, like

   the ones that killed and injured Plaintiffs and their loved ones.

             338.   The ample evidence of ZTE’s own consciousness of guilt supports the inference

   that ZTE knew it was benefiting the IRGC’s, and the Qods Force’s, terrorist enterprise.

             339.   In 2017, the United States Commerce Department disclosed two internal ZTE

   documents it had discovered during its investigation. The first, from 2011 and signed by several

   senior ZTE executives, detailed how the company had ongoing projects in Iran. The second

   document laid out in a complex flow chart a method for circumventing United States export

   controls.

             340.   According to the then-Acting Assistant Attorney General, Mary B. McCord,

   “ZTE engaged in an elaborate scheme to acquire U.S.-origin items, send the items to Iran and

   mask its involvement in those exports,” and the plea agreement ZTE signed “alleges that the

   highest levels of management within the company approved the scheme.”

             341.   In 2012, after ZTE’s original contract with TCI, which allowed the IRGC,

   including the Qods Force, to build a country-wide surveillance system capable of monitoring



   129
         Dr. Ottolenghi Sept. 17, 2015 Testimony.
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   landline, mobile, and internet communications, was widely reported, ZTE claimed it would stop

   its business with Iran. In or around March 2012, ZTE spokesman David Shu said in a telephone

   interview “[w]e are going to curtail our business in Iran.” Although that was a lie, because ZTE

   thereafter doubled-down on its business relationships with IRGC, including Qods Force, fronts,

   it was also an admission that such business was fraught with risk that it would support and

   contribute to terrorism.

           342.    Ashley Kyle Yablon, ZTE’s Texas-based general counsel, gave the FBI an

   affidavit in May 2012 in which he alleged ZTE had plotted to cover up the Iran sales. Yablon

   has indicated that in the course of the U.S. investigation into ZTE’s transfer of U.S.-origin

   technology to Iran, ZTE internally discussed destroying evidence. After the Yablon affidavit

   became public in July 2012, ZTE placed Yablon on administrative leave.

           343.    ZTE has destroyed evidence of its business with fronts for the IRGC, including

   the Qods Force.

           344.    There has been public reporting related to ZTE’s internal documentation of its

   strategies for how to get around export controls so it can do business with state sponsors of

   terrorism. Those strategies included using a codeword for Iran in internal documents.

           345.    Throughout the scheme, ZTE attempted to conceal its export of U.S.-sourced

   technology to Iran by, among other things, requiring its employees to sign non-disclosure

   agreements, lying to its own lawyers regarding its exports, lying to a forensic expert hired to

   conduct an internal investigation, and adopting a policy and hiring thirteen (13) employees to

   alter, delete, and hide data relevant to the export sales.

           346.    ZTE admitted that it assembled and authorized a team of IT employees to engage

   in a project to alter, process, sanitize, and/or remove references to Iran in ZTE’s internal



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   databases regarding its business with Iran. The IT team coordinated with various relevant

   divisions throughout the company, including the sales, procurement, and finance divisions, to

   locate and remove any references to business with Iran. The employees executing this IT project

   were instructed to, and did in fact, delete their emails related to the project.

           347.    ZTE’s acts related to its export of U.S. embargoed technology to Iran, and its

   attempts to hide and obscure the same, were labelled by the United States Government as a

   “cover-up.”

           348.    In relation to ZTE’s acts to export U.S. embargoed technology to Iran, and its

   attempts to hide and obscure the same, the U.S. Government charged ZTE with making

   materially false, fictitious, and fraudulent statements and representations to the United States

   Federal Bureau of Investigation.

           349.    In 2017, ZTE chairman and chief executive acknowledged guilt for its acts to

   evade the embargo and provide banned technology and goods to Iran, saying “ZTE

   acknowledges the mistakes it made, takes responsibility for them and remains committed to

   positive change in the company.”

           350.    ZTE knew that it was breaking U.S. law when it exported sensitive

   telecommunications technology to the IRGC, including the Qods Force, and knew or recklessly

   disregarded that the entities with which it was transacting business (and indeed who were

   receiving that technology) were fronts for IRGC, including Qods Force, terrorists who were

   actively attempting to kill Americans in Iraq as part of Joint Cells, and benefitted thereby.

           351.    From 2008 through at least 2016, ZTE’s illicit transactions with MTN Irancell,

   the Bonyad Mostazafan, IEI, TCI, and/or the Akbari Fronts, provided millions, annually, in illicit

   funds, weapons, and operational support to Hezbollah, Jaysh al-Mahdi, and the IRGC, including



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   the Qods Force, which the Joint Cells used to attack Americans in Iraq, including Plaintiffs and

   their loved ones.

                  2.      ZTE’s assistance to the Islamic Revolutionary Guard Corps,
                          including the Qods Force, comports with its historical sales practices
                          in international markets

          352.    Like MTN, ZTE’s conduct reflected a willingness to support America’s enemies,

   and engage in illicit financial transactions, as a way to increase profits in Iran. The same

   calculation pervaded ZTE’s other conduct throughout the world. ZTE’s other conduct further

   demonstrates its pattern and practice of entering transactions with violent actors to increase MTN

   revenue.

          353.    ZTE Aided North Korean Sanctions Busting. Like Iran, North Korea is a

   designated state sponsor of terrorism with a long history of attacking and murdering Americans

   overseas. ZTE’s illicit transactions concerning North Korea, therefore, further inform ZTE’s

   deliberate support for terror.

          354.    As part of its guilty plea, “ZTE … pleaded guilty … to violating U.S. sanctions

   against Iran and North Korea.”130 Like with Iran, when it helped North Korea source embargoed

   goods, ZTE knew or recklessly disregarded that it was engaging in illicit transactions with North

   Korean counterparties in violation of U.S. and international sanctions that were designed to

   choke off North Korea’s support for terrorism. Moreover, even after ZTE got caught helping

   North Korea evade U.S. sanctions (and pledged to be truthful with the U.S. government), ZTE

   lied and made additional false statements to American authorities.131


   130
      Gretchen Morgenson and Tom Winter, The U.S. Is Now investigating Chinese Telecom Giant
   ZTE For Alleged Bribery, NBC News (Mar. 13, 2020) (“Morgenson and Winter, U.S. Is Now
   Investigating”).
   131
      As NBC News noted, “[i]n the deal with the U.S. government [in 2017], ZTE also agreed to a
   denial of export privileges that could be activated for seven years if the company committed
                                                   119
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          355.    Indeed, ZTE continuously pursued its strategy to bust terrorism-related sanctions

   for profit continuously since 9/11. For example, less than two weeks after that attack,

   commentators were already marveling over the audacity of ZTE’s efforts to curry favor with the

   Taliban, even though they were understood to have sheltered bin Laden and contributed to the

   attack as a result. As one wrote at the time:

          China … has been playing its own complex “Great Game,” through the Taliban in
          Afghanistan … [China] has not hesitated to link itself with revolutionary
          movements … The Chinese attitude towards radical “Islamism” is two-faced.
          Beijing is happy to train and send armed insurgents – separatist terrorists -- to …
          sow mischief wherever it can against Western interests. But it is also worried,
          sometimes to the point of paranoia, about the security threat to its own Uighur
          territory. … From the Beijing point of view, co-operation with the Taliban kills
          two birds with one stone. On the one hand, China has been helping to nurture a
          very painful thorn in the West’s backside; on the other, it is buying off Taliban
          encouragement for Uighur separatists. …. [L]ast year, [the] Chinese
          telecommunications firm[], … ZTE, began work laying secure land-based phone
          lines between and within Kabul and Kandahar, and they may well be directly
          involved in providing communications services to the terrorist "underground"
          (literally, for it works from caves) in the Kandahar region. … China trie[d] to help
          the Afghan terrorist regime in its struggle against the West …132

          356.    As legal commentator Stewart Baker noted at the time in 2012, when discussing

   ZTE’s corporate criminal culture, that “[a] kind of perfect storm has struck ZTE, … [a] storm

   largely of ZTE's own making.”133 He explained:

          ZTE … ha[s] been the subject[] of great national security concern for years. …
          Now, though, the mess is everywhere, and the House intelligence investigation
          will surely be heavily influenced by the new evidence that ZTE at least is quite

   additional violations. In mid-April 2018, the Commerce Department activated the denial of
   privileges after determining that ZTE had made false statements to the government about actions
   it had taken to punish employees involved in the Iran and North Korea activities. While ZTE said
   it had reprimanded the employees, the government later found that the company had rewarded
   them with bonuses. Activating the denial meant that ZTE could not buy semiconductors required
   for its products.” Id.
   132
      David Warren, How China Advances Its Imperial Ambitions By Backing The Taliban, Ottawa
   Citizen (Canada), (Sept. 22, 2001), 2001 WLNR 6660411.
   133
      Stewart Baker, And You Think You’re Having A Bad Day?, The Volokh Conspiracy (July 13,
   2012) (emphasis added), 2012 WLNR 14621514.
                                                   120
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               capable of carrying out sophisticated telecommunications surveillance, of
               violating US law, and perhaps even lying about it later. Which, come to think of
               it, is pretty much what US intelligence agencies have been saying all along.134

               357.   ZTE Paid Bribes to Win Business. On information and belief, ZTE has engaged

   in serial bribery around the world to win business. As NBC News first reported on March 13,

   2020, “ZTE … is the subject of a new and separate bribery investigation by the Justice

   Department, according to two people briefed on the matter. The new investigation … centers on

   possible bribes ZTE paid to foreign officials to gain advantages in its worldwide operations.”135

               358.   ZTE is not a “normal” multinational corporation but rather, a notoriously dirty

   company that seeks to advance the agenda of the Chinese Communist Party and is willing to

   engage in corrupt deals that most other corporations shun. For example, as NBC News reported

   that, “Norway’s giant government pension fund banned ZTE from its investment universe” in

   2016 “based on ‘the risk of severe corruption,’ according to a report by the Norges Bank Council

   on Ethics.”136 As NBC News noted, “[o]nly three other companies are barred by the

   Norwegians for ‘gross corruption’ alongside ZTE.”137

                      3.     ZTE’s assistance to the Islamic Revolutionary Guard Corps,
                             including the Qods Force, had a substantial nexus to the United States

               359.   ZTE’s assistance to Hezbollah, Jaysh al-Mahdi, and the IRGC, including the Qods

   Force, relied on significant contacts with the United States. As it has admitted, ZTE orchestrated

   both those U.S. contacts and ZTE’s violation of U.S. law. Like MTN, ZTE employs a top-down




   134
         Id.
   135
      Gretchen Morgenson and Tom Winter, The U.S. Is Now investigating Chinese Telecom Giant
   ZTE For Alleged Bribery, NBC News (Mar. 13, 2020) (“Morgenson and Winter, U.S. Is Now
   Investigating”).
   136
         Id.
   137
         Id.
                                                      121
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   management structure in which ZTE centralizes operational control over the functions performed

   by its various subsidiaries.

          360.    ZTE’s decision to assist the IRGC, including the Qods Force, and by extension

   their proxies, had a substantial nexus to the United States for the reasons explained below.

                          a.      ZTE’s conduct targeted the United States

          361.    ZTE’s provision of material support to the IRGC (including the Qods Force),

   Hezbollah, and Jaysh al-Mahdi, was expressly aimed at the United States. At all relevant times,

   ZTE knew that the IRGC (including the Qods Force), Hezbollah, and Jaysh al-Mahdi were

   targeting the United States. The IRGC (including the Qods Force), Hezbollah, and Jaysh al-

   Mahdi did not conduct an indiscriminate terrorist campaign that merely injured Americans by

   chance. Instead, the Joint Cells directed attacks at Americans with the specific intent of killing

   Americans in particular – so that they could inflict pain in the United States and influence U.S.

   policy. As the Treasury Department stated when it announced the Qods Force’s designation as a

   Specially Designated Global Terrorist in 2007, “the Qods Force provides lethal support in the

   form of weapons, training, funding, and guidance to select groups of Iraqi Shi’a militants who

   target and kill Coalition … forces….”138 And the IRGC’s (including the Qods Force’s),

   Hezbollah’s, and Jaysh al-Mahdi’s ultimate, shared, publicly stated goal was to effect a

   withdrawal of American forces from Iraq and the broader Middle East. Each terrorist attack that

   killed and injured Plaintiffs was part of that campaign of anti-American terrorism.

          362.    ZTE’s decision to reach into the United States to obtain embargoed dual-use

   technology to aid the IRGC’s, including the Qods Force’s, terrorist enterprise was also expressly




   138
      U.S. Treasury Dep’t, Fact Sheet: Designation of Iranian Entities and Individuals for
   Proliferation Activities and Support for Terrorism (Oct. 25, 2007).
                                                   122
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   aimed at the United States. Like MTN, ZTE knew, based on conversations with IRGC,

   including Qods Force, agents, that the IRGC, including the Qods Force, viewed ZTE’s assistance

   as vital to Iranian national security, which ZTE understood to inherently involve the promotion

   of terrorist violence against Americans around the world as part of the IRGC’s (including the

   Qods Force’s) effort to export its Islamist revolution and drive the U.S. out of Iraq.

          363.    On information and belief, like MTN, ZTE also knew, based on conversations

   with U.S. officials, that it was assuming an active role in an IRGC, including the Qods Force,

   plot to develop cash flow and source vital dual-use components for the IRGC, including the

   Qods Force, Hezbollah, and Jaysh al-Mahdi. ZTE further knew of the critical importance that

   communications and computing technology plays for terrorists.

          364.     When ZTE sourced embargoed technology that the United States had publicly

   declared could benefit IRGC, including Qods Force, efforts to kill others, it intentionally helped

   arm terrorists it knew were targeting the United States. On information and belief, the IRGC,

   including the Qods Force, made ZTE agree to a similar contractual pledge as the one in which

   MTN agreed to aid Iran’s “defensive, security, and political” interests outside of Iran. On

   information and belief, ZTE at all times knew or recklessly disregarded that “security” was a

   euphemism for IRGC, including Qods Force, terrorist operations outside of the territorial borders

   of Iran. When ZTE obtained the technology requested by its IRGC, including Qods Force,

   partners, ZTE targeted the United States by helping the terrorists improve their bombs, rockets,

   communications, and intelligence gathering.

          365.    Although ZTE’s primary motivation for assisting the IRGC, including the Qods

   Force, was financial, it also intended to harm Americans in Iraq. One reason ZTE cooperated




                                                   123
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   with the IRGC, including the Qods Force, was to align itself with their effort to drive Americans

   out of Iraq.

             366.   Like MTN, ZTE intended to harm Americans because it decided that was the

   necessary price of maintaining a good relationship with the IRGC, including the Qods Force,

   who were explicit, that they expected their partners to provide significant help in fighting against

   U.S. forces in particular. Thus, for ZTE to achieve its business objectives vis-à-vis the IRGC,

   including the Qods Force, fronts who controlled TCI and MTN Irancell – both of which ZTE

   serviced – ZTE needed to disassociate itself from the United States and prove that it could

   deliver value to the Shiite terrorist campaign against U.S. forces in Iraq.

             367.   On information and belief, like MTN, ZTE’s agreement to aid the IRGC,

   including the Qods Force, also fulfilled an obligation by ZTE, like MTN, to engage in

   “defensive, security and political cooperation” with its IRGC, including Qods Force and Qods

   Force, counterparties.139 Such cooperation offered ZTE added motivation for ZTE’s illicit

   transactions with the IRGC, including Qods Force, counterparties. ZTE’s support for the IRGC,

   including the Qods Force, did not merely grow ZTE’s profits by allowing it to obtain lucrative

   business from MTN Irancell and TCI in the first instance; it also benefited ZTE’s business by

   inflicting harm on an enemy (the United States) of one of ZTE’s most important business

   partners (the IRGC, including the Qods Force) in order for ZTE to curry Iranian favor to gain

   market share for a potentially uniquely lucrative telecom and communications market (Iran).

             368.   Plaintiffs’ allegations also comport with the widespread view of relevant U.S.

   government officials from the executive and legislative branches. For starters, ZTE was forced

   to plead guilty and the largest criminal fine, to that date, in a United States sanctions case.



   139
         Exhibit A, MTN-Irancell Consortium Letter Agreement § 8.
                                                    124
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          369.       Moreover, a group of 33 Senators expressed concern about ZTE, and on May 15,

   2018, they sent a letter to President Trump indicating they viewed ZTE as a security threat. In

   relevant part the Democratic Senators (a) noted that ZTE violated US sanctions law and

   repeatedly lied about steps it would take to remedy the problems; (b) argued that America’s

   national security must not be used as a bargaining chip in trade negotiations; (c) labeled ZTE as a

   “bad actor”; and (d) argued that loosening restrictions on ZTE could “risk American national

   security”.

          370.       Concerns about ZTE’s hostility to American national security are bipartisan. For

   example, Senator Marco Rubio has warned against allowing ZTE “to operate in U.S. without

   tighter restrictions,” given national security and espionage concerns, and Senator Mark Warner

   has publicly reported to label ZTE as a “national security threat.”

          371.       Moreover, a multi-year bipartisan investigation by the House Select Committee

   on Intelligence concluded in October 2012 that ZTE “cannot be trusted to be free of foreign state

   influence and thus pose[s] a security threat to the United States and to our systems.”

          372.       Further, the FCC recently designated ZTE as a “national security threat,” and

   stated that “ZTE’s violation of U.S. trade agreements and export laws, coupled with its

   obstruction of the Department of Justice’s investigation, indicate a clear disregard for U.S. law

   and national security.” Indeed, the FCC noted that ZTE has broken laws that pertain to U.S.

   national security, and ZTE has “shown a willingness to obstruct the investigations into such

   national security threats.” The FCC stated concern regarding “ZTE’s knowing violations of U.S.

   national security laws and its proven lack of cooperation in dealing with U.S. criminal

   investigators.”




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          373.    OFAC, as well as the other U.S. government agencies, opened an investigation of

   ZTE in March 2012. As agreed by ZTE in its Settlement Agreement with the U.S. Department

   of the Treasury’s Office of Foreign Assets Control (“OFAC”), at or around that time, “an

   undisclosed person in ZTE’s legal department in Shenzhen called at least one ZTE employee

   present within the United States to instruct him to leave the country. These instructions were

   provided on the same day or shortly after search warrants were executed upon ZTE’s facilities

   located in the United States.”

          374.    As part of ZTE’s attempt to “cover up” its acts to provide U.S.-origin technology

   to TCI, ZTE retaliated in the United States against the whistleblower in the United States who

   reported the scheme.

                          b.        ZTE’s conduct relied on American contacts

          375.    ZTE reached into the United States to acquire U.S.-sourced embargoed

   technology that it then provided to Telecommunication Company of Iran and Aryacell.

          376.    TCI is predominantly state-controlled. Indeed, TCI is owned by the Iranian

   government and a private consortium with reported ties to IRGC, including the Qods Force.

          377.    Aryacell is part of the consortium that, along with the IRGC, including the Qods

   Force, controls TCI.

          378.    ZTE reached into the United States to support the IRGC, including the Qods

   Force, and by implication, Hezbollah and Jaysh al-Mahdi, when it obtained technology and vital

   operational support from the U.S. ZTE supplied technology and operational support for TCI and

   MTN Irancell through various U.S. agents. In doing so, ZTE tied its unlawful conduct to the

   United States by obtaining irreplaceable, best-in-class, and embargoed U.S.-supplied dual-use

   technology to aid the IRGC’s, including the Qods Force’s, terrorist enterprise. This U.S. contact



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   was closely related to ZTE’s support for the IRGC, including the Qods Force, Hezbollah, and

   Jaysh al-Mahdi.

          379.    ZTE relied on U.S.-made materials as components for its smartphones, cell phone

   systems, and computer networking gear. U.S.-origin goods were technically essential to ZTE’s

   IRGC-related, including Qods Force-related, projects and/or end-users as there were no suitable

   foreign-made substitutes for many of them.

          380.    The embargoed United States technology included but was not limited to servers,

   switches, routers, and component parts of cellular network infrastructure.

          381.    The United States Commerce Department has said that ZTE sold prohibited

   American electronics to Iran to help Iran build its telecom networks.

          382.    Just about every product that ZTE makes has some American components or

   software in it, such as microchips, modems, and Google’s Android operating system.

          383.    Public reports indicate ZTE helped funnel software and hardware from U.S. firms

   including Oracle, Microsoft, and Cisco Systems to the government of Iran in 2010 for use

   building what was described as a massive, nationwide surveillance system.

          384.    Simply put, ZTE could not do the business it did with IRGC, including the Qods

   Force, and thereby cause the transfer of key technology to Hezbollah and Jaysh al-Mahdi,

   without reaching into the United States to obtain that technology.

   VI.    HEZBOLLAH, JAYSH AL-MAHDI, AND THE ISLAMIC REVOLUTIONARY
          GUARD CORPS, INCLUDING THE QODS FORCE, USED DEFENDANTS’
          FUNDS AND OPERATIONAL AID TO FINANCE TERRORIST OPERATIONS,
          BUY AND/OR BUILD ADVANCED WEAPONS SPECIALLY DESIGNED TO
          TARGET AMERICANS IN IRAQ, AND SUSTAIN THE JOINT CELLS USED TO
          COMMITT TERRORIST ATTACKS THAT KILLED AND INJURED
          AMERICANS IN IRAQ

          385.    Hezbollah, funded and supported by the IRGC, including the Qods Force, used

   Defendants’ resources to carry out the Joint Cells’ terrorist attacks against Americans in Iraq. As
                                                  127
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   a scholar writing in the journal published by the Combating Terrorism Center at West Point

   summarized in 2010, “it is clear that Iran has a proven ability to commission violence inside

   Iraq” because “Iraqi government Harmony records collated by the Combating Terrorism Center

   at West Point illustrate [that] Iran has been in the business of sponsoring Iraqi paramilitary

   proxies for 30 years, practically the government’s entire existence.”140

             386.   When U.S. forces arrived in Iraq, Iran’s nationwide terror campaign against

   Americans there was assigned to the Qods Force under the command of Soleimani, who

   answered directly to Ayatollah Khamenei. Soleimani caused the IRGC, including the Qods

   Force, to partner with Hezbollah in Iraq so that Hezbollah would serve as the bridge between the

   IRGC, including the Qods Force, and Jaysh al-Mahdi.

             387.   According to the U.S. State Department’s 2008 Country Reports on Terrorism:

   “The Qods Force, an elite branch of the [IRGC], is the regime’s primary mechanism for

   cultivating and supporting terrorists abroad. The Qods Force provided aid in the form of

   weapons, training, and funding to HAMAS and other Palestinian terrorist groups, Lebanese

   Hizballah, Iraq-based militants, and Taliban fighters in Afghanistan.”141

             388.   The First Corps of the Qods Force, one of its four regional commands, executes

   Iran’s terrorist agenda in Iraq. During the relevant timeframe, the Qods Force did so largely by

   providing Hezbollah the funding, weapons, and logistical support it needed to facilitate the

   attacks by the Joint Cells. The First Corps’ al-Ramazan Headquarters is based across several

   sites in Iran’s largest city (and capital), Tehran, a short trip from the Iraqi border with Iraq.




   140
         Knights, The Evolution of Iran’s Special Groups in Iraq.
   141
         U.S. State Dep’t, Country Reports on Terrorism 2008 at 182-83 (Apr. 2009).
                                                     128
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          389.    Raids conducted in Iraq by the elite U.S. Joint Special Operations Command

   (“JSOC”) also proved that the IRGC, including the Qods Force, directly deployed their own

   terrorists inside Iraq to augment the Hezbollah-led Joint Cells attack Americans there. For

   example, in a late 2006 JSOC raid in central Iraq, U.S. forces detained Mohsen Chizari, the Qods

   Force’s head of Operations and Training, as well as the Qods Force’s station chiefs for Baghdad

   and Dubai. In another raid in northern Iraq, U.S. forces captured five Qods Force terrorists.

          A.      Acting through Hezbollah, the Islamic Revolutionary Guard Corps,
                  including the Qods Force, created Jaysh al-Mahdi and Jaysh al-Mahdi
                  Special Groups Asaib Ahl al-Haq and Kataib Hezbollah

          390.    Through Iran’s long-standing proxy Hezbollah, the IRGC, including the Qods

   Force, provided material support to the Joint Cells attacking Americans in Iraq.

          391.    Iran’s – and therefore Hezbollah’s – objective always was to kill Americans in

   order to drive the U.S. out of Iraq.

          392.    The IRGC, including the Qods Force, provided material support to its

   longstanding lead terrorist agent and proxy, Hezbollah, to facilitate Hezbollah-led attacks against

   Americans in Iraq, and Hezbollah’s commission, planning, and/or authorization of attacks

   carried out by the Joint Cells between 2011 and 2016.

          393.     Hezbollah’s role regarding Jaysh al-Mahdi and the attacks by the Joint Cells in

   Iraq was similar to its role in other terror campaigns it sponsored: Hezbollah recruited, trained,

   armed, and directed Jaysh al-Mahdi terrorists, who carried out terrorist attacks against Americans

   on Hezbollah’s behalf. Hezbollah Secretary-General Hassan Nasrallah was deeply involved in

   this campaign, reportedly spending “several hours daily dealing with ‘the situation in Iraq.’ ”142




   142
     Hamza Hendawi & Qassim Abdul-Zahra, Shiite Sources: Hezbollah Helping Iraqi Militia,
   NBC News (July 1, 2008).
                                                   129
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               394.   Federal judges have recognized the key role that the IRGC, including the Qods

   Force, played in ensuring that Hezbollah had the funds, arms, and logistical aid it needed to

   manage the Joint Cells’ attack campaign against Americans in Iraq. For example, in Fritz, the

   Honorable Randolph D. Moss found that “Iranian support—in the form of funding, weapons, and

   training—was critical to the success of the Special Groups, which otherwise ‘would [have been]

   unable to conduct their terrorist attacks in Iraq.’”143

               395.   Hezbollah at all times acted at the instruction of the IRGC, including the Qods

   Force, and to benefit Iran’s terrorist enterprise targeting Americans in Iraq, by helping establish

   Jaysh al-Mahdi, including the Jaysh al-Mahdi Special Groups, and later supporting the Jaysh al-

   Mahdi terrorist campaign against Americans in Iraq.144

               396.   In April 2003, Hezbollah dispatched to Iraq its chief terrorist mastermind, Imad

   Mugniyeh, to help Muqtada al-Sadr found Jaysh al-Mahdi. Hezbollah’s goal, according to an

   October 2003 Israeli intelligence report, was to set up a terrorist network in Iraq to inflict “mass

   casualties” on Americans. A U.S. Special Operations task force report quoted by the U.S. News

   & World Report in 2004 explained that “the Lebanese Hizballah leadership believes that the

   struggle in Iraq is the new battleground in the fight against the U.S.”145 As one embedded war

   correspondent put it, Jaysh al-Mahdi was created to be “the Iraqi branch of Hezbollah.”146




   143
         Fritz, 320 F. Supp. 3d at 62.
   144
      The Jaysh al-Mahdi Special Groups Asaib Ahl al-Haq and Kataib Hezbollah were both the
   fruits of Iran’s and Hezbollah’s strategy of standing up and supporting Jaysh al-Mahdi in Iraq.
   For that reason, all of allegations concerning Jaysh al-Mahdi also apply to Asaib Ahl al-Haq and
   Kataib Hezbollah.
   145
         Id.
   146
         Michael J. Totten, Balance of Terror, Michael J. Totten’s Middle East J. (Aug. 14, 2007).
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             397.   Sadr was a natural fit to lead Hezbollah’s campaign of terror in Iraq. In addition

   to being the descendant of two revered Shi’a martyrs (Sadiq al-Sadr and Baqir al-Sadr) and

   sharing Hezbollah’s affinity for violence, Sadr himself had a close relationship with Hezbollah

   and Iran. Hassan Nasrallah, Hezbollah’s Secretary-General, had studied under Muqtada al-

   Sadr’s uncle, Baqir al-Sadr. Muqtada’s cousin, Musa al-Sadr, founded Hezbollah’s predecessor

   in Lebanon. A 2004 U.S. military-intelligence report concluded that Sadr had a direct

   relationship with Hassan Nasrallah, the head of Hezbollah, and that a top adviser to Nasrallah

   had personally delivered funds to Sadr in Najaf. Sadr himself visited Tehran and Beirut on

   numerous occasions. And, in 2016, Nasrallah personally brokered talks between Sadr and the

   Iraqi government.

             398.   Immediately after Jaysh al-Mahdi’s founding in April 2003, Mugniyeh began to

   recruit and train soldiers for Jaysh al-Mahdi. Mugniyeh soon recruited 300 terrorists for Jaysh

   al-Mahdi from Shi’a communities in Kuwait and Saudi Arabia, then sent those terrorists to

   Lebanon for training in the use of assault rifles, booby traps, and kidnapping. These 300 fighters

   were some of Jaysh al-Mahdi’s first members. That same month, according to the Asia Times,

   Hezbollah “opened two offices in the Iraqi cities of Basra and Safwan” in order to “build[ ] up

   [its] organizational and military apparatuses in Iraq.”147 By August 2003, Hezbollah had

   established permanent teams of 30 to 40 operatives in Najaf to recruit and train Jaysh al-Mahdi

   terrorists. At the same time, these Hezbollah operatives were acquiring rocket-propelled

   grenades, antitank missiles, and other weapons for Jaysh al-Mahdi.

             399.   Hezbollah’s involvement in Jaysh al-Mahdi’s campaign of terror only grew

   during the subsequent months and years. By January 2004, nearly 800 Hezbollah agents had



   147
         Olivier Guitta, Nasrallah’s Other Fight, Asia Times (July 29, 2006).
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   been sent to Iraq, where they were deployed to direct Jaysh al-Mahdi’s terrorist campaign from

   key Jaysh al-Mahdi strongholds in Iraq, including, but not limited to, Sadr City, Najaf, Safwan,

   and Basra. Eighteen of these Hezbollah operatives were detained on charges of terrorism in

   February 2005. An October 2006 U.S. intelligence summary (as published online) noted that

   “300 Hezbollah terrorists from Lebanon have joined with [the] Mahdi Militia in Najaf ” after

   travelling to Iraq on tourist visas.148 Mugniyeh continued to personally supervise Jaysh al-

   Mahdi’s campaign of terror until his death in February 2008, at which point he was replaced by

   other Hezbollah operatives. At the time Mugniyeh was killed in 2008, the U.S. government

   continued to view him as an ongoing threat to Americans in Iraq.

             400.   In addition to its terrorist mastermind Imad Mugniyeh, Hezbollah deployed a

   litany of its senior terrorist planners to direct Jaysh al-Mahdi’s campaign of terror against

   Americans in Iraq, including, but not limited to, the following Hezbollah terrorists:

            Ali Mussa Daqduq (Senior Hezbollah Field Commander). Hezbollah directed its
             senior field commander, Ali Mussa Daqduq, to work with the Qods Force to instruct
             Jaysh al-Mahdi on the use of EFPs, mortars, rockets, and other terrorist tactics, including
             kidnapping operations.

            Muhammad Kawtharani (Nasrallah’s Personal Liaison to Sadr). Hezbollah also
             deployed a senior cleric, Muhammad Kawtharani, to serve as a liaison to Jaysh al-Mahdi.
             In 2013, the U.S. Treasury Department identified Kawtharani as a member of
             “Hizballah’s leadership” who “act[ed] for, or on behalf of Hizballah,” and was
             “responsible for terrorist operations” in Iraq “[a]s the individual in charge of Hizballah’s
             Iraq activities.”149 Kawtharani, as personal adviser to Nasrallah, was directly involved in
             coordinating attacks against Americans in Baghdad.

            Yusuf Hashem (Iraq Operations – Country-wide). Hezbollah also tasked another
             senior Hezbollah terrorist commander, Yusuf Hashem, to coordinate Hezbollah’s Jaysh
             al-Mahdi operations in Iraq.



   148
     U.S. Dep’t of Defense, US Iraq Intelligence Summary – Iran – Mahdi Militia – Hezbollah –
   Harbala (Oct. 10, 2006).
   149
         U.S. Dep’t of Treasury, Treasury Sanctions Hizballah Leadership (Aug. 22, 2013).
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              Ali Falih Hadi (Iraq Operations – Basra and Amarah). According to a Coalition
               threat report (as published online), Ali Falih Hadi was a member of Hezbollah who was
               based in Amarah in Basra Province and was “responsible for supplying” weapons to
               members of a joint Jaysh al-Mahdi/Hezbollah cell operating in Basra.

              Hezbollah Bombmakers. On information and belief, Hezbollah deployed one or more
               experienced bombmakers into Iraq to provide in-country direction to Jaysh al-Mahdi
               terrorists relating to the design, manufacture, storage, and maintenance of EFPs and IEDs
               for use against Americans in Iraq.

               401.   At Hezbollah’s direction, Jaysh al-Mahdi escalated its attacks on Americans in

   Iraq beginning in the winter of 2005. This escalation was the result of Hezbollah’s own

   “strategic decision” to ratchet up pressure on the United States by boosting Hezbollah’s “support

   [for] Sadr” and fostering “managed instability” in Iraq.150 According to the New York Times, a

   senior American intelligence official assessed that, as part of this “strategic decision” to escalate

   the terrorist campaign against Americans in Iraq, Iran served as “a link to Lebanese Hezbollah”

   and “helped facilitate Hezbollah training inside of Iraq, but more importantly Jaish al-Mahdi

   members going to Lebanon” for training.151

               402.   Jaysh al-Mahdi and Sadr publicly embraced their links to Hezbollah. During his

   Friday sermons on March 26, 2004 – in which he praised the attacks of September 11th and

   called for violence against Americans in Iraq – Sadr swore fealty to Hezbollah in Shi’a Islamist

   terms, pledging support to “our victorious party, Hezbollah.” Weeks later, in a sermon in April

   2004, Sadr declared that he was Hezbollah’s “striking arm in Iraq,” proclaiming: “I will support

   the real Islamic unity that has been created by Hassan Nasrallah, the secretary-general of the

   victorious Hezbollah.”152 In an August 2007 interview, Sadr again reportedly acknowledged that



   150
     Michel R. Gordon & Dexter Filkins, Hezbollah Said to Help Shiite Army in Iraq, N.Y. Times
   (Nov. 28, 2006).
   151
         Id.
   152
         The Buffalo News, Iraqi Cleric Calls for Alliance with Hezbollah, Hamas (Apr. 2, 2004).
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   Jaysh al-Mahdi “ha[s] formal links with Hizbollah” and “cop[ies] Hizbollah in the way they fight

   and their tactics.”153 Another Jaysh al-Mahdi member told an interviewer that “[w]e learned

   [from Hezbollah] how to take advantage of an armored vehicle’s weakness” – referring to the

   use of EFPs – “and how to wait and kill the soldiers who try to escape.”154

               403.   In the years after 2003, Jaysh al-Mahdi fighters regularly participated in anti-

   American marches in which they marched under Hezbollah flags and banners. Tens of

   thousands of members of Jaysh al-Mahdi publicly swore fealty to Hezbollah in various marches

   in Sadr City in 2006 alone, including on July 21, 2006, and August 4, 2006.

               404.   On August 4, 2006, more than 10,000 members of Jaysh al-Mahdi attended a joint

   Jaysh al-Mahdi/Hezbollah march in Sadr City, which further demonstrated Hezbollah’s control

   over Jaysh al-Mahdi operations. As recounted in a field report in Al Jazeera, demonstrators

   wore “white shrouds symboli[z]ing [their] willingness to die for Hezbollah, waved the Lebanese

   guerrillas’ yellow banner and chanted slogans in support of their leader, Sheik Hassan

   Nasrallah.”155 The crowd of Jaysh al-Mahdi fighters further declared “Mahdi Army and

   Hezbollah are one,” and chanted “Allah, Allah, give victory to Hassan Nasrallah.”156 The close,

   symbiotic connection between Jaysh al-Mahdi and Hezbollah was summed up by Jaysh al-Mahdi

   members’ repeated declaration at the rally: “we are Hezbollah.”

               405.   In 2009, the U.S. Treasury Department formally recognized the links between

   Hezbollah and Jaysh al-Mahdi when it designated Jaysh al-Mahdi Special Groups commander



   153
     Nizar Latif & Phil Sands, Mehdi Fighters ‘Trained by Hizbollah in Lebanon’, Independent
   (Aug. 20, 2007).
   154
         Id.
   155
         Al-Jazeera, Iraq’s Shia March for Hezbollah (Aug. 4, 2006).
   156
         Id.
                                                       134
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   Abu Mahdi al-Muhandis as a Specially Designated Global Terrorist. The press release noted

   that, “[a]s of early 2007, al-Muhandis formed a Shia militia group employing instructors from

   Hizballah to prepare this group and certain Jaysh al-Mahdi (JAM) Special Groups for attacks

   against Coalition Forces.”157 According to the press release, these Jaysh al-Mahdi cells

   “received training in guerilla warfare, handling bombs and explosives, and employing weapons

   [such as] missiles, mortars, and sniper rifles” from Hezbollah instructors.158

               406.   The U.S. Treasury Department again recognized the links between Hezbollah and

   Jaysh al-Mahdi in 2012, finding that “Hizballah, along with its Iranian allies, trained and advised

   Iraqi militants to carry out numerous terrorist attacks.”159 According to Treasury’s findings, in

   2005, “Iran asked Hizballah to form a group to train Iraqis to fight Coalition Forces in Iraq. In

   response, Hassan Nasrallah established a covert Hizballah unit to train and advise Iraqi militants

   in Jaysh al-Mahdi (JAM) and JAM Special Groups.”160 As of 2006, that unit was working with

   the Iranian Qods Force “to provide training and equipment to JAM Special Groups to augment

   their ability to inflict damage against U.S. troops.”161

               407.   The IRGC, including the Qods Force, used Hezbollah to provide material support

   to Asaib Ahl al-Haq, which was one of the most dangerous of Jaysh al-Mahdi’s so-called

   “Special Groups.” As such, AAH was a terrorist proxy of Iran’s lead terrorist agent, Hezbollah.

   Given Asaib Ahl al-Haq’s status as a Jaysh al-Mahdi Special Group, the IRGC, including the



   157
      U.S. Dep’t of Treasury, Treasury Designates Individual, Entity Posing Threat to Stability in
   Iraq (July 2, 2009).
   158
         Id.
   159
     U.S. Dep’t of Treasury, Treasury Designates Hizballah Commander Responsible for
   American Deaths in Iraq (Nov. 19, 2012).
   160
         Id.
   161
         Id.
                                                    135
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   Qods Force, through its agent, Hezbollah, caused the provision of the same types of support to

   Asaib Ahl al-Haq as Hezbollah provided to Jaysh al-Mahdi and Kataib Hezbollah.

             408.     Federal courts have previously concluded that the IRGC, including the Qods

   Force, provided material support to Jaysh al-Mahdi Special Group Asaib Ahl al-Haq through

   Hezbollah that proximately caused terrorist attacks against Americans in Iraq. For example, in

   Fritz, the Honorable Randolph D. Moss ruled that, “Based on the testimony of these witnesses,

   and almost one hundred trial exhibits, the Court finds as follows: … Iran provided AAH with

   significant support—in the form of training, supplies, intelligence, and funding—as part of its

   larger strategy to destabilize Iraq and drive the United States from the Middle East using Iraqi

   Shia militias as proxies. … and] AAH could not have committed any of these acts without Iran’s

   support.”162 Indeed, Judge Moss found that “Iran played a central role in Qais Khazali’s ascent

   and AAH’s formation.”163

             409.     The IRGC, including the Qods Force, also used Hezbollah to provide material

   support to Jaysh al-Mahdi Special Group Kataib Hezbollah. As such Kataib Hezbollah was

   Hezbollah’s terrorist proxy in Iraq.

             B.       Acting through Hezbollah, the Islamic Revolutionary Guard Corps,
                      including the Qods Force, provided Jaysh al-Mahdi with the weapons used to
                      attack Americans in Iraq

             410.     The IRGC, including the Qods Force, relied upon Hezbollah to provide Jaysh al-

   Mahdi the weapons it used to attack Americans in Iraq, including, but not limited to, IEDs EFPs,

   advanced rockets (including IRAMs), and rocket-propelled grenades, and explosives, which




   162
         Fritz, 320 F. Supp. 3d at 58.
   163
         Id. at 62.
                                                    136
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   were uniquely suited for terrorist attacks on U.S. peacekeeping and allied forces and civilian

   convoys in Iraq.

             411.    As Judge Moss found in Fritz, the “[t]he Special Groups were … armed[] and

   directed by Iran’s Q[u]ds Force, with help from Lebanese Hezbollah” and “[t]he U.S.

   Department of Defense estimated that, in addition to training, the Quds Force supplied the

   Special Groups with arms and funding valued at between $750,000 and $3 million a month.” 164

             412.    The IRGC, including the Qods Force, through their lead terrorist agent,

   Hezbollah, provided the Joint Cells with weapons to use against Americans in Iraq.

             413.    Hezbollah supplied many of the weapons that Jaysh al-Mahdi used to commit acts

   of terror against Americans in Iraq – though Jaysh al-Mahdi still required money and resources

   to acquire those weapons and transport them to the appropriate cells in Iraq. A Jaysh al-Mahdi

   commander told journalists in June 2007 that “[a]ll of the Mahdi Army’s weapons except for the

   AK-47 rifles come from Iran.”165

             414.    Hezbollah facilitated the flow of these weapons from Iran into Iraq by working

   with Jaysh al-Mahdi to set up cross-border smuggling networks. The Long War Journal reported

   in June 2007 that rockets that Jaysh al-Mahdi fired into Baghdad’s Green Zone were “the same

   rockets Hezbollah fired into northern Israel from Lebanon during the Israel-Hezbollah war in the

   summer of 2006.”166 Later that year, on August 12, 2008, Coalition forces arrested nine

   Hezbollah members who had been funneling weapons into Iraq. Hezbollah’s involvement in

   these smuggling operations accorded with its longstanding role as Iran’s weapons smuggler



   164
         Fritz, 320 F. Supp. 3d at 63.
   165
         Leila Fadel, Chilling Stories from the Mahdi Army, McClatchy DC (June 22, 2007).
   166
      Bill Roggio, Mahdi Rocket Teams Destroyed in Sadr City, Long War J. (June 3, 2007),
   http://www.longwarjournal.org/archives/2007/06/mahdi_rocket_teams_d.php.
                                                    137
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   (including its attempt in 2003 to smuggle 50 tons of weapons from Iran to the Palestinian

   Authority, the largest Iranian-linked smuggling operation ever uncovered).

               415.   Hezbollah also used funds provided by the IRGC, including the Qods Force, to

   purchase weapons for Jaysh al-Mahdi outright. For example, according to a U.S. military-

   intelligence document, “Hezbollah was ‘buying rocket-propelled grenades . . . antitank missiles’

   and other weapons for Sadr’s militia.”

               416.   Weapons supplied to Jaysh al-Mahdi by Hezbollah include the same types of

   weapons on which Hezbollah trained Jaysh al-Mahdi: small arms, IEDs, EFPs, rockets, mortars,

   and RPGs. These weapons were first smuggled into the Jaysh al-Mahdi command-and-control

   safe haven of Sadr City and then distributed to Jaysh al-Mahdi cells in outlying provinces. For

   attacks carried out with those weapons, Hezbollah not only trained Jaysh al-Mahdi how to use

   them; it supplied the weapons themselves.

               417.   These trends accelerated “[a]fter Lebanese Hizb Allah’s successful ‘summer war’

   against Israel in July 2006,” when Hezbollah and the IRGC, including the Qods Force, “sought

   to replicate this victory in Iraq, opening the floodgates to provide advanced [EFP] munitions and

   other weapons to” Jaysh al-Mahdi terrorists in Iraq.167 As one analyst explained in 2010:

               Iran’s support to Special Groups appears to be largely focused on anti-U.S.
               resistance operations … The most visible symbol of Iran’s support is the 20-30
               rocket attacks launched against U.S. bases each month in Iraq, almost all of which
               involve entire rocket/mortar systems or components (such as fuel packs)
               identified as Iranian-produced by U.S. weapons intelligence specialists. The
               IRGC has been supporting such attacks since the early 1980s … Iran []
               smuggle[d] large numbers of 107mm Hesab and 122mm Grad rockets into Iraq,
               as well as some larger 240mm Fajr rockets.168




   167
         Knights, The Evolution of Iran’s Special Groups in Iraq.
   168
         Id.
                                                      138
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               418.   U.S. and allied forces have seized large caches of Iran-made weapons and

   explosives in Iraq, many of which bore markings of Iranian origin, and all of which, on

   information and belief, were smuggled into Iraq by Hezbollah. Coalition forces regularly

   recovered weapons caches from Iranian proxies that were replete with newly manufactured

   weapons often stamped “Made in Iran.” Examples include a massive seizure of a Joint Cell

   terrorist weapons cache near Basra in 2010, which seized “76 rockets, 15 tons of TNT and

   significant amounts of bomb-making materiel,” and “41 magnets for making under-vehicle IEDs

   and silenced weapons.”169 Indeed, “[t]he Iranian government does not appear to be unduly

   concerned about plausible deniability, deploying new Iranian-produced ‘signature’ weapons

   across Iraq. The U.S. government has released many photographic slideshows of newly-

   produced weapons systems in Iraq that are known to be manufactured by Iran.”170

               C.     Acting through Hezbollah, the Islamic Revolutionary Guard Corps,
                      including the Qods Force, provided Jaysh al-Mahdi with key training and
                      logistical support to attack Americans in Iraq

               419.   The IRGC’s, including the Qods Force’s, funding for Hezbollah and support for

   the Hezbollah-led training and logistical effort relating to Jaysh al-Mahdi had cross-cutting

   effects. As the State Department explained in 2009, “[t]he Qods Force, in concert with Lebanese

   Hizballah, provided training both inside and outside of Iraq for Iraqi militants in the construction

   and use of sophisticated IED technology and other advanced weaponry.”171




   169
         Id.
   170
         Id.
   171
         U.S. State Dep’t, Country Reports on Terrorism 2008 at 182-83 (Apr. 2009).
                                                     139
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          420.    Hezbollah trained Jaysh al-Mahdi, including its Special Groups Asaib Ahl al-Haq

   and Kataib Hezbollah, in the use of weapons and tactics that were specifically designed to target

   Americans in Iraq.

          421.    Jaysh al-Mahdi successfully used Hezbollah training to perpetrate terrorist attacks

   against Americans in Iraq.

          422.    This training began at Jaysh al-Mahdi’s inception in April 2003, when Imad

   Mugniyeh recruited and trained some of Jaysh al-Mahdi’s first 300 fighters in Lebanon. It

   continued through at least 2008, when Hezbollah held training camps for Jaysh al-Mahdi fighters

   in Iran (in conjunction with Iran’s Qods Force), Lebanon, and Iraq. According to a captured

   Jaysh al-Mahdi operative, paraphrased in an unclassified (as redacted) U.S. military-intelligence

   report, “[w]ithout a doubt, all training received in Iran” – at Hezbollah-run camps – “is intended

   for use against [Coalition forces].”172

          423.    From 2003 through the present, Jaysh al-Mahdi recruits have travelled to

   Hezbollah training camps in Lebanon and Iran through meticulously planned routes. Because of

   the logistical challenges associated with bringing Jaysh al-Mahdi militants into Iran and

   Lebanon, Hezbollah occasionally trained members of Jaysh al-Mahdi to become “master

   trainers,” who learned terrorist tactics from Hezbollah in Iran or Lebanon and then passed that

   knowledge on to other Jaysh al-Mahdi members in Iraq.173 U.S. officials have referred to this




   172
      Combating Terrorism Ctr. at West Point Harmony Program, Redacted Intelligence Report
   002, at 2 (Spring 2007-Early 2008).
   173
      Michael R. Gordon, Hezbollah Trains Iraqis in Iran, Officials Say, N.Y. Times (May 5,
   2008).
                                                  140
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   practice as “training the trainer.”174 Hezbollah also trained members of Jaysh al-Mahdi inside of

   Iraq, including, but not limited to, in Sadr City, Najaf, Basra, and Safwan.

               424.   Hezbollah’s training was rigorous. According to unclassified (as redacted) U.S.

   military-intelligence reports, Hezbollah’s training camps lasted anywhere from three weeks to

   several months.175 Trainees were awakened at 5:30 a.m. every day to pray and exercise. Classes

   started at 8:00 a.m. and continued until dusk. Each class lasted roughly 50 minutes, with 10-

   minute breaks in between classes. Some classes were held in actual classrooms with

   whiteboards and projectors; others were held at firing ranges and other outdoor locations. The

   training included programs in a myriad of skills, including “[w]eapons, bomb-making,

   intelligence, assassinations, the [gamut] of skill sets,” according to a U.S. intelligence official

   quoted in the New York Times in November 2006.176 The topics covered in these training

   programs included the following:

               425.   EFPs. In 2004, Hezbollah “introduced [to Iraq] a new breed of roadside bomb

   more lethal than any seen before” – the EFP.177 Hezbollah trained members of Jaysh al-Mahdi in

   the deployment of EFPs, which were expressly designed to penetrate the American armor.

   Hezbollah was essential to those EFP training efforts because Hezbollah fighters had direct

   experience using EFPs against Israeli armor in Lebanon. Indeed, at that point, Hezbollah was the

   world’s foremost expert on EFPs. Hezbollah also imparted to Jaysh al-Mahdi the complex

   expertise required to manufacture and use EFPs, and drawing on its experience in Lebanon,


   174
         Id.
   175
      See Combating Terrorism Ctr. at West Point Harmony Program, Redacted Intelligence Report
   005, at 2-3 (Spring 2007-Early 2008).
   176
     Michel R. Gordon & Dexter Filkins, Some Mahdi Army Fighters Trained with Hezbollah,
   N.Y. Times (Nov. 28, 2006).
   177
         Michael Ware, Inside Iran’s Secret War for Iraq, Time (Aug. 22, 2005).
                                                     141
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   Hezbollah instructed Jaysh al-Mahdi to use EFPs against American soldiers. The New York

   Times reported in 2013 that “Iran passed E.F.P. technology to the Lebanese militia Hezbollah,

   which in turn passed E.F.P. kits to proxy groups fighting in Iraq.”178 On information and belief,

   the EFP factory that Iraqi forces discovered in Jaysh al-Mahdi’s Sadr City stronghold in October

   2008, was built using the EFP technology that Hezbollah had provided to Jaysh al-Mahdi with

   funding provided by the IRGC, including the Qods Force. As a declassified British intelligence

   report concluded, EFPs used in Iraq were “exclusively associated with Hizballah.”179

             426.   Hezbollah planned the Joint Cells’ EFP attacks (as with the other attacks outlined

   in this Complaint) in Iraq through the extensive training and coordination set forth above.

   Hezbollah’s planning of the Joint Cells’ EFP attacks against Americans included: (1) targeting

   specific geographies in Iraq, such as Baghdad and Basra, where Jaysh al-Mahdi and the Joint

   Cells were permitted to launch EFP attacks; (2) instructing Jaysh al-Mahdi and the Joint Cells to

   use EFPs against American armored vehicles in the first instance; (3) providing technical

   assistance to Jaysh al-Mahdi and the Joint Cells with respect to EFP design schematics and

   concepts; (4) helping manufacture EFPs for use against Americans in Iraq; (5) training senior

   Jaysh al-Mahdi terrorist commanders in Lebanon, Baghdad, and Iran with respect to all aspects

   of the EFP network, from design, to manufacture, to transportation, to attack strategy; (6)

   training lower-level Jaysh al-Mahdi members in camps in Lebanon, Iraq, and Iran with respect to

   EFP tactics; (7) preparing and distributing sophisticated, high production value Arabic-language

   CD-ROMs and instructional videos concerning EFPs; and (8) forward deploying senior




   178
         John Ismay, The Most Lethal Weapon Americans Faced in Iraq, N.Y. Times (Oct. 18, 2013).
   179
      Minute, Deputy Chief of Assessments Staff to Sir Nigel Sheinwald, Iraq: Lebanese Training
   including manuscript comment Blair (May 3, 2007).
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   Hezbollah terrorists, including but not limited to Daqduq, to coordinate EFP attacks against

   Americans with Jaysh al-Mahdi and the other members of the Joint Cells.

               427.   Rockets. Hezbollah trained members of Jaysh al-Mahdi in the use of rocket

   launchers and anti-aircraft missiles. In particular, Hezbollah directed Jaysh al-Mahdi members

   to launch indirect-fire rocket attacks on the Green Zone from Sadr City, and it instructed them on

   how to do so. Hezbollah’s direction to fire rockets on the Green Zone specifically included the

   indirect-fire attacks in early 2008 that precipitated the Battle of Sadr City. During these attacks

   in 2008, Jaysh al-Mahdi rocket teams showed an ability to hit specific targets several miles

   away, demonstrating the effectiveness of Hezbollah’s instruction. By that point, Hezbollah had

   become renowned for its use of rockets during the 2006 Israel-Hezbollah war, when it fired

   rockets at civilian targets in northern Israel. Indeed, the Long War Journal reported that the

   rockets Jaysh al-Mahdi fired into Baghdad’s Green Zone were “the same rockets Hezbollah fired

   into northern Israel from Lebanon during the Israel-Hezbollah war in the summer of 2006.”180

               428.   Kidnappings. Hezbollah is well-known for its kidnapping operations. In 2006,

   for example, Hezbollah agents conducted cross-border raids into Israel and abducted a number of

   Israeli soldiers. Hezbollah also trained Jaysh al-Mahdi operatives “on how to conduct precision,

   military style kidnappings,” according to a 2006 U.S. government cable (as quoted in the New

   York Times).181 Jaysh al-Mahdi put this training to use during the 2007 raid on the Provincial

   Joint Coordination Center in Karbala, where Jaysh al-Mahdi terrorists kidnapped four U.S.

   soldiers and killed another. And a 2011 letter from five U.S. Senators documented that




   180
      Bill Roggio, Mahdi Rocket Teams Destroyed in Sadr City, Long War J. (June 3, 2007),
   http://www.longwarjournal.org/archives/2007/06/mahdi_rocket_teams_d.php.
   181
         Id.
                                                    143
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   Hezbollah operative Daqduq instructed “Iraqi extremists” who were part of Jaysh al-Mahdi on

   “how to conduct intelligence and kidnapping operations.”

             429.    As Judge Moss found in Fritz, Iran’s training, through Hezbollah, “played a

   significant role in the success of AAH and other Special Groups. Without that Iranian-backed

   training, the Special Groups would have been ‘nowhere’ near as effective as they were.”182

             430.    The extent of Hezbollah’s involvement in Jaysh al-Mahdi’s attacks was

   demonstrated by evidence gathered in connection with Daqduq’s capture in 2007, which

   included a document described by five U.S. Senators as a 22-page “planning guide”

   memorializing Hezbollah’s wide-ranging involvement in the terrorist attacks detailed above.

   This “planning guide” included specific instructions describing how to plant IEDs and carry out

   abductions of Americans. Hezbollah’s instruction as reflected in this “planning guide” enabled

   Jaysh al-Mahdi to execute an array of sophisticated attacks against Americans that it otherwise

   would have been unable to carry out.

             D.      Acting through Hezbollah, the Islamic Revolutionary Guard Corps,
                     including the Qods Force, routed funds to Jaysh al-Mahdi to finance attacks
                     against Americans in Iraq

             431.    Acting through Hezbollah, the IRGC, including the Qods Force, also provided

   substantial financial support to Jaysh al-Mahdi, including its Special Groups Asaib Ahl al-Haq

   and Kataib Hezbollah.

             432.    Acting through Hezbollah, the IRGC, including the Qods Force, regularly

   provided large cash payments to Jaysh al-Mahdi, channeled via Hezbollah, in the latter’s role as

   the connector between Jaysh al-Mahdi and the IRGC, including the Qods Force. Jaysh al-Mahdi

   Special Groups were supported by the Qods Force, through Hezbollah, with arms and funding



   182
         Fritz, 320 F. Supp. 3d at 64.
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   valued at between $750,000 and $3 million a month.183 “In the words of Dr. Levitt, although far

   less than the funding Iran provided to Hezbollah, the funds provided to AAH were devoted ‘to

   carry[ing] out operations,’ and ‘three-quarter[s] of a million dollars to $3,000,000 a month ... can

   buy a lot of damage.’” 184

               433.   Acting through Hezbollah, the IRGC, including the Qods Force, also paid the

   Joint Cells to kill U.S. forces. As one scholar examining Iranian support for Hezbollah and

   Jaysh al-Mahdi found in 2010, “[m]oney continues to be provided in significant volumes,

   allowing cells to be paid between $4,000 and $13,000 per rocket or roadside bomb attack,

   depending on the circumstances.”185

               434.   Acting through Hezbollah, the IRGC, including the Qods Force, also provided

   funding to individual Jaysh al-Mahdi commanders, including for Asaib Ahl al-Haq and Kataib

   Hezbollah. For example, through Hezbollah, the IRGC, including the Qods Force, paid millions

   each to Muqtada al-Sadr, Qais and Laith Khazali, and Abu Mahdi al-Muhandis.

   VII.        JOINT CELLS COMPRISED OF HEZBOLLAH, JAYSH AL-MAHDI, AND
               ISLAMIC REVOLUTIONARY GUARD CORPS, INCLUDING QODS FORCE,
               KILLED AND INJURED PLAINTIFFS THROUGH TERRORIST ATTACKS
               FOR WHICH DEFENDANTS PROVIDED SUBSTANTIAL ASSISTANCE

               435.   Plaintiffs are members of the American civilians, servicemembers, and

   contractors serving in Iraq, and their family members, who were killed or injured in terrorist

   attacks committed by Hezbollah (a designated FTO at the time), Jaysh al-Mahdi (including Jaysh

   al-Mahdi Special Groups Asaib Ahl al-Haq and Kataib Hezbollah, the latter of which was a




   183
         Id. at 63.
   184
         Id.
   185
         Knights, The Evolution of Iran’s Special Groups in Iraq.
                                                    145
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   designated FTO at the time), and the IRGC (including the Qods Force), all of which acted

   together in Joint Cells.

          436.    Hezbollah has a history of significantly escalating the violence during its ongoing

   terroristic campaigns to drive its own (and that of the IRGC’s, including the Qods Force’s)

   terroristic Anti-American and Anti-Israeli messaging in the Middle East. For example, in 2006,

   during its terrorist attacks against Israel, Hezbollah executed a coordinated rocket offensive that

   Hezbollah (and the IRGC, including the Qods Force) touted to show that Hezbollah (including

   its Iranian paymasters) could militarily challenge the Great Satan (the United States) and the

   Little Satan (Israel), both of whom the terrorists claimed to be worthy of attacking.

          437.    Following this practice, Hezbollah escalated its ongoing terrorist campaign in Iraq

   to achieve a messaging strategy on behalf of Hezbollah and its Iranian patrons the IRGC,

   including the Qods Force. Hezbollah’s decision in 2005 to aggressively expand the EFP and

   rocket campaigns throughout Iraq, as well as Hezbollah’s repeated tactic of to targeting the

   Green Zone in Baghdad, such as in 2008, are two examples of Hezbollah following this

   longstanding Hezbollah strategy in Iraq.

          438.    On or about the spring of 2011, Hezbollah returned to its playbook and intensified

   Hezbollah’s existing terrorist campaign targeting Americans in Iraq. Hezbollah did so because it

   sought to drive a wave of anti-American violence until the then-contemplated full withdrawal of

   U.S. forces from Iraq, which was scheduled to take place at the end of 2011. Hezbollah sought

   to promote violence against Americans in order to intimidate the U.S. and Iraq during this

   critical period for both governments. Hezbollah also sought to bolster its claims of victory over

   America in Iraq, and specifically, Hezbollah’s claims that U.S. forces withdrew from Iraq

   because of Hezbollah’s leadership of the jihadist alliance of Hezbollah, Jaysh al-Mahdi and the



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   IRGC, including the Qods Force. Hezbollah sought to leverage its perceived “victory” over

   America in Iraq to show its strength and superiority to the jihadist world, including but not

   limited to, Hezbollah’s Iranian patrons, the IRGC, including the Qods Force, and other terrorists

   whom Hezbollah hoped to rally to Hezbollah’s terrorist campaign.

          439.    In 2011, Hezbollah, acting through the Joint Cells, promoted a new wave of

   terrorist attacks against Americans in Iraq. To do so, Hezbollah, as part of the Joint Cells, relied

   upon two signature Hezbollah weapons: (1) EFPs, which were a weapon that was exclusively

   associated with Hezbollah and was the terrorists’ most effective roadside bomb in Iraq; and (2)

   advanced rockets, which had been converted into so-called IRAMs or “lob bombs.”

          440.    Hezbollah provided each bomb, EFP, and rocket (including IRAM) that the Joint

   Cells used to commit each attack that injured each Plaintiff. Hezbollah also coordinated every

   aspect of the terrorist campaign that injured each Plaintiff. In both respects, Hezbollah continued

   the same strategy and practice it had pursued in Iraq since 2003.

          441.    In its escalation of attacks in 2011, Hezbollah, acting through the Joint Cells,

   targeted Americans in key Iraqi geographies that had the greatest terroristic impact for

   Hezbollah’s jihadist messaging purposes, including, but not limited to, Baghdad, Basra, and

   Diwaniyah. Acting through the Joint Cells, Hezbollah targeted Americans in Baghdad, Basra,

   and Diwaniyah because the terrorists’ Joint Cells had successfully carried out attacks against

   Americans there as part of Hezbollah’s campaign since Hezbollah first helped create Jaysh al-

   Mahdi in 2003 and ever since.

          442.    The IRGC, including the Qods Force, provided key aid to the intensified terrorist

   campaign through the Joint Cells in Iraq in 2011. The IRGC, including the Qods Force,

   specifically provided Hezbollah money, logistical support, telecommunications technology, and



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   the advanced weapons or weapons components, which Hezbollah supplied to the Joint Cells to

   aid the terrorists’ ability to execute the attacks that injured Plaintiffs.

           443.    Each Plaintiff who suffered injury because of an attack that took place in 2011

   was injured because of Hezbollah’s above-described strategic decision to further escalate

   Hezbollah’s anti-American terror campaign in 2011 in order to intimidate the U.S. and Iraqi

   governments.

           444.    In late 2015, Hezbollah decided, once again, to return to its playbook of escalated

   attacks and intimidation in Iraq, which was designed to intimidate Americans and Iraqis during a

   critical period for both governments in Iraq. Hezbollah pursued this surge in its own terrorist

   campaign in Iraq through at least the spring of 2016.

           445.    Each Plaintiff who suffered injury because of an attack that took place in 2016

   was injured because of Hezbollah’s above-described strategic decision to further escalate

   Hezbollah’s anti-American terror campaign in 2016 in order to intimidate the U.S. and Iraqi

   governments.

           446.    The financial and technological support that MTN and ZTE provided to their

   IRGC-controlled, including Qods Force-controlled, counterparties flowed through to the Joint

   Cells that committed each attack that injured each Plaintiff through some channels that were

   “official” and some that were “off-the books.”

           447.    With respect to the former, MTN’s and ZTE’s “official” transactions with their

   IRGC, including Qods Force, front counterparties – which, though open, were still illegal –

   flowed through the IRGC, including the Qods Force, into Hezbollah’s terrorist budget in order to

   fund the Joint Cells that committed each attack that injured each Plaintiff. The millions in value

   that MTN and ZTE each showered upon the IRGC, including the Qods Force, each year – for



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   MTN, from 2005 until the present; for ZTE, from at least 2008 through at least 2016 – through

   their official transactions flowed through Hezbollah to the terrorist(s) that committed each attack

   against each Plaintiff.

          448.    MTN’s and ZTE’s covert “off-the-books” assistance to the terrorists was no less

   important. The IRGC, including the Qods Force, has provided tens of millions of dollars “off-

   the-books” to Hezbollah since Hezbollah’s inception. MTN’s and ZTE’s “off-the-books”

   financial-, technology-, and services-related transactions with their IRGC, including Qods Force,

   front counterparties also flowed through the IRGC, including the Qods Force, into Hezbollah’s

   terrorist budget in order to fund the Joint Cells that committed each attack that injured each

   Plaintiff. MTN’s and ZTE’s illicit transactions with the Bonyad Mostazafan, IEI, MTN Irancell,

   TCI, and/or the Akbari Fronts provided millions in illicit “off-the-books” income, often in U.S.

   Dollars, to the IRGC, including the Qods Force, each year, which the IRGC, including the Qods

   Force, then provided to Hezbollah so that the Joint Cells could commit each attack that injured

   each Plaintiff, which they did.

          449.    MTN and ZTE also aided the Joint Cell terrorist(s) who committed each attack by

   transacting with notorious terrorist front counterparties, including, but not limited to, the Bonyad

   Mostazafan, IEI, MTN Irancell, TCI, and/or the Akbari Fronts, which had a widespread and

   specific reputation for raising money, providing logistical support, and obtaining weapons for

   terrorists, including Hezbollah, to use to attack Americans. MTN’s and ZTE’s financial support

   and provision of embargoed American technologies and services for such IRGC-controlled,

   including the Qods Force-controlled, counterparties flowed through Hezbollah to the terrorist(s)

   that committed each attack that injured each Plaintiff.




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           450.    MTN’s and ZTE’s conduct had an especially tight nexus with the Joint Cells’

   ability to execute signature Hezbollah attacks involving the use of EFPs, advanced rockets, and

   hostage-taking. Each EFP and advanced rocket that the Joint Cells used to attack and injure each

   Plaintiff contained, reflected, was reverse engineered from, and/or was otherwise technologically

   aided by, the IRGC’s, including the Qods Force’s, use of embargoed American technology that

   MTN and ZTE obtained for Hezbollah and the Joint Cells through MTN’s and ZTE’s

   transactions with fronts, operatives, and agents for the IRGC, including the Qods Force, and in

   the case of MTN, MTN Group Limited’s joint venture with the IRGC, including the Qods Force,

   through MTN Irancell. The embargoed American technology that MTN and ZTE covertly

   supplied to the IRGC, including the Qods Force, substantially improved the efficacy and lethality

   of each EFP and adv rocket used to attack and injure each Plaintiff.

           451.    MTN and ZTE also supported the terrorist campaign through their financial

   support of fronts acting for the IRGC, including the Qods Force, which funded the Joint Cell

   attacks. The IRGC, including the Qods Force, manufactured and/or sourced key components for

   Hezbollah’s EFP attacks, including, but not limited to, the military- and factory-grade copper

   discs and embargoed technologies, which Hezbollah used and were vital to Hezbollah’s ability to

   build the advanced Hezbollah-designed EFPs that the Joint Cells used to commit each EFP attack

   that injured each Plaintiff.

           A.      The June 23, 2011, EFP attack in Baghdad

           452.    On June 23, 2011, a Joint Cell comprised of operatives from Hezbollah, Jaysh al-

   Mahdi, and the IRGC (including the Qods Force) attacked a three-vehicle American civilian

   convoy that was traveling in civilian traffic with an EFP in the Karadah District on the road

   between the University of Baghdad and the Green Zone in Baghdad, Iraq (“The June 23, 2011,

   EFP Attack”). The convoy was attacked while traveling to the U.S. Embassy after two of its
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   passengers, Dr. Stephen S. Everhart and Abdul Ghaffar Mughal, had conducted a seminar

   designed to elevate an Iraqi business school to international standards and to advise the academic

   leadership on obtaining accreditation for its business school.

          453.    The June 23, 2011, EFP Attack was committed by Hezbollah (a designated FTO

   at the time of the attack), Jaysh al-Mahdi, and the IRGC (including the Qods Force) acting

   together in a Joint Cell, comprised of Hezbollah, Jaysh al-Mahdi, and the IRGC (including the

   Qods Force), with a Jaysh al-Mahdi terrorist serving as the triggerman. The Joint Cell that

   committed the June 23, 2011, EFP Attack was led by forward-deployed Hezbollah.

          454.    The June 23, 2011, EFP Attack, and Dr. Everhart’s murder, would have violated

   the laws of war if these terrorist groups were subject to them because, among other reasons, Dr.

   Everhart and Mr. Mughal were civilians not taking part in hostilities, and the terrorist(s) who

   planted and detonated the EFP neither wore uniforms nor otherwise identified themselves as

   enemy combatants.

                  1.       The Everhart Family and Estate

          455.    Dr. Stephen S. Everhart served on the faculty of The American University in

   Cairo, including as the Associate Dean of the School of Business.

          456.    On June 23, 2011, Dr. Stephen S. Everhart was injured in the June 23, 2011, EFP

   Attack in Baghdad Province, Iraq. Dr. Everhart died on June 23, 2011, as a result of injuries

   sustained during the June 23, 2011, EFP Attack. He was 53 years old.

          457.    Dr. Stephen S. Everhart was a national of the United States at the time of the

   attack and his death.

          458.    Plaintiff Dr. Stephanie Zobay is the widow of Dr. Stephen S. Everhart. She

   brings claims in both her personal capacity and her representative capacity on behalf of Dr.

   Everhart’s estate. She is a national of the United States.
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          459.    Plaintiff Lindsay M. Everhart is the daughter of Dr. Stephen S. Everhart. She is a

   national of the United States.

          460.    As a result of the June 23, 2011, EFP Attack, and Dr. Everhart’s death, Dr. Zobay

   has experienced severe mental anguish, emotional pain and suffering, and the loss of Dr.

   Everhart’s society, companionship, and counsel.

          461.    Dr. Everhart’s estate is entitled to recover economic and non-economic damages

   from Defendants, due to his murder by Hezbollah, Jaysh al-Mahdi, and the IRGC, including the

   Qods Force.

                  2.      The Mughal Family

          462.    Plaintiff Dr. Abdul Ghaffar Mughal served in Iraq as a civilian contractor with the

   Iraq Financial Development Project of USAID and had travelled, along with Dr. Stephen S.

   Everhart, to Baghdad University to advise its academic leadership.

          463.    On June 23, 2011, Dr. Abdul Ghaffar Mughal was injured in the June 23, 2011,

   EFP Attack. The attack severely wounded Dr. Mughal, who suffered from, among other injuries,

   a broken hand, partial loss of hearing, a variety of shrapnel injuries, and post-traumatic stress

   disorder.

          464.    Dr. Abdul Ghaffar Mughal was a passenger alongside Dr. Stephen S. Everhart in

   the same vehicle when the Joint Cell terrorists exploded their EFP. Along with his own injuries,

   Dr. Mughal witnessed Dr. Everhart’s death. As a result of the June 23, 2011, EFP Attack and his

   injuries, Dr. Mughal has experienced severe physical and emotional pain and suffering.

          465.    Dr. Abdul Ghaffar Mughal was a national of the United States at the time of the

   attack, and remains one to this day.

          466.    Plaintiff Sitorai Khasanzod is the wife of Dr. Abdul Ghaffar Mughal. She is a

   national of the United States.
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          467.    Plaintiff Khalid Mughal is the son of Dr. Abdul Ghaffar Mughal. He is a national

   of the United States.

          468.    Plaintiff Hamid Mughal is the son of Dr. Abdul Ghaffar Mughal. He is a national

   of the United States.

          469.    Plaintiff Angela Mughal is the daughter of Dr. Abdul Ghaffar Mughal. She is a

   national of the United States.

          470.    Plaintiff N.M., by and through his next friend Dr. Abdul Ghaffar Mughal, is the

   minor daughter of Abdul Ghaffar Mughal. She is a national of the United States.

          471.    Plaintiff M.M., by and through his next friend Dr. Abdul Ghaffar Mughal, is the

   minor son of Abdul Ghaffar Mughal. He is a national of the United States.

          472.    As a result of the June 23, 2011, EFP Attack and Dr. Abdul Ghaffar Mughal’s

   injuries, each member of the Mughal family has experienced severe mental anguish, emotional

   pain and suffering.

          B.      The July 7, 2011, EFP attack in Baghdad

          473.    On July 7, 2011, a Joint Cell comprised of operatives from Hezbollah, Jaysh al-

   Mahdi, and the IRGC (including the Qods Force) attacked an American military convoy that was

   traveling near the Victory Base Complex in the Mansour District of Baghdad, Iraq, with an EFP

   (the “July 7, 2011, EFP Attack”).

          474.    The July 7, 2011, EFP Attack was committed by Hezbollah (a designated FTO at

   the time of the attack), Jaysh al-Mahdi, and the IRGC (including the Qods Force) acting together

   in a Joint Cell comprised of Hezbollah, Jaysh al-Mahdi, and the IRGC (including the Qods

   Force), with a Jaysh al-Mahdi terrorist serving as the triggerman.

          475.    The July 7, 2011, EFP Attack would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who planted
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   and detonated the EFP neither wore uniforms nor otherwise identified themselves as enemy

   combatants.

                    1.     The Newby Family

            476.    Specialist Nicholas W. Newby served in Iraq in the Idaho National Guard as part

   of the 145th Brigade Support Battalion, 116th Cavalry Heavy Brigade Combat Team, Idaho

   National Guard.

            477.    On July 7, 2011, SPC Newby was injured in the July 7, 2011, EFP Attack in

   Baghdad Province, Iraq. SPC Newby died on July 7, 2011, as a result of injuries sustained

   during the July 7, 2011, EFP Attack.

            478.    SPC Newby was a national of the United States at the time of the attack and his

   death.

            479.    Plaintiff Wayne Newby is the father of SPC Newby. He is a national of the

   United States.

            480.    Plaintiff Theresa Hart is the mother of SPC Newby. She is a national of the

   United States.

            481.    Plaintiff Nathan Newby is the brother of SPC Newby. He is a national of the

   United States.

            482.    As a result of the July 7, 2011, EFP Attack, and SPC Newby’s death, each

   member of the Newby family has experienced severe mental anguish, emotional pain and

   suffering.

                    2.     The Rzepa Family

            483.    Plaintiff Staff Sergeant Jason Rzepa served in Iraq in the U.S. Army as part of the

   145th Brigade Support Battalion, 116th Cavalry Heavy Brigade Combat Team, Idaho National

   Guard.

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          484.    On July 7, 2011, SSG Rzepa was injured in the July 7, 2011, EFP Attack in

   Baghdad Province, Iraq. SSG Rzepa lost both his legs below the knees. As a result of the July 7,

   2011, EFP Attack, SSG Rzepa has experienced extreme physical and emotional pain and

   suffering.

          485.    SSG Rzepa was a national of the United States at the time of the attack, and

   remains one to this day.

          486.    Plaintiff Cassandra Rzepa is the former spouse of SSG Rzepa. She is a national

   of the United States.

          487.    Plaintiff C.R., by and through his next friend Cassandra Rzepa, is the minor son

   of SSG Rzepa and Cassandra Rzepa. He is a national of the United States.

          488.    Plaintiff K.R., by and through his next friend Adrian Davis, is the minor son of

   SSG Rzepa. He is a national of the United States.

          489.    As a result of the July 7, 2011, EFP Attack, and SSG Rzepa’s injuries, each

   member of the Rzepa Family has experienced extreme emotional pain and suffering.

          C.      The July 8, 2011, Rocket attack in Baghdad

          490.    On July 8, 2011, a Joint Cell comprised of operatives from Hezbollah, Jaysh al-

   Mahdi, and the IRGC (including the Qods Force) attacked Camp Victory, which housed

   American servicemembers in Baghdad, conducted an indirect fire attack against Americans with

   advanced rockets, including IRAMs (the “July 8, 2011, Rocket Attack”).

          491.    The July 8, 2011, Rocket Attack was committed by Hezbollah (a designated FTO

   at the time of the attack), Jaysh al-Mahdi, and the IRGC (including the Qods Force) acting

   together in a Joint Cell comprised of Hezbollah, Jaysh al-Mahdi, and the IRGC (including the

   Qods Force), with a Jaysh al-Mahdi terrorist serving as the triggerman.



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          492.    The July 8, 2011, Rocket Attack would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants.

                  1.     The Ogden Family

          493.    Plaintiff Technical Sergeant Tyler N. Ogden served in the U.S. Air Force in Iraq

   as part of the 477th Air Expeditionary Group.

          494.    On July 8, 2011, TSgt Ogden was injured during the July 8, 2011, Rocket Attack

   in Baghdad Province, Iraq. The July 8, 2011, Rocket Attack resulted in severe injuries to TSgt

   Ogden requiring extensive treatment, including shrapnel wounds to his right leg, knee, and ankle,

   muscle damage, hearing loss, and PTSD. Due to his injuries, he received an 80% disability

   rating from the VA.

          495.    As a result of the July 8, 2011, Rocket Attack and his injuries, TSgt Ogden has

   experienced severe physical and emotional pain and suffering.

          496.    TSgt Ogden was a national of the United States at the time of the attack, and

   remains one to this day.

          D.      The July 10, 2011, Rocket attack in Basra

          497.    On July 10, 2011, a Joint Cell comprised of operatives from Hezbollah, Jaysh al-

   Mahdi, and the IRGC (including the Qods Force) attacked Forward Operating Base (“FOB”)

   Gary Owen, which housed American servicemembers in Amarah in Basra Province in Southern

   Iraq, with advanced rockets, including IRAMs (the “July 10, 2011, Rocket Attack”).

          498.    The July 10, 2011, Rocket Attack was committed by Hezbollah (a designated

   FTO at the time of the attack), Jaysh al-Mahdi, and the IRGC (including the Qods Force) acting



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   together in a Joint Cell comprised of Hezbollah, Jaysh al-Mahdi, and the IRGC (including the

   Qods Force), with a Jaysh al-Mahdi terrorist serving as the triggerman.

          499.    The July 10, 2011, Rocket Attack would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who fired the

   rockets neither wore uniforms nor otherwise identified themselves as enemy combatants.

                  1.     The Chinn Family

          500.    Plaintiff Staff Sergeant William M. Chinn served in the U.S. Army in Iraq as part

   of the 3rd Battalion, 8th Cavalry Regiment, 3rd Brigade Combat Team, 1st Cavalry Division.

          501.    On July 10, 2011, SSG Chinn was injured during the July 10, 2011, Rocket

   Attack in Basra Province, Iraq. The July 10, 2011, Rocket Attack resulted in severe injuries to

   SSG Chinn requiring extensive treatment. Due to his injuries, SSG Chinn received a 100%

   disability rating from the VA.

          502.    As a result of the July 10, 2011, Rocket Attack and his injuries, SSG Chinn has

   experienced severe physical and emotional pain and suffering.

          503.    SSG Chinn was a national of the United States at the time of the attack, and

   remains one to this day.

                  2.     The Niquette Family

          504.    Plaintiff First Lieutenant Sean M. Niquette served in the U.S. Army in Iraq as part

   of the 3rd Battalion, 8th Cavalry Regiment, 3rd Brigade Combat Team, 1st Cavalry Division.

          505.    On July 10, 2011, 1LT Niquette was injured during the July 10, 2011, Rocket

   Attack in Basra Province, Iraq. The July 10, 2011, Rocket Attack resulted in severe injuries to

   1LT Niquette requiring extensive treatment. Due to his injuries, 1LT Niquette received an 80%

   disability rating from the VA.



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          506.      As a result of the July 10, 2011, Rocket Attack and his injuries, 1LT Niquette has

   experienced severe physical and emotional pain and suffering.

          507.      1LT Niquette was a national of the United States at the time of the attack, and

   remains one to this day.

          508.      Plaintiff Lauren Niquette is the wife of 1LT Niquette. She is a national of the

   United States.

          509.      Plaintiff Thomas Niquette is the father of 1LT Niquette. He is a national of the

   United States.

          510.      Plaintiff Mary Niquette is the mother of 1LT Niquette. She is a national of the

   United States.

          511.      As a result of the July 10, 2011, Rocket Attack and 1LT Niquette’s injuries, each

   member of the Niquette family has experienced severe mental anguish, emotional pain and

   suffering.

          E.        The July 15, 2011, EFP attack in Basra

          512.      On July 15, 2011, a Joint Cell comprised of operatives from Hezbollah, Jaysh al-

   Mahdi, and the IRGC (including the Qods Force) attacked an American military convoy that was

   traveling in Basra, Iraq, with an EFP (the “July 15, 2011, EFP Attack”).

          513.      The July 15, 2011, EFP Attack was committed by Hezbollah (a designated FTO at

   the time of the attack), Jaysh al-Mahdi, and the IRGC (including the Qods Force) acting together

   in a Joint Cell comprised of Hezbollah, Jaysh al-Mahdi, and the IRGC (including the Qods

   Force), with a Jaysh al-Mahdi terrorist serving as the triggerman.

          514.      The July 15, 2011, EFP Attack would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who planted



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   and detonated the EFP neither wore uniforms nor otherwise identified themselves as enemy

   combatants.

                    1.     The Elliott Family

             515.   Specialist Daniel L. Elliott served in Iraq as part of the 290th Military Police

   Brigade, 200th Military Police Command, U.S. Army Reserve.

             516.   On July 15, 2011, SPC Elliott was injured in the July 15, 2011, EFP Attack in

   Basra Province, Iraq. SPC Elliott died on July 15, 2011, as a result of injuries sustained during

   the July 15, 2011, EFP Attack.

             517.   SPC Elliott was a national of the United States at the time of the attack and his

   death.

             518.   Plaintiff Ed Elliott is the father of SPC Elliott. He is a national of the United

   States.

             519.   As a result of the July 15, 2011, EFP Attack, and SPC Elliott’s death, each

   member of the Elliott family has experienced severe mental anguish, emotional pain and

   suffering.

             F.     The October 12, 2011, Rocket attack in Basra

             520.   On October 12, 2011, a Joint Cell comprised of operatives from Hezbollah, Jaysh

   al-Mahdi, and the IRGC (including the Qods Force) attacked FOB Gary Owen in Amarah in

   Basra Province in Southern Iraq, with advanced rockets, including IRAMs (the “October 12,

   2011, Rocket Attack”).

             521.   The October 12, 2011, Rocket Attack was committed by Hezbollah (a designated

   FTO at the time of the attack), Jaysh al-Mahdi, and the IRGC (including the Qods Force) acting

   together in a Joint Cell comprised of Hezbollah, Jaysh al-Mahdi, and the IRGC (including the

   Qods Force), with a Jaysh al-Mahdi terrorist serving as the triggerman.

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          522.      The October 12, 2011, Rocket Attack would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who fired the

   rockets neither wore uniforms nor otherwise identified themselves as enemy combatants.

                    1.     The Alldridge Family

          523.      Plaintiff Private First Class Brian C. Alldridge served in the U.S. Army in Iraq as

   part of the 8th Cavalry Regiment.

          524.      On October 12, 2011, PFC Alldridge was injured during the October 12, 2011,

   Rocket Attack in Basra Province, Iraq. The October 12, 2011, Rocket Attack resulted in severe

   injuries to PFC Alldridge requiring extensive treatment. Due to his injuries, PFC Alldridge

   received a 100% disability rating from the VA.

          525.      As a result of the October 12, 2011, Rocket Attack and his injuries, PFC

   Alldridge has experienced severe physical and emotional pain and suffering.

          526.      PFC Alldridge was a national of the United States at the time of the attack, and

   remains one to this day.

          527.      Plaintiff Joann Alldridge is the wife of PFC Alldridge. She is a national of the

   United States.

          528.      Plaintiff Ronald Alldridge is the father of PFC Alldridge. He is a national of the

   United States.

          529.      Plaintiff Dianna Alldridge is the mother of PFC Alldridge. She is a national of

   the United States.

          530.      Plaintiff Todd Jeffrey Alldridge is the brother of PFC Alldridge. He is a national

   of the United States.

          531.      Plaintiff Andrew Major is the stepson of PFC Alldridge. He is a national of the

   United States.
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          532.    Plaintiff Ashley Major is the stepdaughter of PFC Alldridge. She is a national of

   the United States.

          533.    Plaintiff Alyssa Major is the stepdaughter of PFC Alldridge. She is a national of

   the United States.

          534.    As a result of the October 12, 2011, Rocket Attack and PFC Alldridge’s injuries,

   each member of the Alldridge family has experienced severe mental anguish, emotional pain and

   suffering.

          G.      The November 2, 2011, Explosive attack in Diwaniyah

          535.    On November 2, 2011, a Joint Cell comprised of operatives from Hezbollah,

   Jaysh al-Mahdi, and the IRGC (including the Qods Force) attacked American servicemembers as

   they were traveling in Diwaniyah in Qadisiyah Province in Southern Iraq, with an Iranian

   manufactured anti-tank hand grenade (the “November 2, 2011, Explosive Attack”).

          536.    The November 2, 2011, Explosive Attack was committed by Hezbollah (a

   designated FTO at the time of the attack), Jaysh al-Mahdi, and the IRGC (including the Qods

   Force) acting together in a Joint Cell comprised of Hezbollah, Jaysh al-Mahdi, and the IRGC

   (including the Qods Force), with a Jaysh al-Mahdi terrorist serving as the triggerman.

          537.    The November 2, 2011, Explosive Attack would have violated the laws of war if

   these terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   detonated the explosives neither wore uniforms nor otherwise identified themselves as enemy

   combatants.

                  1.     The Sullen Family

          538.    Plaintiff Private First Class Marcus Jamil Sullen served in the U.S. Army in Iraq

   as part of Bravo Company, 64th Brigade Support Battalion.



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          539.    On November 2, 2011, PFC Sullen was injured during the November 2, 2011,

   Explosive Attack in Qadisiyah Province, Iraq. The November 2, 2011, Explosive Attack

   resulted in severe injuries requiring extensive treatment. Due to his injuries, PFC Sullen received

   a 80% disability rating from the VA.

          540.    As a result of the November 2, 2011, Explosive Attack and his injuries, PFC

   Sullen has experienced severe physical and emotional pain and suffering.

          541.    PFC Sullen was a national of the United States at the time of the attack, and

   remains one to this day.

          542.    As a result of the November 2, 2011, Explosive Attack and PFC Sullen’s injuries,

   each member of the Sullen family has experienced severe mental anguish, emotional pain and

   suffering.

          H.      The November 14, 2011, EFP attack in Baghdad

          543.    On November 14, 2011, a Joint Cell comprised of operatives from Hezbollah,

   Jaysh al-Mahdi, and the IRGC (including the Qods Force) attacked an American military convoy

   that was traveling in Baghdad, Iraq, with an EFP (the “November 14, 2011, EFP Attack”).

          544.    The November 14, 2011, EFP Attack was committed by Hezbollah (a designated

   FTO at the time of the attack), Jaysh al-Mahdi, and the IRGC (including the Qods Force) acting

   together in a Joint Cell comprised of Hezbollah, Jaysh al-Mahdi, and the IRGC (including the

   Qods Force), with a Jaysh al-Mahdi terrorist serving as the triggerman.

          545.    The November 14, 2011, EFP Attack would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who planted

   and detonated the EFP neither wore uniforms nor otherwise identified themselves as enemy

   combatants.



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                   1.      The Hickman Family

            546.   Specialist David Emanuel Hickman served in Iraq as part of B Company, 2nd

   Battalion, 325th Airborne Infantry Regiment, 2nd Brigade Combat Team, 82nd Airborne

   Division.

            547.   On November 14, 2011, SPC Hickman was injured in the November 14, 2011,

   EFP Attack in Baghdad Province, Iraq. SPC Hickman died on November 14, 2011, as a result of

   injuries sustained during the November 14, 2011, EFP Attack.

            548.   SPC Hickman was a national of the United States at the time of the attack and his

   death.

            549.   Plaintiff David Eugene Hickman is the father of SPC Hickman. He is a national

   of the United States.

            550.   Plaintiff Veronica Hickman is the mother of SPC Hickman. She is a national of

   the United States.

            551.   Plaintiff Devon F. Hickman is the brother of SPC Hickman. He is a national of

   the United States.

            552.   As a result of the November 14, 2011, EFP Attack, and SPC Hickman’s death,

   each member of the Hickman family has experienced severe mental anguish, emotional pain and

   suffering.

            I.     The January 15, 2016, Kidnapping attack in Baghdad

            553.   On January 15, 2016, a team of Jaysh al-Mahdi terrorists, acting as part of a Joint

   Cell comprised of operatives from Hezbollah, Jaysh al-Mahdi, and the IRGC (including the Qods

   Force), kidnapped Plaintiff Russell Frost, Plaintiff Waiel El-Maadawy, and Plaintiff Amr




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   Mohamed as they were attending a business meeting in Baghdad (the “January 15, 2016,

   Kidnapping Attack”).186

          554.    The terrorists targeted Mr. Frost, Mr. El-Maadawy, and Mr. Mohamed in the

   January 15, 2016, Kidnapping Attack because Mr. Frost, Mr. El-Maadawy, and Mr. Mohamed

   were American contractors working in Iraq on a contract for Blue Light LLC, which had been

   hired as a subcontractor by General Dynamics Information Technology, Inc. to perform work on

   a U.S. government subcontract relating to the training of Iraqi special forces.

          555.    The January 15, 2016, Kidnapping Attack was the first successful Hezbollah

   proxy kidnapping operation in Iraq since 2011. After kidnapping them, the terrorists held Mr.

   Frost, Mr. El-Maadawy, and Mr. Mohamed hostage for thirty-one days, during which they beat,

   tortured, and humiliated their American hostages, singling out Mr. El-Maadawy and Mr.

   Mohamed for special abuse because the terrorists believed that Mr. El-Maadawy and Mr.

   Mohamed, who are Arab American veterans, had betrayed Muslims by helping America in Iraq.

          556.    On February 16, 2016, after thirty-one days in captivity, the terrorists released Mr.

   Frost, Mr. El-Maadawy, and Mr. Mohamed.

          557.    The January 15, 2016, Kidnapping Attack, and subsequent hostage taking and

   torture of Mr. Frost, Mr. El-Maadawy, and Mr. Mohamed, was committed by Hezbollah (a

   designated FTO at the time of the attack), Jaysh al-Mahdi, and the IRGC (including the Qods

   Force) acting together in a Joint Cell comprised of Hezbollah, Jaysh al-Mahdi, and the IRGC




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      By 2016, Jaysh al-Mahdi had undergone several additional branding changes and the terror
   organization referred to itself as “Saraya al-Salam” at the time of the attack. Regardless of
   whether it called itself Jaysh al-Mahdi or Saraya al-Salam, the terrorist organization served as a
   proxy for Hezbollah in Iraq and was at all times led by notorious Shiite terrorist Muqtada al-
   Sadr.
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   (including the Qods Force), with Hezbollah planning the kidnapping and Jaysh al-Mahdi serving

   as the kidnappers.

          558.    The January 15, 2016, Kidnapping Attack, and subsequent hostage taking and

   torture of Russell Frost, Waiel El-Maadawy, and Amr Mohamed, would have violated the laws

   of war if these terrorist groups were subject to them because, among other reasons, the

   terrorist(s) who kidnapped them did not identify themselves as enemy combatants.

                  1.     The Frost Family and Estate

          559.    On January 15, 2016, and thereafter, Russell Frost was injured during the January

   15, 2016, Kidnapping Attack in Baghdad Province, Iraq. As a result of the January 15, 2016,

   Kidnapping Attack and his injuries, Mr. Frost experienced severe physical and emotional pain

   and suffering before ultimately dying.

          560.    The January 15, 2016, Kidnapping Attack resulted in severe injuries that

   ultimately were the proximate cause of Russell Frost’s death less than two years later: after his

   hostage ordeal, Mr. Frost would only live for another 685 days, each one as agonizing as the last.

          561.    Russell Frost died on November 30, 2017, as a result of injuries sustained during

   the January 15, 2016, Kidnapping Attack.

          562.    Until his death, Russell Frost suffered from nerve damage to both feet, pain in his

   back, shoulder and elbow, Tarsal Tunnel Syndrome in both ankles, kidney damage due to

   dehydration, hearing loss, a chronic cough and breathing problems, vision loss, and permanent

   scarring on his face and wrists. Mr. Frost also suffered from Post-Traumatic Stress Disorder,

   anxiety, anger, insomnia, and a general lack of energy and loss of stamina. These conditions

   contributed to, and were a proximate cause of, his untimely death.

          563.    Russell Frost was a national of the United States at the time of the January 15,

   2016, Kidnapping Attack, and remained one until his death.
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          564.    Plaintiff Tammie Frost is the widow of Russell Frost. She brings claims in both

   her personal capacity and her representative capacity on behalf of Mr. Frost’s estate. She is a

   national of the United States.

          565.    Plaintiff Madison Frost is the daughter of Russell Frost and Tammie Frost. She is

   a national of the United States.

          566.    Plaintiff Crystal Frost is the daughter of Russell Frost and Tammie Frost. She is a

   national of the United States.

          567.    Plaintiff Amanda Frost is the adopted daughter of Russell Frost, and the natural

   born daughter of Tammie Frost. She is a national of the United States.

          568.    As a result of the January 15, 2016, Kidnapping Attack and Mr. Frost’s injuries,

   each member of the Frost family has experienced severe mental anguish, emotional pain and

   suffering.

          569.    Russell Frost’s estate is entitled to recover economic and non-economic damages

   from Defendants, due to his death being proximately caused by his kidnapping and being held

   hostage by Hezbollah, Jaysh al-Mahdi, and the IRGC, including the Qods Force.

                  2.      The El-Maadawy Family

          570.    On January 15, 2016, and thereafter, Plaintiff Waiel El-Maadawy was injured

   during the January 15, 2016, Kidnapping Attack in Baghdad Province, Iraq.

          571.    The January 15, 2016, Kidnapping Attack severely injured Mr. El-Maadawy. He

   suffers from constant and ongoing pain in his lower back, wrists, elbows, knees, ankles, and

   shoulders. Mr. El-Maadawy also experiences intermittent numbness in his extremities and has

   permanent scarring on his ankles and nose as a result of the restrains placed on him during his

   captivity. He also suffers from Post-Traumatic Stress Disorder, frequent nightmares, and

   difficulty sleeping.
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          572.    Plaintiff Waiel El-Maadawy was a national of the United States at the time of the

   attack, and remains one to this day.

          573.    Plaintiff BilQis Aidara Adjei is the wife of Waiel El-Maadawy. She was engaged

   to be married and living with Mr. El-Maadawy at the time of the hostage taking. She is a

   national of the United States.

          574.    Plaintiff Alexis Grant is the stepdaughter of Waiel El-Maadawy. She is a national

   of the United States.

          575.    Plaintiff Malik Elmaadawy is the son of Waiel El-Maadawy. He is a national of

   the United States.

          576.    Plaintiff G.E., by and through his next friend Latasha Elmaadawy, is the minor

   son of Waiel. He is a national of the United States.

          577.    Plaintiff Zeinab El-Maadawy is the mother of Waiel El-Maadawy. She is a

   national of the United States and resides in the Eastern District of New York.

          578.    Plaintiff Ihab El-Maadawy is the brother of Waiel El-Maadawy. He is a national

   of the United States and resides in the Eastern District of New York.

          579.    Plaintiff Tamer El-Maadawy is the brother of Waiel El-Maadawy. He is a

   national of the United States.

          580.    Plaintiff Mohammed El-Maadawy is the brother of Waiel El-Maadawy. He is a

   national of the United States.

          581.    Plaintiff Mustafa El-Maadawy is the brother of Waiel El-Maadawy. He is a

   national of the United States and resides in the Eastern District of New York.




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          582.    As a result of the January 15, 2016, Kidnapping Attack and Waiel El-Maadawy’s

   injuries, each member of the El-Maadawy family has experienced severe mental anguish,

   emotional pain and suffering.

                  3.     The Mohamed Family

          583.    On January 15, 2016, and thereafter, Plaintiff Amr Mohamed was injured during

   the January 15, 2016, Kidnapping Attack in Baghdad Province, Iraq.

          584.    The January 15, 2016, Kidnapping Attack severely injured Amr Mohamed. Mr.

   Mohamed suffers from severe nerve damage that requires surgical repair in his ankles and wrists.

   The permanency of those injuries remains unknown at this time and will remain that way until

   the surgeries are performed. He continues to experience significant pain in his back, neck, and

   head as a result of how he was treated. Mr. Mohamed also suffered from Post-Traumatic Stress

   Disorder. This mental condition is severe enough that at one point while Mr. Mohamed was

   hospitalized in February 2017 when he awoke to the sound of gunfire, fully believing that he was

   in the midst of a warzone and fearing for his life. He then blacked out, and the next thing he

   remembers is waking up in a local jail. Mr. Mohamed does not remember any of the events that

   occurred after he blacked out, but, despite a long history of public service and law-abiding

   behavior, he was accused of allegedly assaulting a hospital security guard.

          585.    Plaintiff Amr Mohamed was a national of the United States at the time of the

   attack, and remains one to this day.

          586.    Plaintiff Brenda Mohamed was the wife of Amr Mohamed at the time of the

   January 15, 2016, Kidnapping Attack. She is a national of the United States.

          587.    As a result of the January 15, 2016, Kidnapping Attack and Amr Mohamed’s

   injuries, each member of the Mohamed family has experienced severe mental anguish, emotional

   pain and suffering.
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                                        CLAIMS FOR RELIEF

         COUNT ONE: VIOLATION OF THE ANTI-TERRORISM ACT, 18 U.S.C. § 2333(a)
                [All Defendants: Primary Liability, 18 U.S.C. § 2339A Predicate]

            588.   Plaintiffs incorporate their factual allegations above.

            589.   Defendants provided material support to the IRGC, including the Qods Force,187

   in violation of 18 U.S.C. § 2339A. They did so by reaching into the United States to illegally

   obtain for the IRGC's, including the Qods Force’s, benefit, dual-use technology that greatly

   aided Iran’s terrorist enterprise, and by entering into business transactions and/or making

   payments directly to the IRGC, including the Qods Force, which provided substantial funds for

   the benefit of the IRGC’s, including the Qods Force’s, terrorist proxies like Hezbollah.

            590.   Defendants’ sourcing of American technology for the IRGC’s, including the Qods

   Force’s, benefit provided a service; assistance derived from scientific, technical, or other

   specialized knowledge; communications equipment; facilities; and personnel (that is, the persons

   who carried out the sourcing requests), which likewise qualified as material support. MTN’s

   cash-flow generation for the IRGC, including the Qods Force, through MTN Irancell also took

   the form of currency or monetary instruments or financial securities, which qualified as material

   support under 18 U.S.C. § 2339A(b)(1). ZTE’s cash-flow generation for the IRGC, including

   the Qods Force, via modernizing the IRGC-controlled cellular and landline communications

   networks likewise took the form of currency or monetary instruments or financial securities,

   which qualified as material support under 18 U.S.C. § 2339A(b)(1).




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      All references to the “IRGC” in Counts One through Three below are inclusive of the Qods
   Force, unless otherwise specified. See supra Part I(A) (explaining that the Qods Force is part of
   the IRGC).
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          591.    Defendants knew or recklessly disregarded that their material support would be

   used by the IRGC, Qods Force, Hezbollah, and Jaysh al-Mahdi in the preparation for, or in

   carrying out, the destruction of U.S. property by fire or explosive, conspiracy to murder in a

   foreign country, killing and attempted killing of U.S. employees performing official duties,

   hostage taking, damaging U.S. government property, killing U.S. nationals abroad, use of

   weapons of mass destruction, commission of acts of terrorism transcending national boundaries,

   bombing government facilities, financing terrorism, and receiving training from FTOs. Those

   acts by the IRGC, Qods Force, Hezbollah, and Jaysh al-Mahdi, in turn, violated the criminal laws

   of the United States, or would have violated those laws had they been committed within the

   jurisdiction of the United States, including 18 U.S.C. §§ 844(f )(2) or (3), 956(a)(1), 1114, 1203,

   1361, 2332, 2332a, 2332b, 2332f, 2339C(a)(1)(B), and 2339D, respectively. Defendants also

   disguised the nature of their support, in further violation of 18 U.S.C. § 2339A.

          592.    Defendants’ conduct, by providing material support to a group that was

   committing terrorist acts against Americans, involved violent acts and acts dangerous to human

   life. Defendants’ conduct therefore gives rise to primary liability under 18 U.S.C. § 2333(a).188

   Defendants’ support for the IRGC, Qods Force, Hezbollah, and Jaysh al-Mahdi appears, as an

   objective matter, to have been intended (a) to intimidate or coerce the civilian populations of

   Iraq, the United States, and other Coalition nations, (b) to influence the policy of the U.S., Iraq,

   and other Coalition governments by intimidation and coercion, and (c) to affect the conduct of




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      See, e.g., Wultz v. Islamic Republic of Iran, 755 F. Supp. 2d 1, 48-49 (D.D.C. 2010) (violation
   of material-support statutes, even without any “subjective intent” to further terrorist objectives,
   meets statutory definition of “international terrorism” based on such support’s “objective
   ‘external appearance’ ”); Burnett v. Al Baraka Inv. & Dev. Corp., 274 F. Supp. 2d 86, 106-07
   (D.D.C. 2003) (similar).
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   the U.S., Iraq, and other Coalition governments by mass destruction, assassination, and

   kidnapping.

          593.    Defendants’ provision of material support to the IRGC, Qods Force, Hezbollah,

   and Jaysh al-Mahdi occurred primarily outside the territorial jurisdiction of the United States.

          594.    Plaintiffs are U.S. nationals who were injured in their persons, properties, and/or

   businesses by reason of Defendants’ conduct. Plaintiffs suffered economic, physical, and

   emotional injuries proximately caused by Defendants’ conduct; are the survivors and/or heirs of

   U.S. nationals who suffered such injuries; or both.

          595.    As a result of Defendants’ violation of 18 U.S.C. §§ 2333(a) and 2339A,

   Plaintiffs are entitled to recover economic and non-economic damages, including solatium

   damages.

     COUNT TWO: VIOLATION OF THE ANTI-TERRORISM ACT, 18 U.S.C. § 2333(a)
            [All Defendants: Primary Liability, 18 U.S.C. § 2339C Predicate]

          596.    Plaintiffs incorporate their factual allegations above.

          597.    Defendants, by making payments to the IRGC, including the Qods Force, that

   financed the IRGC’s, including the Qods Force’s, terrorist attacks, unlawfully and willfully

   provided funds to a terrorist group, in violation of 18 U.S.C. § 2339C(a)(1)(A). Defendants

   knew or recklessly disregarded that the IRGC, including the Qods Force, would use those funds

   in full or in part to carry out acts constituting an offense within the scope of the International

   Convention for the Suppression of Terrorist Bombings, as implemented by the United States at

   18 U.S.C. § 2332f, including by delivering, placing, discharging, or detonating explosives or

   other lethal devices in, into, or against places of public use and government facilities, with the

   intent to cause death or serious bodily injury.




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          598.    Defendants, by making payments to the IRGC, including the Qods Force, that

   financed the IRGC’s, including the Qods Force’s, terrorist attacks, unlawfully and willfully

   provided funds to a terrorist group, in violation of 18 U.S.C. § 2339C(a)(1)(B). Defendants

   knew or recklessly disregarded that the IRGC, including the Qods Force, would use those funds

   in full or in part to carry out acts intended to cause death or serious bodily injury to civilians

   and/or others not taking an active part in the hostilities in a situation of armed conflict, and that

   the IRGC’s, including the Qods Force’s, purpose was to intimidate the U.S. and Iraqi populations

   and to compel the U.S. and Iraqi governments to effect a withdrawal of U.S. forces from Iraq.

          599.    Defendants’ provision of funds to the IRGC, including the Qods Force, involved

   violent acts and acts dangerous to human life. Defendants’ conduct therefore gives rise to

   primary liability under 18 U.S.C. § 2333(a). Defendants’ support for the IRGC, including the

   Qods Force, appears, as an objective matter, to have been intended (a) to intimidate or coerce the

   civilian populations of Iraq, the United States, and other Coalition nations, (b) to influence the

   policy of the U.S., Iraqi, and other Coalition governments by intimidation and coercion, and (c)

   to affect the conduct of the U.S., Iraqi, and other Coalition governments by mass destruction,

   assassination, and kidnapping.

          600.    Defendants’ provision of funds to the IRGC, including the Qods Force, occurred

   primarily outside the territorial jurisdiction of the United States.

          601.    Plaintiffs are U.S. nationals who were injured in their persons, properties, and/or

   businesses by reason of Defendants’ conduct. Plaintiffs suffered economic, physical, and

   emotional injuries proximately caused by Defendants’ conduct; are the survivors and/or heirs of

   U.S. nationals who suffered such injuries; or both.




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          602.     As a result of Defendants’ violation of 18 U.S.C. §§ 2333(a) and 2339C, Plaintiffs

   are entitled to recover economic and non-economic damages, including solatium damages.

   COUNT THREE: VIOLATION OF THE ANTI-TERRORISM ACT, 18 U.S.C. § 2333(d)
          [All Defendants: Aiding-And-Abetting Liability, Attack Predicate]

          603.     Plaintiffs incorporate their factual allegations above.

          604.     The terrorist attacks that killed or injured Plaintiffs or their family members were

   acts of international terrorism committed by joint cells comprised of Hezbollah, a designated

   FTO at the time, Jaysh al-Mahdi, and the IRGC, including the Qods Force.

          605.     The terrorist attacks committed by joint cells comprised of Hezbollah, a

   designated FTO at the time, Jaysh al-Mahdi, and the Qods Force, which killed or injured

   Plaintiffs and their family members, were violent acts and acts dangerous to human life that

   violated the criminal laws of the United States and many States, or would have violated those

   laws had they been committed within the jurisdiction of the United States or of the States. In

   particular, each attack constituted one or more of murder, attempted murder, conspiracy to

   murder, kidnapping, and arson, in violation of state law; and the destruction of U.S. property by

   fire or explosive, conspiracy to murder in a foreign country, killing and attempted killing of U.S.

   employees performing official duties, hostage taking, damaging U.S. government property,

   killing U.S. nationals abroad, use of weapons of mass destruction, commission of acts of

   terrorism transcending national boundaries, and bombing places of public use, in violation of 18

   U.S.C. §§ 844(f )(2) or (3), 956(a)(1), 1114, 1203, 1361, 2332, 2332a, 2332b, and 2332f,

   respectively.

          606.     The terrorist attacks committed by the joint cell comprised of Hezbollah, a

   designated FTO at the time, Jaysh al-Mahdi, and the Qods Force appear to have been intended

   (a) to intimidate or coerce the civilian populations of Iraq, the United States, and other Coalition


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   nations, (b) to influence the policy of the U.S., Iraqi, and other Coalition governments by

   intimidation and coercion, and (c) to affect the conduct of the U.S., Iraqi, and other Coalition

   governments by mass destruction, assassination, and kidnapping.

          607.    The terrorist attacks jointly committed by Hezbollah, Jaysh al-Mahdi, and the

   Qods Force occurred primarily outside the territorial jurisdiction of the United States.

          608.    Defendants aided and abetted and knowingly provided substantial assistance to

   Hezbollah, Jaysh al-Mahdi, and the IRGC, including the Qods Force – and aided and abetted and

   knowingly provided substantial assistance to the Joint Cell attacks on Plaintiffs – by providing

   technical support to the IRGC, including the Qods Force, that aided those attacks.

          609.    MTN also aided and abetted and knowingly provided substantial assistance to

   Hezbollah, Jaysh al-Mahdi, and the IRGC, including the Qods Force – and aided and abetted and

   knowingly provided substantial assistance to the Joint Cell attacks on Plaintiffs – by serving as

   the joint venture partner of the IRGC, including the Qods Force, and generating millions in

   annual cash flow for the IRGC, including the Qods Force, to use in furtherance of Hezbollah’s

   terrorist enterprise against Americans in Iraq.

          610.    ZTE also aided and abetted and knowingly provided substantial assistance to

   Hezbollah, Jaysh al-Mahdi, and the IRGC, including the Qods Force – and aided and abetted and

   knowingly provided substantial assistance to the joint cell attacks on Plaintiffs – by contracting

   with TCI to modernize the IRGC-controlled Iranian cellular and landline communications

   systems, and thereby generating substantial revenue for the IRGC, including the Qods Force, to

   use in furtherance of Hezbollah’s terrorist enterprise against Americans in Iraq.




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           611.    The attacks that killed or injured Plaintiffs and their family members were all

   jointly committed, as well as planned and authorized, by Hezbollah, which the United States has

   designated as an FTO under 8 U.S.C. § 1189 since 1997.

           612.    Plaintiffs are U.S. nationals who were injured in their persons, properties, and/or

   businesses by reason of the terrorist attacks jointly committed by Hezbollah, Jaysh al-Mahdi, and

   the IRGC, including the Qods Force. Plaintiffs suffered economic, physical, and emotional

   injuries proximately caused by the attacks; are survivors and/or heirs of U.S. nationals who

   suffered such injuries; or both.

           613.    As a result of Defendants’ liability under 18 U.S.C. § 2333(d), Plaintiffs are

   entitled to recover economic and non-economic damages, including solatium damages.

                                               JURY DEMAND

           614.    In accordance with Federal Rule of Civil Procedure 38(b), Plaintiffs demand a

   trial by jury on all issues so triable.

                                             PRAYER FOR RELIEF

           615.    Plaintiffs request that the Court:

           (a)     Enter judgment against Defendants finding them jointly and severally liable under

                   the Anti-Terrorism Act, 18 U.S.C. § 2333;

           (b)     Award Plaintiffs compensatory and punitive damages to the maximum extent

                   permitted by law, and treble any compensatory damages awarded under the Anti-

                   Terrorism Act pursuant to 18 U.S.C. § 2333(a);

           (c)     Award Plaintiffs their attorney’s fees and costs incurred in this action, pursuant to

                   18 U.S.C. § 2333(a);

           (d)     Award Plaintiffs prejudgment interest; and

           (e)     Award Plaintiffs any such further relief the Court deems just and proper.

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   Dated: June 22, 2021

                                        Respectfully submitted,

                                        /s/ Eli J. Kay-Oliphant

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